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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION


TERENCE TRAMAINE ANDRUS,                Case No. H-19-CV-717

        Petitioner,
                                        District Judge David Hittner
   v.
                                        CAPITAL CASE
LORIE DAVIS, Director,
Texas Department of
Criminal Justice,
Correctional Institutions Division,

        Respondent.



             PETITION FOR WRIT OF HABEAS CORPUS
                  PURSUANT TO 28 U.S.C. § 2254


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                 PETITION FOR WRIT OF HABEAS CORPUS
                      PURSUANT TO 28 U.S.C. § 2254

      Petitioner Terence Tramaine Andrus, through counsel, pursuant to all rights

available under the Constitution, laws, or treaties of the United States, respectfully

petitions this Court for a writ of habeas corpus declaring unconstitutional and invalid

his conviction for capital murder as well as the resulting death sentence.




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                            INTRODUCTORY STATEMENT

       On November 8, 2012, James “Sid” Crowley met Cynthia Andrus for the first

time. Cynthia’s son, Terence Andrus, had just been found guilty of capital murder.

Mr. Crowley was Terence’s 1 court-appointed attorney. The punishment phase of the

trial had been ongoing for nearly a week and the state would rest later that day. Then

it would be Terence’s turn to persuade the jury to spare his life. Despite never having

met Cynthia—who had bragged about having a life insurance policy on Terence that

she could cash in if he was executed—Mr. Crowley decided that she would be the star

punishment phase witness.

       Cynthia had not come willingly to the courthouse. She had refused to appear

and had to be subpoenaed. Cynthia had spent most of her adult life as a drug dealer

and a prostitute. She sold crack and “drank,” a concoction consisting of prescription

pain killers and soda, out of her house in the Third Ward where her five children (all

from different fathers) slept in a single bed.

       A rotating cast of violent men and drug dealers lived there as well, several of

whom fathered children with Cynthia before disappearing from their children’s lives,

often to prison and sometimes to young deaths on the street. Before doing so, however,

they would help Cynthia terrorize the children, holding them down while she beat

them with a board wrapped in duct tape and then taking up the beatings themselves




       1 In this section, first names will be used to avoid confusion between Andrus family members

with the same last name.



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when Cynthia had exhausted herself. One of them fathered a daughter with Cynthia

and then raped her while she was a young child.

      Cynthia mostly left the children to feed and raise themselves. She was

frequently out selling sex or partying. Sometimes she would set up in a hotel room by

herself to binge on drugs for weeks at a time. In her absence, Terence, her second

child, was left to care for and raise his mentally-disabled older half-brother and three

younger half-siblings. By the age of 10, Terence was running the household, cooking

the family meals, leading the children on treks to the convenience store to acquire

food, supervising his half-siblings, getting them to school, helping them with their

homework, comforting them, and keeping them out of trouble.

      All the while, Terence desperately sought a father figure. His biological father

was 16-years old when Terence was born and swiftly landed in prison, where he would

remain for most of Terence’s life. Terence became close with a neighborhood drug

dealer who, unlike Cynthia’s other boyfriends, refused to help her beat the children;

but he was killed on the street when Terence was 12. His father briefly reappeared

in his life, a period when—finally removed from Cynthia’s house—Terence thrived

and did extremely well. But his father quickly reoffended, and Terence was sent back

to Cynthia’s by his stepmother.

      Once again surrounded by drugs, crime, and gangs, Terence landed in the

juvenile justice system in the 9th grade. At age 15, he was reported as a runaway. By

16, he was incarcerated in the Texas Youth Commission, a dysfunctional organization

that was abolished shortly after Terence was released due to its inhumane conditions




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and complete failure to rehabilitate youth. Terence spent much of his time at TYC in

solitary confinement, sometimes for up to 90 days as a punishment for “disruptive

behavior” such as throwing paper clips. Other times, he would be sent to isolation for

telling the staff he felt suicidal. Sometimes he asked to be placed in isolation to escape

the violence and exploitation that permeated the “dorms,” where the youths slept 20

to a room with little adult supervision. At TYC, Terence was also regularly given

powerful psychotropic and antipsychotic drugs, but not as part of any sort of mental

health treatment. Rather, the drugs were part of TYC’s brutal and now-abandoned

use of “medical restraints” to pacify youth. During Terence’s time at TYC, Cynthia

never came to visit him. Not on his birthday. Not on Christmas. Never.

      After his release, Terence moved in with the brother of the drug dealer who

had been kind to him as a child. The two worked together at the Houston Ship

Channel and Terence experienced another rare period of stability and normality

during which he did well. The brother, however, was a former drug dealer himself.

After he reoffended, Terence was once again back with Cynthia. Sucked back into the

world of violence, crime and drugs, and unable to find gainful employment, Terence

dealt with his despair the way he had learned to at TYC: with powerful drugs.

      At age 20, he made a tragic attempt to steal a car at a Kroger parking lot while

high on a cocktail of cocaine, PCP, marijuana, and alcohol. He tried to back out of the

carjacking when he saw that the car was a stick shift, but when the owner grabbed

the unlicensed handgun he kept in the car, Terence shot him. A few moments later,

as he escaped on foot through the parking lot, a car sped toward Terence and he




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opened fire again, killing another person. Within a month, he had confessed to

everything, albeit through an interrogation process that made a mockery of the

Constitution.

      Mr. Crowley knew virtually none of this history when he met with Cynthia just

before she was set to be his star witness. Despite having been appointed as Terence’s

counsel nearly four years before trial, Mr. Crowley spent almost no time preparing

for trial. He would later try to justify this approach by claiming that Terence was

obviously guilty, so there was not much need for an investigation.

      Indeed, after the guilt phase ended, Mr. Crowley dedicated his short closing

argument to conceding that the State had proven all the elements of capital murder

beyond a reasonable doubt. And, he did so without ever consulting with Terence about

that decision.

      Yet, Mr. Crowley promised the jury they would see more of a fight at the

punishment phase. That fight never materialized. While the prosecution trotted out

witness after witness who told stories that were not true or were grossly misleading,

Mr. Crowley silently watched from counsel table and offered no rebuttal. When the

prosecutors argued that the murders had not been the result of a carjacking gone

horribly wrong, but were instead the work of a cold-blooded executioner who

deliberately set out to kill people because he was a “sociopath,” Mr. Crowley said

nothing—despite the physical evidence telling a very different story. Indeed, when

Mr. Crowley would give his closing argument, he would tell the jury that, yes, Terence

was obviously a future danger to society.




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      That left mitigation as the only issue in the case. And Mr. Crowley’s plan for

mitigation was Cynthia Andrus. Mr. Crowley prepared Cynthia to testify by speaking

with her for ten or fifteen minutes before she took the stand. Perhaps unsurprisingly,

given that she had refused to testify on her son’s behalf and had to be subpoenaed,

she was not an enthusiastic witness. She delivered a clear message to Mr. Crowley:

although she “may have had problems in [her] own life,” her “life was not on trial”

and she “was not about to tell any stories about [her]self.” Mr. Crowley made her his

star witness anyway.

      True to her promise, Cynthia did not testify about her drug dealing, drug use,

prostitution, violent boyfriends, or neglect of her children. Instead, she presented

herself as a hardworking single mom who did her level best to steer Terence away

from drugs and crime, but got stuck with a bad apple. None of this should have come

as a surprise to Mr. Crowley, and it would not have if he had performed an adequate

mitigation investigation.

       Perhaps sensing that Mr. Crowley’s performance as trial counsel would not

withstand scrutiny, the State brought Terence’s father, Michael Davis, to the

courtroom from prison. His testimony only made matters worse. He confirmed for the

jury that he had been incarcerated for most of Terence’s life. But he assured the jury

that he somehow always made sure Terence was looked after by good people.

      After that, Mr. Crowley rested. That would be the mitigation case, the “fight”

that Mr. Crowley promised the jury: a mother who said her child was just a bad kid




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and a father who knew very little about his childhood, but was happy to offer his

wildly optimistic, and self-serving, speculation about it.

       Perplexed, and no doubt concerned about the counsel he had appointed, the

trial judge suggested to Mr. Crowley that perhaps he did have at least one more

witness he planned to call, hopefully an expert of some kind. Mr. Crowley initially

agreed, but later clarified to the judge that “I don’t think we’re going to need him.”

An unrecorded bench conference was then held, the result of which was that Mr.

Crowley would not rest, would be calling an expert, and the trial would be continued

for five days.

       When the trial resumed, the expert turned out to be Dr. John Roache, a

psychiatrist and pharmacologist. Dr. Roache had barely spoken with Terence and

knew very little about his life history. He testified generally as to the adverse effects

of drugs on adolescent brain development. He was mocked on cross-examination for

having come all the way to Fort Bend County to tell the jury what they already knew:

that drugs are bad for you. He also testified that he could not rebut the prosecutor’s

suggestion that Terence was a sociopath. Mr. Crowley offered no objection and no

response.

       Mr. Crowley’s final witness was James Martin, a jail counselor, who said he

had gotten to know Terence while he was awaiting trial. Mr. Martin testified that

Terence’s behavior in jail had improved and that he was starting to show remorse

and make progress. On cross-examination, however, Mr. Martin volunteered his

“expert” opinion that Terence suffered from anti-social personality disorder.




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      Realizing that the only part of his trial where his counsel had “fought” had

been a catastrophe, Terence himself took the stand to try to save his own life. He

testified to some of the deplorable conditions of his childhood, but it was now his word

against Cynthia’s. The prosecutor’s cross-examination was a brutal attempt to shed

him of credibility and to paint him as a serial liar who took joy in killing people.

      In his closing, Mr. Crowley had no choice but argue that his star witness,

Cynthia, was actually a liar. But he had no evidence that Cynthia had lied or to

support Terence’s version of events because he had not performed a mitigation

investigation. The prosecution painted Terence as a remorseless monster whose goal

had always been wanton bloodshed and who had been given every opportunity in life,

but was just an evil person. The jury assessed the punishment at death. As he did

frequently with other cases he lost, Mr. Crowley worked closely with the prosecutors

to make sure Terence’s death sentence was not reversed on collateral review.

      Mr. Crowley’s dismal performance as Terence’s counsel did not come as

surprise to many in the legal community. Although he began his career as a promising

prosecutor, the last decade of Mr. Crowley’s career had left a trail of human wreckage

behind it. His poor performance in capital cases led several defense lawyers to try to

have him removed from capital appointments. At least one judge had removed him

from a death penalty case just before trial, shocked by Mr. Crowley’s lack of

preparation and indifference to his client’s interest. Mr. Crowley himself had

admitted that, when he began handling capital post-conviction cases, he did not know

what he was doing.




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      Mr. Crowley was also battling personal demons. By the time he was appointed

as Terence’s attorney, he had a serious alcohol abuse problem and according to a

Spec’s employee he was visiting his local liquor store to buy vodka and wine twice a

day, five days a week. In the mid-2000s, Mr. Crowley lost his mother, father, and

brother in quick succession. By the time of Terence’s trial, he was in no shape to try

a capital murder case. 2

      Over a multi-day evidentiary hearing in state court, a significant amount of

evidence was presented establishing Mr. Crowley’s deficient performance and what

the trial court referred to as a “tidal wave” of mitigating evidence. The jury never

heard this tidal wave; instead, the jury heard from an unlikely and improper source

weighing in on the side of a death sentence. The bailiff told the jury, off record, that

Terence was wearing a shock belt, which the bailiff could remotely operate to keep

the jurors “safe” from Terence. In light of Mr. Crowley’s grossly deficient performance

and the powerful, readily available mitigation evidence that was not presented at

trial, the trial court recommended relief in the form of a new punishment phase.

      The Texas Court of Criminal Appeals (“CCA”), however, denied relief. After a

four-page recitation of the facts, which ignored virtually all of the evidence presented

at the evidentiary hearing, the CCA stated that Mr. Andrus had not met his burden

under Strickland v. Washington, 466 U.S. 668 (1984).




      2   Mr. Crowley died in 2019.



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                                      PARTIES

      Petitioner Terence Tramaine Andrus is an inmate of the Texas Department of

Criminal Justice (TDCJ). Mr. Andrus’s TDCJ number is 999578 and he is housed at

the Polunsky Unit, Livingston, Texas.

      Respondent Lorie Davis is the Director of TDCJ’s Correctional Institutions

Division and an agent of the State that has custody of Mr. Andrus. She has custody

pursuant to the judgment and sentence of death entered against Mr. Andrus on

November 16, 2012, in Texas v. Terence Tramaine Andrus, No. 09-DCR-051034 (Tex.

240th Dist. Ct.—Fort Bend County).

                          JURISDICTION AND VENUE

      This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331, 2241(a), and

2254(a). Venue is proper in the United States District Court for the Southern District

of Texas under 28 U.S.C. § 2241(d) because it is the court for the district within which

Mr. Andrus was convicted and sentenced and the district where he remains in

custody.




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                                  STATEMENT OF FACTS

           Sid Crowley: A history of deficient performance in capital murder
           cases.

           A. Mr. Crowley began his career as a prosecutor.

       Mr. Crowley began his legal career as a prosecutor in the Harris County

District Attorney’s Office (“HCDAO”). 2 RR 169. 3 He quickly developed a reputation

as a brilliant prosecutor and seemed poised to rise through the ranks at the HCDAO,

but eventually lost his job there around 1990.

           B. Mr. Crowley briefly practiced on his own, but much preferred
              playing the role of prosecutor than defense attorney.

       For a few years, Mr. Crowley practiced on his own. In 1993, however, he found

another job working as prosecutor, this time in Fort Bend County. 2 SHRR 169. Mr.

Crowley was elated to once again be a prosecutor, telling a local newspaper that he

much preferred prosecuting people than serving as a defense attorney. Exh. 3. During

his time at the Fort Bend County District Attorney’s Office (“FBCDAO”) he became

close with fellow prosecutor Fred Felcman, who would later be the lead prosecutor on

Mr. Andrus’s case. Mr. Crowley’s time at the FBCDAO did not last long, however. By

1995, he had been let go yet again. 2 SHRR 169.




         3 The Clerk’s Record from Mr. Andrus’s trial is cited as “CR” and the Reporter’s Record from

trial as “RR”. The Clerk’s Record from the state post-conviction proceedings is cited as “SHCR” and
the Reporter’s Record from that proceeding as “SHRR”. “Exh” refers to attached to this petition.



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            C. After returning again to private practice, Mr. Crowley began
               taking capital habeas cases, although he later admitted he had
               no idea how to handle them.

      Once again in private practice, Mr. Crowley mostly took court appointments.

Increasingly, his practice turned to death penalty cases where he would seek

appointment as state writ counsel, work he subsequently admitted he did not know

anything about. The results were disastrous. In 2002, he was identified as one of the

worst capital defense lawyers in the State of Texas. Exh. 4 at 35–37. 4

      For example, in Ex parte Nenno, Mr. Crowley filed a state habeas petition

consisting of only eight pages. He raised only two claims, both of which were purely

record-based. Yet, it was clear from the eight-page petition that he had not even read

the record. One of the claims was that trial counsel had failed to request a lesser

included offense in the jury charge. A basic review of the record, however, would have

shown that the trial counsel had requested and received the lesser included offense

in the charge and that the defense attorney had argued in favor of lesser included

offense at closing. Exh. 4 at 35–36. Similarly, in Ex parte Arthur, Mr. Crowley filed a

14-page petition containing no extra-record claims and no supporting evidence. Exh.

4 at 36. In Ex parte Villareal, Mr. Crowley submitted a 9-page petition that did not

contain any extra-record claims or materials. Id. In Ex parte Smith, Mr. Crowley filed

another 9-page petition. Id.




      4   Mr. Crowley is not specifically named in this report, although he was counsel in these cases.



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        Mr. Crowley came to recognize his deficiencies. In Ex parte Rousseau, Mr.

Crowley filed a ten-page petition. Later in that case, he would concede that:

        At the time I was appointed, I was not familiar with how to litigate a
        capital habeas corpus case and was not aware of the need to investigate
        facts outside the trial record. I also did not have enough time to devote
        to the case. As such, my representation of [the inmate] consisted of
        reading the trial record, meeting with [the inmate], conducting legal
        research on the claims I had identified from the record and drafting the
        application.

Id.

           D. Mr. Crowley’s deplorable performance as a death penalty
              attorney was widely reported.

        Mr. Crowley’s acknowledged deficiencies as a capital attorney were widely

reported in the media in articles about Texas capital defense lawyers. A 2006

newspaper article noted that although “[Mr. Crowley] admitted that his first death

row writ, a skimpy 10-page document, lacked substance because he didn’t understand

the rules of habeas corpus,” his “following writs were equally scant – seven, none, 14

and 15 pages.” Chuck Lindell, Sloppy Lawyers Failing Clients on Death Row, AUSTIN-

AMERICAN STATESMAN, Oct. 29, 2006. The following year, an article noted that

“[h]aving Sid Crowley as one’s state habeas counsel was tantamount to having no

counsel at all.” Chuck Lindell, Often-Criticized System of Private Lawyers Still in

Place, After Legislation’s Demise in Last Days of Session, AUSTIN AMERICAN-

STATESMAN, June 9, 2007.

           E. Mr. Crowley was sanctioned by the State Bar of Texas for
              multiple violations of Texas Disciplinary Rules of Conduct.

        In 2006, Mr. Crowley was sued by the State Bar of Texas and publically

reprimanded by the 240th Judicial District Court in Fort Bend County. Mr. Crowley


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had been appointed to represent George S. Guo, who had been convicted of burglary

of a habitation with intent to commit sexual assault and was facing 14 years in prison.

14 SHRR 143; Guo v. State, 2005 WL 1706986, at *1 (Tex. App.—Corpus Christi, July

21, 2005). The appellant’s brief was due on or about October 6, 2003. 14 SHRR 143.

Mr. Crowley failed to timely file the brief, stating that he “was occupied with several

other legal matters,” and failed to file a Motion to Extend Time to File the brief on or

before October 21, 2003. Id. at 143. Moreover, Mr. Crowley failed to apprise Mr. Guo

regarding the status of his appeal or notify him that he had failed to timely file the

brief. Id. at 143–44.

      In March of 2004, Mr. Guo sent two letters to Mr. Crowley demanding that he

file the now exceedingly late brief. Id. at 144. On or about March 12, 2004, Mr.

Crowley filed a Motion to Extend Time to File the brief, and the time was extended

to April 8, 2004. Id. at 144. Yet, Mr. Crowley did not file the appellant’s brief by the

new deadline. Id. at 144. Rather, he filed it another 3 weeks late, on April 29, 2004.

Id. at 144.

      Ultimately, a Fort Bend district court found that Mr. Crowley had violated

multiple Texas Disciplinary Rules of Professional Conduct, including Rule 1.01(b)(1)

(neglecting a legal matter entrusted to a client); Rule 1.01(b)(2) (frequently failing to

carry out completely the obligations owed to a client), and Rule 1.03(a) (failing to keep

a client reasonably informed about the status of a matter and failing to promptly

comply with reasonable requests for information). At the urging of the Texas State

Bar, the court entered a judgment of public reprimand against Mr. Crowley.




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          F. Mr. Crowley was found to be constitutionally ineffective by a
             court in Matagorda County and was removed as counsel on the
             eve of trial.

      Around the same time, Mr. Crowley received an even more serious reprimand

from the 130th Judicial District Court in Matagorda County. Mr. Crowley had been

appointed to represent Francisco Castellano in a death penalty case that was set for

trial on March 20, 2006. On December 15, 2005, the trial court held a hearing at

which it found Mr. Crowley ineffective and removed him from the case. 14 SHRR 108–

09. The court noted that as of November 23, 2005—about four months before trial—

“no work had been done on this case in which a man’s life is at stake.” Id. at 104.

Disgusted, the court found that “Mr. Crowley’s defense provided to the defendant to

date has been ineffective and that his plan for providing a defense to the defendant

would be ineffective if allowed to be put into place.” Id. at 108–09. Accordingly, the

court reached “the conclusion that Mr. Crowley is ineffective in his defense of Mr.

Castellano.” Id. at 109. “[T]herefore, I am removing and will remove Sidney Crowley

as first chair counsel and as counsel for the defendant Francisco Castellano on

grounds of ineffectiveness.” Id.

      The court also found reason to believe that Mr. Crowley was in contempt of

court based on his failure to meet the obligations of first chair counsel in a death

penalty case and stated its intention to initiate contempt proceedings against him. Id.

at 107–08. In assessing Mr. Crowley’s overall performance, the court reflected: “to

state that you have done a monumental disservice to this court and to the profession

is an understatement.” Id. at 112.




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      After Mr. Crowley was removed from the case, James Stafford was appointed

as first chair. The new defense team was then able to reach a plea agreement with

the State, for which the State waived the death penalty.

          G. Multiple Texas defense attorneys tried to warn courts not to
             appoint Mr. Crowley as counsel in death penalty cases.

      As Mr. Crowley’s record of deficient performance grew, Texas defense

attorneys tried to bring it to the attention of the courts to prevent further damage. In

December of 2011, attorney Katherine Scardino, in her capacity as a representative

of the Mexican Capital Legal Assistance Program (“MCLAP”), wrote to a Harris

County court to express her “very serious concerns” about the appointment of Mr.

Crowley as counsel for a Mexican national named Rolando Resindiz, who was facing

trial for capital murder. 13 SHRR 242, 244–46. Ms. Scardino noted that she could

“state without reservation that [Mr. Crowley’s] reputation in our community as a

competent criminal defense lawyer is not good.” Id. at 244. Ms. Scardino cited several

instances of Mr. Crowley’s deficient performance in capital and other serious felony

cases and expressly requested, on behalf of the Mexican government, that Mr.

Crowley be removed and an “experienced, competent defense attorney be appointed.”

Id. at 245. “It is clear that Mr. Crowley should be not representing a Mexican national

defendant in a capital murder case,” she wrote. Id. at 245.

      In support of Ms. Scardino’s letter, attorney Tom Tickler, who had been co-

counsel on the Castellano case, wrote his own letter to the judge recounting the facts

of Mr. Crowley’s removal from that case and stating his belief that “Mr. Crowley is

an incompetent lawyer and should not be representing any defendant accused of a



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case as serious as a capital murder where a person’s life is at stake.” Id. at 248, 250.

Mr. Resindiz ultimately was able to retain his own lawyer to replace Mr. Crowley,

and the case was dismissed.

      Another attorney who took note of Mr. Crowley’s repeated failure to adequately

represent his clients was Philip Wischkaemper. At that time, Mr. Wischkaemper was

a highly experienced death penalty attorney from Lubbock who served as the Capital

Assistance Attorney for the Texas Criminal Defense Lawyers Association, where he

provided training, resources, and technical assistance to attorneys representing

people accused of capital crimes. 14 SHRR 247. Mr. Wischkaemper wrote to the

Presiding Judge of the Second Administrative Judicial Region of Texas to inform him

that Mr. Crowley had been found to be ineffective in the Castellano case. Id. at 219.

Despite the fact that the court in the Castellano case expressly found that Mr.

Crowley had rendered ineffective assistance in that case—and, as a result, removed

him as counsel—Mr. Crowley continued to represent to the Second Region that he

had “not been found by a federal or state court to have rendered ineffective assistance

of counsel during the trial or appeal of any criminal case.” Id. at 162, 169, 178, 186,

192, 199, 206. The Second Region’s application makes clear that, pursuant to Article

26.052(d)(2)(C) of the Texas Code of Criminal Procedure, a finding of ineffective

assistance in a death penalty case renders an attorney ineligible for further capital

appointments. Id. at 162, 169, 178, 186, 192, 199. (It is also telling that when asked

to list references, Mr. Crowley never identified another defense attorney, but instead

listed only prosecutors). Id. at 207, 210




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      Unfortunately for Mr. Andrus, Mr. Wischkaemper’s attempt to sound the

alarm on Mr. Crowley fell on deaf ears. The committee of the Second Region decided

that the “mere remarks of a trial judge will not disqualify an attorney from being

placed on the list of qualified death penalty counsel.” Id. at 219. Of course, the

committee’s reading of Article 26.052 seems incongruous with its plain language and

its purpose. Yet, Mr. Crowley remained on the capital appointments list.

          H. After losing cases, Mr. Crowley would work closely with
             prosecutors to ensure that the verdict was not overturned.

      Unsurprisingly, Mr. Crowley’s cases would often end up in post-conviction

review. Frequently, Mr. Crowley would work closely with the state to ensure that his

client’s conviction and sentence were not reversed. For example, in connection with a

client named Tamina Hamid, Mr. Crowley directly assisted the prosecutors in

assembling their answer and developing their litigation strategy against his client.

Exh. 5; 18 SHRR 277–78. In connection with claims made by George Guo, the state

reminded Mr. Crowley to submit his court-ordered affidavit and offered to help him

however they could, including by giving him access to their files. Exh. 6.

      Frequently, the prosecutors would draft affidavits for Mr. Crowley to submit

in support of their efforts to preserve the convictions. 18 SHRR 277–78, 280–81; 2

SHRR 163–64. Mr. Andrus’ case would be no different. The prosecutors prepared a

72-paragraph affidavit for Mr. Crowley to sign, complete with record citations and

explanations of what “in my mind” the key issues in case were and what his strategic

decisions were. Id. at 204–19. Only in a few places would Mr. Crowley need to literally

“fill in the blanks” with information such as how many years he had been practicing



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law. Id. at 198–219. Mr. Crowley was in regular email communication with the

prosecutors throughout the state writ process and met with them extensively before

he testified at the evidentiary hearing. Id. at 198–202; 2 SHRR 142–43.

         I. Mr. Crowley suffered from severe substance abuse and personal
            loss.

      Mr. Crowley’s history of deficient performance may at first seem perplexing,

particularly given that when he started his career he impressed many of his

colleagues and the legal community had high hopes for him. Mr. Crowley, however,

battled substance abuse issues, including during the time that he represented Mr.

Andrus. By the time he was appointed as Mr. Andrus’s counsel, Mr. Crowley was

visiting his local liquor store twice a day, five days a week to buy vodka and wine.

Exh. 6. Sometimes, he would smell of urine while in the store; other times, he would

have visible signs of human waste on his clothing. Exh. 6. Mr. Crowley also

experienced a run of personal tragedies around this time, losing his brother, father,

and mother.

         Mr. Crowley’s complete failure to conduct any semblance of a
         proper investigation into Mr. Andrus’s case.

         A. After Mr. Crowley was appointed Mr. Andrus’s attorney, he did
            not visit him for eight months. Meanwhile, Mr. Andrus tried to
            kill himself in jail.

      Mr. Crowley was appointed lead counsel for Mr. Andrus on February 17, 2009,

about two weeks after Mr. Andrus was indicted. 1 CR 2; 14 SHRR 82. Mr. Crowley

accepted the appointment, even though he was already representing several other

capital murder defendants in Fort Bend County. 2 SHRR 181–84; 18 SHRR 223-54.

Mr. Crowley would go on to accept even more capital appointments as Mr. Andrus s


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trial approached, not to mention a multitude of other criminal appointments. 2 SHRR

181–184; 18 SHRR 223-54.

      After being appointed as Mr. Andrus’s trial counsel, Mr. Crowley did nothing.

He did not visit Mr. Andrus in jail or do anything else on the case for at least seven

months. 14 SHRR 6. On August 26, 2009, he briefly appeared in court on behalf of

Mr. Andrus, despite never having met him. Id. at 6. At the time, Mr. Crowley officed

at the Lyric Center in downtown Houston, a few blocks away from the jail where Mr.

Andrus was being held.

      Over the three-and-a-half years Mr. Crowley represented Mr. Andrus, he

recorded only six visits to Mr. Andrus in his billing statements—less than twice a

year. 2 SHRR 184. He spent less than 150 hours outside the courtroom preparing the

case—less than a month’s worth of work. 14 SHRR 6–14. Ms. Olvera, who was

appointed as second chair in June of 2012, three months before voir dire, ended up

billing more time on the case than Mr. Crowley did in almost four years. 3 SHRR 139;

14 SHRR 17–26.

      Meanwhile, Mr. Andrus was struggling in pretrial detention. He reported

suicidal impulses and visual and auditory hallucinations (including seeing the dead

bodies of the victims and a voice telling him that his life was over). He assaulted

several guards and had to be extracted from his cell several times. He even attempted

suicide, slitting his wrists and writing “I want to die” in blood on the walls of his cell.

28 SHRR 32, 54, 56; 29 SHRR 241.




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      Mr. Crowley finally visited Mr. Andrus for the first time on October 4, 2009,

over eight months after he was appointed. 14 SHRR 78. By that time, Mr. Andrus

had been moved from the Harris County jail to Fort Bend County. Id. During this

initial visit, Mr. Crowley did not explain to Mr. Andrus—and never would—that his

conduct in jail could and would be used against him at the punishment phase of his

trial or that it might influence whether the State would seek the death penalty. 2

SHRR 191–92, 199.

      Nor did Mr. Crowley perform any investigation as to what had happened to his

client in the Harris County jail that caused him to attempt suicide. 2 SHRR 194.

Indeed, he would later profess that he had no idea Mr. Andrus had tried to kill himself,

even though the event was clearly indicated in Mr. Andrus’s jail records. Id. at 191–

92, 199. Instead, Mr. Crowley simply assumed that any problems Mr. Andrus seemed

to be experiencing were malingering on his part, despite his jail records reflecting

diagnoses for schizophrenia, mood disorder, schizophrenia affective disorder, and

bipolar disorder. 2 SHRR 196; 3 SHRR at 264–65, 300.

      As of February of 2010, a year into his appointment as Mr. Andrus’s attorney,

Mr. Crowley had not filed a single motion. Mr. Andrus, recognizing that no work had

been done on his case, began filing handwritten motions, including a motion for

exculpatory evidence and a motion to suppress his confession. CR 14–18. As it did

with Mr. Andrus’s later motion to remove Mr. Crowley as his attorney, the court

simply ignored the motions and did not rule on them.




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          B. After the State decided to seek the death penalty, Jerome
             Godinich and Amy Martin were appointed to the case.

      On May 17, 2010, the State gave notice that it intended to seek the death

penalty. CR 19. Over a year would pass, however, before Mr. Crowley would visit Mr.

Andrus to discuss that with him. 14 SHRR 78–79. A second chair counsel, Jerome

Godinich, was appointed by the trial court on May 19, 2010. CR 61. Mr. Godinich

immediately brought in a mitigation specialist, attorney (and now district court judge)

Amy Martin. 14 SHRR 35. Both Mr. Godinich and Ms. Martin would ultimately end

up withdrawing from the case due to Mr. Crowley’s unwillingness to adequately

prepare for Mr. Andrus’s trial. 13 SHRR 224.

          1. Mr. Godinich began to regularly visit Mr. Andrus, while Ms.
             Martin worked as the mitigation specialist; Mr. Crowley did
             nothing.

      Mr. Godinich immediately began having regular meetings with Mr. Andrus. 13

SHRR 228; 14 SHRR 253. Mr. Godinich worked on establishing a rapport with Mr.

Andrus, discussing possible mitigation themes, and discussing the possibility of a

plea deal. 13 SHRR 228–29. Ms. Martin, meanwhile, began a preliminary mitigation

investigation. Initially, Ms. Martin planned on developing a mitigation case that

would persuade the State not to seek the death penalty. Mr. Crowley, however,

informed Ms. Martin that he did not want her to create a mitigation packet to give to

the State. Id. at 236. He seemed to be in denial that Mr. Andrus was actually on trial

for his life, telling her as late as September of 2011 that he did not know if the State

would seek death. Id. at 234. But, the State had filed its notice of intention to seek

the death penalty over a year earlier. CR 19.



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             2. Ms. Martin met Cynthia, who told her she was hoping to
                collect a $10,000 life insurance policy when her son was
                executed.

      Nonetheless, Ms. Martin continued to gather documents and attempt to locate

members of Mr. Andrus’s immediate family. Early on, both she and Mr. Godinich

understood that it would take some time and effort to find people who could tell them

about Mr. Andrus’s life and get them to open up. 13 SHRR 229, 233–38. Ms. Martin

did eventually manage to secure an interview with Cynthia. Cynthia would only

agree to meet at a diner and only on the condition that Ms. Martin pay for her food.

Id. at 237. Cynthia brought one of her daughters with her, but would not allow the

daughter to speak with Ms. Martin. Id. In front of her daughter, Cynthia told Ms.

Martin that she “had too many kids.” Id. She also told Ms. Martin that she had a

$10,000 life insurance policy on Mr. Andrus and that she would be able to collect on

the policy when Mr. Andrus was executed. Id.

         C. The team stops work on Mr. Andrus’s case to handle the Howe
            case.

      During the time that Mr. Godinich and Ms. Martin worked on the case, Mr.

Crowley did no work on the case. Mr. Godinich and Ms. Martin, however, could not

carry the entire load on Mr. Andrus’s case because they were doing just that in

another death penalty case in which they had been appointed together with Mr.

Crowley. The defendant in that case was a man named Richard Howe. 13 SHRR 234.

             1. As with Mr. Andrus’s case, Mr. Crowley did nothing on Mr.
                Howe’s case.

      The Howe case was set for trial before Mr. Andrus’s. As with Mr. Andrus’s case,

Mr. Crowley did virtually no work on Mr. Howe’s case, instead leaving all the work


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to Mr. Godinich and Ms. Martin. 13 SHRR 225–26. When voir dire began in Mr.

Howe’s case, Mr. Crowley had not spoken to a single witness, consulted with a single

expert, or conferred with a mitigation specialist, despite nominally being lead counsel.

Id. He claimed that he would hire an investigator, but he refused to share the

investigator’s name with Mr. Godinich or Ms. Martin. Id.

      Nona Dodson, an experienced jury consultant who had been appointed on the

Howe case, also observed that Mr. Crowley had done little to no work on the case

prior to the start of trial. Id. at 221. Ms. Dodson would send Mr. Crowley pages of

notes and questions to ask prospective jurors, identifying particular issues that arose

from the jurors’ answers to the questionnaires, but Mr. Crowley “was completely

disinterested in, and indifferent to, receiving assistance from me or anyone else on

the defense team.” Id. at 220–21. “It was painfully obvious that Mr. Crowley had not

done any preparation before coming into court each day.” Id. at 221.

         2. Mr. Crowley ultimately agreed to withdraw from the Howe
            case.

      Mr.   Godinich    became    “increasingly   concerned    about   Mr.   Crowley’s

representation of Mr. Howe.” 13 SHRR 226. Mr. Crowley simply refused to

“participate in any trial preparation” and it was clear to Mr. Godinich that “Mr.

Crowley was not providing effective representation of Mr. Howe.” Id. Mr. Godinich

asked Mr. Crowley to withdraw from the case. Mr. Crowley was suffering from serious

health issues at the time, and Mr. Godinich and the rest of the team suggested to Mr.

Crowley that they would support a motion to withdraw based on health reasons. Id.

Mr. Crowley agreed and filed a motion to withdraw. Id.



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             3. After speaking with Fort Bend prosecutor Fred Felcman, Mr.
                Crowley rescinded his withdrawal, and asked that the case
                still be tried soon because he needed money.

      Shortly thereafter, however, Mr. Crowley spoke to Fred Felcman, the lead

prosecutor on both the Howe case and Mr. Andrus’s case. Mr. Felcman convinced Mr.

Crowley that he had lied to the court when he cited “back pain” as the ground for

withdrawing from the case. 4 SHRR 21–22. On Mr. Felcman’s advice, Mr. Crowley

sought to rescind his motion to withdraw. He would later testify that Mr. Godinich

and Ms. Martin “blackmailed” him into withdrawing by threatening to inform the

trial judge of his removal on ineffectiveness grounds in the Castellano case. 3 SHRR

11–12.

      After Mr. Crowley rescinded his motion to withdraw, the court held a hearing

in the Howe case. Mr. Godinich and Ms. Dodson both expressed to the court their

serious concerns about Mr. Crowley. 13 SHRR 226; id. at 221. Ultimately, however,

the court permitted Mr. Crowley to remain on the case. At the same time, however,

he determined that the defense team was clearly not ready to try the case, dismissed

the seated jurors and the remaining venire panel, and reset the case for a new trial

date. 3 SHRR 14. Mr. Crowley demanded that the trial be reset for some time before

the end of the year because he owed the IRS money, but the court refused to do so. 13

SHRR 235.




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                 4. The Court assigned Mr. Crowley specific tasks to perform as
                    defense counsel, but Mr. Crowley was incapable of
                    accomplishing them.

       The trial judge held a special meeting with the defense team. To address their

concerns about Mr. Crowley, the judge proposed that specific tasks be assigned to Mr.

Crowley and that there be weekly meetings to monitor Mr. Crowley’s progress. 13

SHRR 227. Specifically, Mr. Crowley was assigned to take the lead on handling

extraneous offenses, which were critical to the case because there appeared to be

several opportunities to have at least some of the offenses excluded. Id. Yet, Mr.

Crowley failed to show up for the first check-in meeting. Id. Nor did he attend any of

the defense team meetings or join any conferences with experts for either phase of

the trial. Id.

                 5. Mr. Crowley received multiple offers from the prosecution for
                    Mr. Howe to plead to a life sentence, but kept the offers to
                    himself.

       Before closing arguments in the guilt phase of Mr. Howe’s second trial, Mr.

Crowley informed Mr. Godinich that the State had offered a plea deal to Mr. Howe.

13 SHRR 227. Incredibly, Mr. Crowley then questioned whether the defense team

should tell Mr. Howe about the plea offer. Id. Mr. Crowley then revealed that the

prosecution had made multiple offers in the past that Mr. Crowley had not informed

the defense team or the client of. Id. Mr. Howe ultimately accepted the plea

agreement. Id.




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          D. Mr. Crowley excised Mr. Godinich and Ms. Martin from Mr.
             Andrus’s case by secretly agreeing to a trial date when Mr.
             Godinich had a conflict.

      Because Mr. Crowley, Mr. Godinich, and Ms. Martin were all appointed to Mr.

Howe’s case and it was scheduled for trial before Mr. Andrus’s case, virtually no work

was done by anyone on Mr. Andrus’s case while the Howe case was pending. 2 SHRR

187, 215–16; 3 SHRR 6, 20, 146; 13 SHRR 228–29. Yet, shortly before the Howe case

reached a conclusion, Mr. Crowley informed Mr. Godinich and Ms. Martin that in

January of 2012 he had met with Judge Culver, who was presiding over Mr. Andrus’s

case, and agreed to set Mr. Andrus’s case for trial in November of 2012, with voir dire

to begin on October 1, 2012. 13 SHRR 228. Mr. Crowley did so without consulting

with either Mr. Godinich or Ms. Martin. Id.

      Mr. Godinich informed Judge Culver that he had a conflict in November of

2012 and could not possibly try the case then. Id. Judge Culver then asked Mr.

Crowley, “Sid, are you asking me for more time?” Id. Mr. Crowley responded “no.” Id.

With that, Mr. Crowley forced Mr. Godinich off the case. Disgusted by Mr. Crowley’s

behavior in both the Howe case and Mr. Andrus’s case, Mr. Godinich and Ms. Martin

both withdrew in late January of 2012. Id. Mr. Crowley would never retain a

mitigation specialist to replace Ms. Martin.

          E. At the time that Mr. Godinich and Ms. Martin withdrew, the case
             was nowhere near ready for trial.

      Prior to withdrawing from the case, Ms. Martin had begun preliminary work

on the mitigation side of the case and had developed some promising leads. But the

case was far from ready for trial. According to Mr. Godinich, “the case was not ready



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to go to trial” when he and Ms. Martin withdrew, because “[t]here was still a

significant amount of investigation to be done in order to develop and prepare a

punishment phase presentation.” 13 SHRR 230. This incomplete work including

needing to conduct “repeated interviews with immediate family members, if possible,

as well as people outside the family who had known Andrus well, and retention of

experts and development of their testimony for trial.” Id. Ms. Martin agreed

      As of the time Mr. Godinich and I left Andrus’s case, the case was not
      ready to go to trial. There was still a significant amount of investigation
      to be done in order to develop and prepare a punishment phase
      presentation, including repeated interviews with immediate family
      members, locating and interviewing significant people in Andrus’s life,
      including teachers, medical professionals, and individuals in the legal
      system, etc. Document collection needed to continue and information
      needed to be provided to experts. Had the case gone to trial prematurely,
      with only the amount of investigation that had been done as of the time
      I withdrew, I would not have considered it to have met the standard of
      care for mitigation investigations in a capital case.

Id. at 229.

          F. Mr. Godinich and Ms. Martin convinced Mr. Andrus to plead to
             life without parole, but Mr. Crowley never brought the offer to
             the prosecution.

      One thing that had been accomplished before Mr. Godinich and Ms. Martin

withdrew from the case was that they had convinced Mr. Andrus to plead guilty with

a sentence of life without parole. 13 SHRR 233. Mr. Crowley was the only member of

the defense team who communicated with counsel for the State about Mr. Andrus’s

case. 2 SHRR 176. Although Mr. Crowley later testified that he did go to the State

with Mr. Andrus’s offer of life without parole, Mr. Felcman contradicted him,

confirming that Mr. Crowley never told him Mr. Andrus would have agreed to life

without parole. Id. at 210–12; 218; 5 SHRR 25.


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         G. After agreeing to a short trial schedule, Mr. Crowley once again
            did nothing on Mr. Andrus’s case for five months.

      Having expelled the only two people from his team who did any work on Mr.

Andrus’s case and facing an October 1, 2012 start date for vior dire, Mr. Crowley

again did nothing. Over the following five months, from February to July of 2012, Mr.

Crowley worked a total of five hours on the case. 14 SHRR 8. Mr. Crowley also never

met with Mr. Andrus to discuss the withdrawal of Mr. Godinich and Ms. Martin.

         H. Mr. Andrus sought to have Mr. Crowley removed as counsel, but
            the court refused to take up his Pro Se motion.

      In June of 2012, after learning that Mr. Godinich and Ms. Martin had stopped

working on his case, Mr. Andrus filed a pro se motion requesting that the Court

dismiss Mr. Crowley as appointed counsel. 3 SHRR 39; CR 65–67. Mr. Andrus also

wrote letters to the trial judge and to the disciplinary counsel of the State Bar of

Texas, explaining that Mr. Crowley had not been visiting him or consulting with him

about his defense. 14 SHRR 87–91, 93–95. Mr. Crowley would later admit that he did

not meet with Mr. Andrus after these pro se motions were filed to discuss his client’s

concerns. 3 SHRR 40. Mr. Andrus’s motion to remove Mr. Crowley as his appointed

attorney was never heard or ruled on by the trial court.

         I. In June of 2012, three months before the state of voir dire, Diana
            Olvera was appointed as second chair counsel.

      For the first half of 2012, while Mr. Crowley spent less than an hour a month

on Mr. Andrus’s case, there was also no second chair attorney. In June of 2012, Mr.

Crowley finally secured a new second chair, Diana Olvera. CR 64. Despite having




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joined the team less than three months before the start of voir dire, they did not seek

a continuance.

          J. Most of Ms. Olvera’s pre-trial work consisted of reviewing the
             case documents that had been provided by the state or by Ms.
             Martin.

      Ms. Olvera’s role was circumscribed. She would later testify that she “didn’t do

mitigation,” did not investigate the facts of the underlying offenses, and did not

investigate the State’s extraneous offenses. 4 SHRR 22, 24, 28, 105. Her knowledge

of the history of the case was also limited. For instance, she did not know that Mr.

Andrus had filed a pro se motion to suppress his confession a year and a half before

Mr. Crowley filed a similar motion. Id. at 117–18. Most of Ms. Olvera’s time prior to

trial was spent reviewing documents that had been collected by Ms. Martin and the

State’s discovery. Id. at 22–26.

          K. Mr. Crowley did not seek any experts until one month before
             voir dire.
      Mr. Crowley was responsible for finding and working with appropriate experts.

4 SHRR 30. Although he had been appointed to the case for over three and a half

years, Mr. Crowley did not contact a single expert until late August, a few weeks

before voir dire began. 13 SHRR 50; id. at 97; 14 SHRR 57. Ultimately, Mr. Crowley

contacted three experts, only one of whom he called at trial. Ms. Olvera later testified

that it was “not reasonable” for Mr. Crowley to have waited until right before voir

dire to contact potential experts. 4 SHRR 35.




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             1. Mr. Crowley retained a clinical psychologist who concluded
                that Mr. Andrus suffered from a serious mental health
                condition, but Mr. Crowley did not read his report.

      One expert that Mr. Crowley eventually contacted was Dr. Jerome Brown, a

clinical psychologist. Mr. Crowley initially contacted Dr. Brown in September of 2012,

less than one month before the start of voir dire, to conduct a psychological evaluation

of Mr. Andrus. 13 SHRR 32. Mr. Crowley provided Dr. Brown with “limited life

history documents to review.” Id. at 32. Dr. Brown interviewed Mr. Andrus once on

September 20, 2012, less than two weeks before voir dire commenced. Id.

      Based on his limited evaluation, Dr. Brown concluded that Mr. Andrus suffered

from “symptoms of severe mental illness” and that he had “multiple psychiatric

problems.” 10 SHRR 178. Dr. Brown found that the shootings “appear to have been

the result of extreme provocation that took place both at the time of the offense [sic].”

Id. According to Dr. Brown, Mr. Andrus “was paranoid and frightened when he saw

the complainant draw a weapon,” that “his first instinct was to fire shots from his

own weapon,” that “[w]hile in this paranoid and agitated state, he fired shots at

another car that was approaching him and that he perceived to be a threat at the

time,” and that “[t]his resulted in a combination of events that would not have

occurred except for these unusual circumstances.” Id. Finally, Dr. Brown concluded

that Mr. Andrus might suffer from “Schizophrenia, Paranoid type.” Id. at 179.

      On October 12, 2012, Dr. Brown submitted his report to Mr. Crowley by regular

mail, email, and fax. 13 SHRR 50. Yet, by his own admission, Mr. Crowley never read

Dr. Brown’s report. Mr. Crowley blamed this on the fact that Dr. Brown sent the




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report to Mr. Crowley’s “old office address,” even though that was the address Mr.

Crowley had given Dr. Brown. 3 SHRR 131–32, 256. Mr. Crowley never followed up

with Dr. Brown. Id. at 131–33. He blamed his failure to do so on a conversation with

Dr. Brown, of which there is no record, in which Dr. Brown purportedly told him,

contrary to the conclusions in his report, that Mr. Andrus showed no signs of mental

illness. Id. at 132–33. Mr. Crowley never contacted Dr. Brown again and did not read

his report until after trial. Id. at 131–33.

              2. Mr. Crowley retained Dr. Roache, but provided him with little
                 information and urged him to talk freely with Mr. Felcman.

       The only expert who would end up testifying was Dr. John Roache, a

psychiatrist and pharmacologist. Mr. Crowley contacted Dr. Roache for the first time

on August 23, 2012, just over a month before the start of voir dire. 13 SHRR 97. Dr.

Roache was provided with limited life history records and the offense reports. Id. at

98. Dr. Roache had previously worked on several capital cases, all in Texas, and

typically received information about a defendant’s life history from a mitigation

specialist retained by the defense team, often in the form of a mitigation report. Id.

Dr. Roache informed Mr. Crowley that social history and childhood development

information would be valuable to inform his evaluation and testimony. Id. at 99.

However, because there was no mitigation specialist on the case, Dr. Roache was

never put in touch with one. Id. at 98. Nor was Dr. Roache provided with a mitigation

report or any documentation of interviews with family and friends (since none

existed). 3 SHRR 106; 13 SHRR 98.




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        Dr. Roache interviewed Mr. Andrus briefly at the Fort Bend County jail on

September 28, 2012, three days before the start of voir dire. 13 SHRR 99. He debriefed

with trial counsel that same day and was “struck by the extent to which Mr. Crowley

appeared unfamiliar or naïve with issues relating to brain development, drug

addiction, and other such mitigation issues relative to other capital attorneys [he]

h[ad] worked with.” Id.

        Mr. Crowley then made a very unusual request to Dr. Roache. He asked him

to speak with Mr. Felcman, the prosecutor, about his intended testimony. Id. at 99–

100. During the call with Mr. Felcman, Dr. Roache was “very uncomfortable with the

extent to which the prosecutor wanted to go broadly into the subject of [his]

testimony.” Id. The “conversation was certainly not limited merely to [his] own

qualifications to testify.” Id. Mr. Crowley would later admit that he saw no problem

with having his client’s experts have unmonitored conversations with Mr. Felcman.

Id. at 109–10. Indeed, he had Mr. Feclman speak with Dr. Brown as well. 5 SHRR

36.

           L. Ms. Olvera did not do any substantive mitigation work; Mr.
              Crowley did none.

        Despite being someone who “didn’t do mitigation,” Ms. Olvera performed the

only tasks that seem to have had any relation to a possible mitigation defense. The

only interviews that Ms. Olvera performed relating to mitigation were to have a

couple of phone conversations with Cynthia, Mr. Andrus’s grandfather, and possibly

Mr. Andrus’s younger brother Trevion, who was 13 years old at the time. 4 SHRR 15–

25. She never met any of the family members in person. Id. at 26. One potentially



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helpful thing Ms. Olvera did do was to talk to the Texas Defender Service (“TDS”)

about retaining an expert on the Texas Youth Commission (“TYC”). Id. at 31.

Although TDS found a willing expert, Mr. Crowley never followed up with him. 3

SHRR 124.

      No other mitigation investigation was done on the case. As Mr. Crowley would

later admit at the writ hearing, he did not investigate Mr. Andrus’s neighborhood or

his childhood experiences. Id. at 119–20. He did not interview Mr. Andrus’s older

brother, Torad; his sister, Tafarrah; his sister, NormaRaye; his stepmother (with

whom he had lived for a time), Rosalind Cummings; his stepbrother, Jamontrell Seals;

the family of Cynthia’s live-in boyfriend Senecca Booker; or family friends such as

Stephanie Booker. Id. at 135–36. Mr. Crowley also admitted that he did not

investigate any of the facts underlying the offense that resulted in Mr. Andrus’s

incarceration at TYC and, despite the widely-known scandal that lead to the abolition

of TYC which occurred prior to trial, Mr. Crowley never consulted with an expert on

TYC. Id. at 122–23. Meanwhile, Mr. Andrus remained in pretrial detention in Fort

Bend County, where his mental state continued to deteriorate.

         The State’s elaborate plan to coerce Mr. Andrus into confessing.

      Before trial could begin, there was one issue that had to be taken up, which

was the motion to suppress Mr. Andrus’s confession—that he had initially filed pro

se before Mr. Felcman had asked Mr. Crowley to “refile” the motion. Exh. 18 at 7.

After some time, Mr. Crowley did so, filing a one page motion to suppress the

confession. A hearing was held on the motion prior to trial. CR 97.




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             A. Mr. Andrus becomes a suspect.

      After the shooting occurred, the Fort Bend County Sheriff’s Office (“FBCSO”)

obtained video footage from a nearby business of a suspect. FBSCO then sent an

image from the video tape to local television stations. 40 RR 49. FBSCO received

several crime stoppers tips identifying Mr. Andrus as the suspect. Id.

             B. The police talk with Charaya Williams, who they contend
                implicated Mr. Andrus in the robbery of a dry cleaners.

      Detectives with FBCSCO began trying to locate Mr. Andrus by interviewing

his family and acquaintances. Mr. Andrus’s former girlfriend, Charaya Williams, told

a detective that several months ago, Mr. Andrus told her that he robbed a Washateria

with a fake gun. Exh. 9 at 3. She may also have mentioned something about a dry

cleaners being robbed, but it is unclear whether she connected Mr. Andrus to that

event. Id.

             C. The police find a dry cleaners that was recently robbed.

      In any event, FBSCO identified a dry cleaners near Charaya’s apartment that

had been robbed two months earlier by a black man with a long knife. Exh. 10 at 5.

Because the dry cleaners was located in Houston, the Houston Police Department

(“HPD”) responded to the robbery when it initially occurred and opened an

investigation into the robbery. Id.

             D. The police claim they showed Mr. Tran a six person photo array;
                Mr. Tran contends that he was shown binders full of photos.

      What happened next is a matter of dispute. FBSCO Detective Mark Williams

testified that he brought a photo array to the dry cleaners and that the owner, Tuan

Tran, immediately identified Mr. Andrus. Exh. 11 at 7. Even if Detective Williams’s


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story were true, it raises a number of serious red flags. The photo array used black

and white photos with shadowing concealing the features of some of the individuals.

Detective Williams knew which photo was Mr. Andrus and had already showed the

line up to at least one other person. Exh. 11; State’s Trial Exhibit 183. Moreover, the

affidavit that accompanied the photo array, in which Mr. Tran purportedly affirmed

that he had identified Mr. Andrus, was both (1) written in English and (2) contained

an affirmation by Mr. Tran that he cannot read or write the English Language. Exh.

12

       According to Mr. Tran, he was never shown a photo array. Exh. 13. Rather, the

police brought him binders of photos. Id. The pages of the binder had one or two

photos and they were divided by race. Id. The binder had about 100 to 200 photos in

it, like a photo album. Id. Mr. Tran reviewed the binder twice before identifying

someone. Id. He does not recall signing an affidavit for law enforcement. Id. Mr. Tran

never saw a black and white six pack photo array. Id.

       Although Mr. Tran testified differently at trial, no one from the defense team

had spoken with him to confirm his story.

          E. The police obtain an arrest warrant with an affidavit containing
             inaccurate information.

       FBCSO informed HPD that they had solved the robbery and that the

perpetrator was Mr. Andrus. In doing so, however, they told HPD that Mr. Andrus

had been fingered for the crime not by Charaya Williams, but by an anonymous crime

stoppers tip. Exh. 10 at 7. FBCSO also repeated the story about the photo array to

HPD which Mr. Tran now disavows. Id.



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      Nonetheless, HPD packaged the misinformation it received from FBSCO into

a warrant application. Id. An arrest warrant was issued by a Houston municipal court

judge and Mr. Andrus was indicted for aggravated robbery in Harris County District

Court. Id.

          F. Mr. Andrus is arrested in New Orleans.

      In early November, FBSCO learned that Mr. Andrus might be in New Orleans.

They contacted the New Orleans Police Department to notify them that Mr. Andrus

might be there and that he had an arrest warrant out of Harris County. Exh. 15 at 2.

      On Friday, November 7, 2008, Mr. Andrus was arrested by the New Orleans

Police Department on the Harris County aggravated robbery warrant. Exh. 17. He

was then held at the Orleans Parish Jail. Detective Jeffrey Martin of FBSCO and

Texas Ranger Kip Westmoreland, who had been assisting on the murder

investigation, traveled to New Orleans to interrogate Mr. Andrus at the New Orleans

Parish Jail. Exh. 15 at 2.

          G. Mr. Andrus invokes his Fifth Amendment right to remain silent.

      Ranger Westmoreland began the interrogation by asking Mr. Andrus

questions about his background, what he was doing in New Orleans, and why he had

been arrested. Exh. 14 at 1–12. Only after questioning him for some time, did Ranger

Westmoreland read Mr. Andrus his Miranda warnings. Id. at 13–14. He then began

asking Mr. Andrus about the murders. Mr. Andrus denied involvement in the

murders and terminated the interview. Id. at 19. The State would later concede that,




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at this point, Mr. Andrus had invoked his Fifth Amendment right to remain silent.

Exh. 18 at 14.

         H. Mr. Andrus is appointed counsel in New Orleans.

      Detective Martin and Ranger Westmoreland remained in New Orleans and

continued to investigate Mr. Andrus by interviewing his current girlfriend and the

people Mr. Andrus was staying with. Exh. 14 at 3–5. Meanwhile, Mr. Andrus had a

hearing in New Orleans on Harris County’s request to extradite him on the

aggravated robbery warrant. Exh. 16. An attorney from the Orleans Parish Public

Defender’s office represented Mr. Andrus at the hearing. Id. Mr. Andrus ultimately

waived extradition. Id. The waiver was signed by both Mr. Andrus and his attorney.

Exh. 17 at 2.

         I. Detective Martin and Ranger Westmoreland hatch a plan to re-
            interrogate Mr. Andrus by superseding the extradition
            process.

      When Detective Martin and Ranger Westmoreland learned that Mr. Andrus

had waived extradition, they hatched a plan to continue their interrogation of him,

despite Mr. Andrus’s clear invocation of his right to remain silent. First, they

contacted Harris County and told them to cancel their plan to bring Mr. Andrus back

to Texas. Exh. 17 at 5. Instead, Detective Westmoreland and Ranger Martin would

handle the extradition themselves. Id. They then informed the Orleans Parish Jail

that they would personally extradite Mr. Andrus and to have him ready for them to

pick up. Ranger Westmoreland and Detective Martin then went to an electronics store

and purchased a long-duration digital recorder, which they concealed in their car.

Exh. 18 at 11.


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      Neither Ranger Westmoreland nor Detective Martin ever informed Mr.

Andrus’s attorney that they had superseded the normal extradition process and that

Mr. Andrus would be interrogated by the very same officers he had declined to speak

with as part of the extradition process.

      Part of what happened next is, again, a matter of dispute. Mr. Andrus would

later testify that, before Ranger Westmoreland placed him in the car, he read the

Miranda warnings, and in response, Mr. Andrus told him “I’m going to need that

attorney now.” Exh. 18 at 19. Ranger Westmoreland denied it and the court credited

Ranger Westmoreland’s testimony.

          J. Mr. Andrus, clearly confused by the situation, asks where he is
             going; the detectives take this to mean he has waived his Fifth
             Amendment right.

      Immediately upon being placed in the car, Mr. Andrus asked where he was

going and why. Exh. 19 at 3. Specifically, he asked whether he had been indicted and,

if so, what for. Id. Ranger Westmoreland responded Mr. Andrus had been indicted for

aggravated robbery. Id. Mr. Andrus then asked if he had a court date, to which

Ranger Westmoreland told him that they had to get Mr. Andrus “in the system first.”

Id. Mr. Andrus then asked if any attorney had been appointed to represent him. Id.

Ranger Westmoreland made no effort to clarify whether Mr. Andrus was requesting

an attorney. Id.

      Mr. Andrus then attempted to make small talk with the Ranger and the

Detective, asking where they were staying. Id. In response, they began questioning

him again about subject matter relating to the murders, asking him where he had




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been staying in New Orleans and whether he has spoken to his girlfriend since he’s

been in jail. Id.

        Detective Martin then Mirandized Mr. Andrus. Id. at 4. In response, Mr.

Andrus again sought to clarify where he was going and why two officers who had been

interrogating him about a murder in Fort Bend County were taking him to Harris

County in connection with a purported aggravated robbery. Id.

           K. The detectives prohibit Mr. Andrus from sleeping, although it is
              late at night.

        A few minutes later, Ranger Westmoreland told Mr. Andrus that one of the

“rules” of the ad hoc extradition was that he was not allowed to sleep—even though

it was already late at night when they left New Orleans. Id. at 13. After some

additional small talk, Mr. Andrus told the officers that he planned to marry his

girlfriend. Id. at 15. In response, Ranger Westmoreland told Mr. Andrus he needed

to change his plans because “that Fort Bend County deal ain’t going to go away.” Id.

at 16. He then told Mr. Andrus, “I know what happened, but I got to hear from you.”

Id.

           L. Just after crossing into Texas, the detectives urge Mr. Andrus to
              confess.

        After being confined in the car for nearly five hours with the Detective and

Ranger, the Detective “engaged [Mr. Andrus] in conversation about the case.” Exh.

15 at 7. Just after the car crossed into Texas from Louisiana, when the subject of the

murders had not been discussed for hours, Detective Martin launched into a lengthy

speech to Mr. Andrus urging him to confess immediately. Exh. 19 at 42. The Detective

emphasized to Mr. Andrus that until he confessed, the police would have no choice


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but to go after those he was closest to, stating: “Everybody you talked to, everybody

that you – that may be close to you, maybe a family member, maybe your girlfriend,

maybe a friend, whatever, that you caused to participate in this thing after the fact

is going to have some trouble.” Id. at 41.

      Detective Martin then told Mr. Andrus that unless he provided his side of the

story, “it just looks like cold blooded murder.” Id. He also told Mr. Andrus that he and

Ranger Westmoreland “knew what’s down inside” of Mr. Andrus, but that “it’s going

to be hard to convince a judge or 12 people in the jury of all that when it’s too late,

after the fact, when they’ve seen that we’ve given you ample opportunity to do the

right thing.” Id. Ranger Westmoreland emphasized that “there’s no judge, there’s no

prosecutor, there’s no defense attorney, for that matter, that would argue with the

fact that acceptance of responsibility and remorse, doesn’t play a big part in

sentencing.” Id. at 42.

      Finally, Mr. Andrus asked “if I was to make confession, what role would that

play?” Id. at 42. Detective Martin answered: “[A] huge one. It would show that, you

know, at some point, you accepted responsibility for what – what happened. But not

only that, Terence, but it would also clear up some specific details about what exactly

did happen. And it may have a difference between what – what your intent was,

because without – without your side of the story, like I said earlier, it just looks like

cold-blooded murder.” Id. at 42–43.




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          M. Mr. Andrus confesses.

      Mr. Andrus told the Detective Martin and Ranger Westmoreland that he had

gone to the Kroger to steal a car. Id. at 45. He saw a women get out of a car and he

approached the car. Id. With a gun in his hand, he opened the door and asked the

driver, whose name was Avelino Diaz, whether the car was a manual or automatic

transmission, telling him further that he could not drive a manual transmission. Id.

Seeing that it was a manual transmission, Mr. Andrus turned away to disengage from

the carjacking. Id. But Mr. Diaz exited the car, saying “Okay, I get out of here, I get

out.” Id. Mr. Diaz had removed the firearm he kept in the car and was about to pull

the pistol out of its holster. Id. Mr. Andrus shot him. Id. As Mr. Andrus ran away

through the parking lot, a car approached him. Id. It appeared to Mr. Andrus that

the car was speeding up and trying to hit him. Id. Mr. Andrus shot again, this time

killing Kim Bui. Id.

      After Mr. Andrus confessed, Detective Martin and Ranger Westmoreland took

Mr. Andrus to the Fort Bend County Sherriff’s Office, rather than their original

destination of Harris County. They took Mr. Andrus to an interview room, where Mr.

Andrus once again confessed. Exh. 22. Detective Martin and Ranger Westmoreland

failed to mirandize Mr. Andrus again until the interrogation was almost complete. Id.

at 42. Mr. Andrus then signed a written confession. State’s Trial Exhibit 147. By that

time, it was nearly 3 a.m. Id.




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          N. Mr. Felcman directs Mr. Crowley to file a motion to suppress.

      In the motion filed by Mr. Crowley, he asserted three grounds for suppressing

the confession: (1) that Mr. Andrus had invoked his right to remain silent under the

Fifth Amendment; (2) that prior to questioning, Mr. Andrus requested the assistance

of counsel; and (3) that he was not taken before a magistrate judge without undue

delay in violation of Article 15.17 of the Texas Code of Criminal Procedure. CR 91.

      The hearing on the motion to suppress did not occur until September 5, 2012,

less than a month before vior dire began. At the beginning of the hearing, Mr.

Felcman, the prosecutor, explained to court that Mr. Crowley would be dropping his

third ground for suppressing the confession: that it was obtained in violation of

Article 15.17. Exh. 18 at 6. Mr. Felcman stated that he had talked to Mr. Crowley

and explained to Mr. Crowley that the third ground was wholly lacking in merit. Id.

      Mr. Felcman also explained to the court that there was no issue as to whether

the confession was involuntarily obtained and no issue as to whether there was

probable cause for the warrant. Id. at 6. Mr. Crowley did not rebut this. Finally, Mr.

Felcman revealed that Mr. Crowley had actually filed the motion at Mr. Felcman’s

request. Id. at 7. Mr. Felcman stated that there were “good grounds” to file the motion,

although he urged the judge to deny it. Id.

          O. Mr. Crowley makes virtually no effort at the suppression hearing.

      Detective Martin and Ranger Westmoreland both testified at the hearing. They

confirmed their scheme to re-interrogate Mr. Andrus by superseding the extradition

process. They testified that Mr. Andrus impliedly waived his right to not be re-

interrogated by “asking us about the case.” Id. at 13. Of course, by placing him in the


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car with his two interrogators under extremely confusing circumstances, it was

inevitable that Mr. Andrus would ask them about the case. Indeed, Mr. Andrus’s first

question when he was placed in the car to ask where he was going and why. Exh. 19

at 3.

        Mr. Crowley limited his advocacy to putting Mr. Andrus on the stand and

having him put his word against Ranger Westmoreland’s as to whether Mr. Andrus

requested an attorney before entering the car. Mr. Crowley conceded that Mr.

Andrus’s inquiry as to whether he had been appointed an attorney in Houston was

too “ambiguous” to constitute a request for counsel. Exh. 18 at 23.

        Ultimately, the court decided that it had heard enough at the hearing and

decided that “I don’t believe there is any need for me to read the remainder of the

transcript.” Id. at 24. The court denied the motion to suppress. Id.

           Mr. Crowley failed to make a Batson objection to a minority juror
           that the prosecutor later admitted he struck because that juror
           would have given Mr. Andrus “a fair trial.”

        Jury selection started on October 1, 2012. Mr. Felcman and Mr. Crowley

agreed, in an off the record discussion, on a process for jury selection they had used

in the past but the mechanics of which are nowhere in the record. This process

somehow narrowed down the venire panel to 57 venire members. CR 287–99. Five of

the qualified venire members were black, and six were Hispanic. CR 287–99; 2 Supp.

CR 16–27.

        The State used peremptory strikes to remove three black jurors and two

Hispanic jurors. CR 287–99; 2 Supp. CR 16–27. Mr. Crowley began to make a Batson

challenge. The courtroom was cleared. He then told the court that he had changed


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his mind and would not be making a Batson challenge after all. 37 RR 41. He provided

no reason as to why. When Mr. Felcman would later be required to give his race

neutral reasons for striking some of these jurors, he stated that one juror was

objectionable because she admired Barack Obama for being “the first African-

American president.” 5 SHRR 53. Another juror saw Oprah Winfrey as a “well

respected African-American woman that is a success.” Id. at 53. Yet another “race-

neutral” reason cited by Mr. Felcman was that a juror said being “African-American

was important to her.” Id. Perhaps most perplexing of all, Mr. Felcman testified that

he struck one juror for stating that he would give Mr. Andrus “a fair trial.” Id.

           Mr. Crowley told the jury that Mr. Andrus was guilty without
           consulting him.

        Mr. Crowley elected not to give an opening statement. The State’s first witness

was Patty Diaz, the widow of Avelino Diaz. Her testimony contained a substantial

amount of victim impact subject matter that had nothing to do with guilt or innocence.

Mr. Crowley remained silent. The same dynamic played out at the end of the State’s

case, when the widower of Kim Bui testified. 38 RR 39–40; 61–62; 43 RR 30–33; 53–

54.

           A. The state argued that Mr. Andrus fabricated his confession.

        Mr. Andrus’s confession was, of course, a key piece of evidence at the guilt

phase. The State’s theory was that Mr. Andrus had not been looking to steal a car,

but simply to shoot people. The State attempted to undermine the idea that Mr.

Andrus was afraid for his life when Mr. Diaz drew his firearm. Instead, the State

contended that Mr. Andrus shot Mr. Diaz in the back before he could have seen the



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gun. Likewise, the State attempted to show that Mr. Andrus could not have possibly

believed the Buis car was speeding toward him, but that Mr. Andrus instead simply

executed Ms. Bui for no reason other than to commit a wanton killing. Had Mr.

Crowley retained a qualified shooting reconstruction expert, he would have known

the physical evidence actually supported Mr. Andrus’s version of events. Exh. 20.

          C. Mr. Crowley conceded Mr. Andrus was guilty of capital murder
             without consulting with Mr. Andrus.

      Having failed to investigate the circumstances of the offense, Mr. Crowley was

left to asking a couple of questions here and there during the guilt phase that might

inferentially support Mr. Andrus’s confession. In a closing argument that lasted less

than three pages in the reporter’s record, Mr. Crowley spoke as if he and the

prosecutors were all on the same team. In light of trial counsel’s wholesale failure to

mount any defense, the State began its closing argument by asking “[l]adies and

gentlemen, you have to be thinking to yourself right now, what are we doing? For

three days of testimony, what’s the issue?” 45 RR 7. Mr. Crowley told the jury that

“[y]ou’ve heard pretty overwhelming evidence” of guilt, and that he was not intending

to argue that Mr. Andrus was “not guilty because he was drunk, he was on drugs,

anything like that.” Id. at 16. Mr. Crowley thought then that the jurors “might ask,

why did you not just plead guilty?” He implored the jury to “[l]ook at the whole case”

and the statement from Mr. Andrus, which, “even under those facts . . . it still

established their elements.” Id. In final summation, the State repeatedly commended

Mr. Crowley for conceding Mr. Andrus’s guilt. “Thank you, Mr. Crowley. I appreciate

your comments. Sid and I go back a long way. And he’s right. . . . guilt or innocence



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is really not going to be an issue.” Id. at 18; see also id. at 25 (“Mr. Crowley, I

appreciate your comments.”). The State argued that Mr. Andrus “did exactly what he

is charged with, and even Mr. Crowley knows that.” Id. at 25.

      As reflected in the record, Mr. Crowley admitted during the state post-

conviction hearing that he conceded Mr. Andrus’s guilt. 2 SHRR 59–60. He admitted

that he did so without consulting with Mr. Andrus in regards to this decision, or

without gaining his consent to concede his guilt. Mr. Crowley unequivocally testified

“no” when asked whether he had asked Mr. Andrus for consent to do so, and instead

said that “[b]asically I [just] made my argument.” Id. at 63–64.

          The trial court had to stop Mr. Crowley from resting after only
          presenting two witnesses at the punishment phase.

          A. The state created the false impression that Mr. Andrus had been
          the gunman in a robbery, which Mr. Crowley failed to rebut.

      Mr. Crowley had promised that the jury would see more of a fight in

punishment phase. But that fight never materialized. The State’s first two witness

were the complainant and investigating officer in the robbery that had landed Mr.

Andrus in TYC at age 16. The robbery involved three culprits, one who pointed a gun

at the complainant, one who demanded her purse, and one who remained in the car

that the three had arrived in. Mr. Andrus was initially suspected of being the gunman,

but it was later determined that the gunman was Derrick McGowan. 19 SHRR 101.

Mr. Andrus ultimately pleaded not to participating in the robbery itself, but to having

solicited McGowan to commit the robbery. Id. The obvious implication is that Mr.

Andrus was the third person who stayed in the car.




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      The State, however, portrayed Mr. Andrus as the gunman—the exact theory it

had abandoned when it prosecuted the case. 46 RR 15, 20, 25; 52 SHRR 24. Yet, Mr.

Crowley did not object to the testimony or use the police and court records from the

case to show that Mr. Andrus could not have been the gunman.

         B. A state’s witness testified concerning a robbery that Mr. Andrus
            was completely uninvolved with, which Mr. Crowley failed to
            rebut.

      The next witness was Farida Faheem. She had a kiosk at Sharpstown Mall.

She was robbed several times while at the mall. In the instance that Mr. Andrus was

involved in, someone took her purse and it eventually came into the possession of Mr.

Andrus and his older brother Torad. Exh. 21 at 4. As Torad was going through the

purse, a security guard saw them, took the purse, and returned it to Ms. Faheem. Id.

      That, however, was not the incident Ms. Faheem testified to. She testified to a

completely different incident, in which a man followed her to a dark parking lot late

at night, fought her for her purse, and then made off with a substantial amount of

money. 46 RR 30–32. It is undisputed that Mr. Andrus had nothing to do with that

event. Yet, neither the prosecutor, nor Mr. Crowley made any effort to show that Ms.

Faheem was testifying about a robbery that had nothing to do with Mr. Andrus.

         C. Another state’s witness testified concerning an identification
            process he now claims never happened.

      The final extraneous offense presented by the State was the aggravated

robbery at the dry cleaners. As discussed earlier, the State presented a version of

events that is completely at odds with Mr. Tran’s recollection. Exh. 13. Had Mr.

Crowley investigated the offense, he would have been able to show that the



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identification process actually employed by the State was completely different from

what the State described at trial.

         D. A state’s witness from TYC testified that Mr. Andrus squandered
            his chance at rehabilitation, which Mr. Crowley failed to rebut.

      The State also brought a witness to testify concerning Mr. Andrus’s time at

TYC. The witness testified that Mr. Andrus had failed to advance through the TYC

rehabilitation program, despite being given every opportunity. 48 RR 63–74. Shortly

after Mr. Andrus left TYC, it was revealed that TYC was wholly ineffective at

rehabilitating youth. 13 SHRR 60–67. TYC was abolished and the facilities where Mr.

Andrus was housed were closed forever. Id. In fact, as described in detail below, Mr.

Andrus had experienced a living hell at TYC. Yet, because Mr. Crowley had not

investigated Mr. Andrus’s time at TYC or retained an expert on TYC (despite Ms.

Olvera having sourced one), he offered no rebuttal to the State’s witness.

         E. Mr. Crowley failed to contextualize the evidence concerning Mr.
            Andrus’s behavior in pre-trial detention or offer evidence
            concerning his serious mental health problems.

      Much of the remainder of the State’s punishment phase case concerned Mr.

Andrus’s behavior in pretrial detention. Unbeknownst to the jury, Mr. Andrus had

suffered from serious mental health problems prior to trial. He attempted suicide at

least once, and was being given a potent cocktail of antipsychotic drugs. 28 SHRR 32,

54, 56; 29 SHRR 241. Mr. Crowley, however, had made no investigation into Mr.

Andrus’s mental health, the diagnoses he had received, or the powerful drugs that

had been administered to him starting from his time in TYC. Indeed, he had chosen




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to not even read the report of the psychologist he retained, which identified serious

mental health problems and suggested that Mr. Andrus was schizophrenic.

           F. Mr. Crowley was completely unprepared to present a case in
              mitigation, and ended up instead presenting a case in
              aggravation.

        Mr. Crowley put on almost no case at the punishment phase. He thought his

star witness would be Cynthia Andrus; yet, Mr. Crowley did not talk with her until a

few minutes before trial. 3 SHRR 88. During that conversation, she told him that her

life was not on trial and that she would not “tell stories about [her]self.” 13 SHRR

140. True to her word, she lied about Mr. Andrus’s childhood and instead presented

a sanitized version that, if anything, was aggravating rather than mitigation. 49 RR

54, 57, 67, 79. Mr. Andrus’s biological father, provided similarly non-mitigating

testimony. He testified that although he had been incarcerated for most of Mr.

Andrus’s life, Mr. Andrus had always been raised by “good people.” 50 RR 14-15.

        Mr. Crowley then tried to rest for the defense. Id. at 20. When the judge

inquired whether Mr. Crowley intended to call an additional witness, Mr. Crowley at

first agreed, but then said “I don’t think we’re going to need him.” Id. at 20–22. An

off the record bench conference was held, seemingly about whether Mr. Crowley

would call any other witnesses. The result of the bench conference was that Mr.

Crowley would be calling an expert and that the trial would be continued for five days.

Id.

        Mr. Crowley’s sole expert was Dr. John Roache, the psychiatrist and

pharmacologist. Dr. Roache testified briefly about drug addiction and drug abuse and

how these could have impacted Mr. Andrus’s cognitive ability and decision-making at


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the time of the crime. 51 RR 6–19. While cross-examining Dr. Roache, Mr. Felcman

mocked him: “So you drove three hours from San Antonio to tell the jury panel that,

that people change their behavior when they use drugs?” Id. at 21. Mr. Felcman also

offered his lay opinion that Mr. Andrus was a “sociopath,” to which Mr. Crowley did

not object. Id. at 20–26; 4 SHRR 111; 5 SHRR 29. When Mr. Felcman attempted to

induce Dr. Roache to agree with this lay opinion, Mr. Crowley did not object although

Dr. Roache had not conducted a psychological assessment of Mr. Andrus and thus

was not qualified to offer any mental health diagnosis of him. 51 RR 20–26; 3 SHRR

111–13.

        After Dr. Roache’s testimony, Mr. Crowley called a lay witness, James Martin,

a jail counsel. During his brief direct examination, Mr. Martin testified that Mr.

Andrus’s behavior had changed and that he had been showing remorse and making

progress. 51 RR 30–35. But because neither Mr. Crowley nor Mr. Martin were

sufficiently prepared, the witness was exploited by the State on cross-examination.

Mr. Martin volunteered an “expert” opinion about Mr. Andrus having anti-social

personality disorder before he started to show remorse. Id. at 34. Mr. Crowley did not

provide Mr. Martin with a chance during any re-direct to elaborate on the mental

health issues that he had observed while working with Mr. Andrus in jail. Id. at 35–

41.

        After this, Mr. Andrus took the stand himself and testified that he had first

been exposed to drugs between the ages of six and eight through his mother who had

sold drugs out of their home for a living. Id. at 48–49. He also testified that he and




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his siblings were often left alone for long periods of time while his mother was out in

the streets or at work. Id. at 49. Mr. Andrus stated he was left to raise his younger

siblings while his mother was absent. Id. While Mr. Andrus’s testimony would later

be corroborated in the “tidal wave” of mitigation evidence that was introduced at his

state writ hearing, at trial his testimony directly contradicted his mother and father’s

testimony.

       Most of the time Mr. Andrus spent on the stand was devoted to a cross-

examination by Mr. Felcman, who strongly questioned Mr. Andrus’s testimony

regarding his desire to express remorse for the crime to the victims’ families. 51 RR

45–46; 51 RR 62–75.

       The jury assessed Mr. Andrus’s punishment as death.

          The bailiff told that jury that they were safe from Mr. Andrus
          because he was wearing a shock belt that the bailiff could activate.

       At a pretrial hearing, the trial court granted a defense motion requesting that

Mr. Andrus not appear before the jury in visible restraints, in part because he

“behaved like a gentleman” at the hearing, but determined that he would wear an

electronic shock belt during trial. Exh. 18 at 25. According to one bailiff, Mr. Andrus

wore a device “called a ‘Bandit’ . . . . [which] provide[s] an electric shock to the person

wearing it when activated remotely.” 2 SHCR 788. The shock belt was placed on Mr.

Andrus’s leg under his clothes. Id. No specific finding of the necessity of this restraint

was ever made on the record.

       During trial, a bailiff informed the jury that Mr. Andrus was wearing the shock

belt. Multiple jurors recall that the bailiff told them he could shock Mr. Andrus in



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order to keep the jury safe from him. Juror Modi stated in an affidavit that “the bailiff

told us that we were safe because he had a taser button that he could push to tase”

Mr. Andrus and juror Modi “felt safer knowing that during the trial Andrus was

wearing a taser.” 1 SHCR 305. Similarly, juror Moon averred that “the bailiff told us

not to worry” because Mr. Andrus “was wearing a taser,” and that there was a button

he “could push if Andrus did anything and Andrus would be tased.” Id. at 308. Juror

Patrick remembers this too, specifically recalling that “the bailiff told us about a taser

button on his holster. He told us that if Andrus did anything, all he would have to do

was push the button and Terence would drop to the ground.” Id. at 312. In addition,

Jurors Flakes and Guilbeau also remember the bailiff telling them about the shock

belt. Id. at 296 (“[T]he bailiff told the jurors that he had a button he could push to

tase Andrus if he needed to.”); id. at 302 (“I remember the bailiff at some point making

a comment about Andrus wearing a taser.”). Most jurors remembered hearing about

this just before Mr. Andrus took the stand at the punishment phase of trial, although

not all of the jurors remembered exactly when the bailiff made this comment. Id. at

305 (“The bailiff told us about the taser before Andrus took the stand.”); id. at 312

(“[B]efore Andrus testified, the bailiff told us about a taser button on his holster.”);

id. at 296 (“I think the bailiff made this comment around the time Andrus was going

to get on the stand.”).

      Mr. Andrus did not discover that the bailiff had made these comments until

post-conviction investigation. Trial counsel were not aware at the time of trial that

the bailiff made these comments to the jury, and it does not appear in the record.




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          Mr. Crowley failed to preserve claims for direct appeal.

      Mr. Andrus was represented on direct appeal by Carey Faden. Among other

issues, Mr. Faden litigated whether Mr. Andrus’s confession should have been

suppressed. His appellate counsel attempted to argue that the confession should have

been suppressed because it was the result of an “improper pressure tactic.” Exh. 1 at

24. The CCA held that this argument had been waived, as it was not presented by

Mr. Crowley. Id. The CCA rejected the argument that Mr. Andrus had invoked his

right to counsel on the ground that it would not disturb the trial court’s credibility

determination and that Mr. Andrus’s inquiry about a lawyer on the recording had

been ambiguous, as Mr. Crowley had conceded. Id. at 22. Finally, the CCA concluded

that Mr. Andrus had waived any Fifth Amendment protection because the detectives

never raised the subject of the murders during the car ride. Id. at 22-24. Rather, the

CCA concluded that every time the murders were discussed, it was because Mr.

Andrus began asking about them. Id. The CCA affirmed Mr. Andrus’s conviction and

sentence of death and entered its final opinion on March 23, 2016. Exh. 1.

          The judge presiding over the state post-conviction hearing
          described the new mitigating evidence as a “tidal wave” before
          recommending that Mr. Andrus receive a new punishment phase.

      Mr. Andrus was represented by the Office of Capital and Forensic Writs for his

state post-conviction proceedings, who filed an application for relief under Texas Code

of Criminal Procedure Article 11.071 on March 4, 2015. 1 SHCR 28. The trial court

held a multi-day evidentiary hearing, the Reporter’s Record of which spans over 40

volumes. Much of the evidence from that hearing has been described above. During

this hearing, the trial court referenced the volume of mitigating evidence as a “tidal


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wave.” 6 SHRR 101. That evidence is described below. By this specific reference, Mr.

Andrus incorporates all facts presented in the state court proceedings into this

petition.

            A. The case for mitigation that Mr. Crowley could have made.

               1. Terence was born in Houston’s Third Ward in 1988, a
                  historically African-American community.

       Terence 5 was born on March 26, 1988 in Houston’s Third Ward neighborhood

at Jefferson Davis Hospital, historically referred to as the “negro hospital.” 4 SHRR

216. At one time, the Third Ward was a thriving African-American community. Its

roots as a black neighborhood go back to Reconstruction, when the parishioners of

Antioch Baptist Church raised money to acquire the land that became Emancipation

Park, around which the Third Ward neighborhood developed. Id. at 210. This was the

first public property purchased by African-Americans in Houston. Id.

       Particularly after the instigation of Jim Crow laws in the 1890s, the heavily

African-American Third Ward sought to develop its own business district and

community so that its residents would not have to endure the discrimination and ill-

treatment that routinely accompanied visits to downtown and other parts of the city.

Id. at 210–13, 217–19. In the post-World War I period, the Ku Klux Klan had an

active presence in Houston, counting the mayor, many police officers, and even a

chapter of Rice University students as members. Id. at 217–18. Mob violence and




       5 First names will be used in this section to avoid confusion regarding individuals with the

same last name.



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police brutality were common features of African-American life. Id. at 217–18. Indeed,

Houston did not have a black police officer until World War II, and he was not

permitted to arrest white people or even carry a weapon. Id. at 218

        Several schools were constructed in the Third Ward around this time,

including Douglass Elementary School and Yates High School, both of which Terence

attended. Specifically intended to serve the black community during the era of

segregation, the schools were chronically underfunded and relied on underpaid

teachers, volunteers, and second-hand instructional materials. Id. at 214.

        Even as legal segregation came to an end in the post-war period, the Third

Ward became more, not less, isolated from the rest of Houston. Part of the reason for

this was that Interstate 45 cut through the neighborhood, thereby limiting

transportation options for those without an automobile. The Interstate itself also

“wiped out entire parts” of the Third Ward. Id. at 220. “[B]usinesses in many cases

had to close down or people had to move to other parts if they were able.” Id. at 220–

21.




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41 SHRR 10.

      The post-war period also saw an explosion of vice-related crime in the Third

Ward. With the closing of the Reservation—Houston’s red light district—drugs and

prostitution began to infect the area. Id. at 223–24. In the 1960s and 1970s, people

from across Houston seeking heroin or illicit sex would come to the Third Ward. Id.




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19 SHRR 62.

          B. The Third Ward was devastated by the crack epidemic.

      The 1980s, in turn, ushered in the crack epidemic, which formed the backdrop

of Terence’s childhood. Crack is a cheap form of smokable cocaine that induces a

temporary, intense high lasting about 15 minutes. 4 SHRR 225–26. Although a single

crack rock might cost only $5.00, the short duration of the sensation experienced by

the user, plus its highly addictive chemical nature leads an addict to quickly deplete

their available resources to acquire more of the drug. Id. Houston, like other port

cities, was one of the first places hit by the crack epidemic, which began in the early

1980s and continued for several decades. Id. at 225.

      The crack epidemic had catastrophic effects on the Third Ward. Crime rates

rose dramatically, as those addicted to the drug engaged in everything from robbery,



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to prostitution, to murder to support their addictions. Id. at 226–29. The illegal drug

trade likewise brought violence, as rival dealers and gangs battled each other. The

area around Emancipation Park—once the center of a thriving African-American

community—became a center of prostitution and crime. Id. One former crack dealer,

who was close with Terence when he was growing up, testified that he realized the

crack-selling business would be lucrative when “this lady came up to us with a

newborn baby trying to sell us the baby for some crack.” 6 SHRR 33. “No one took the

baby but we gave her some crack anyway.” Id. at 33–34.

        Another drug that became prevalent in the Third Ward was painkillers mixed

with soda. 4 SHRR 226–28. The concoction went by the street names “sizzurp,” “lean,”

or “drank.” Id. Like crack, it surfaced in the 1980s and continued in popularity for

decades. PCP-laced joints, called “wet” or “fry,” were also popular in the Third Ward.

13 SHRR 153.

        As drugs, crime, and violence overran the Third Ward, those with sufficient

financial resources moved out, often relocating to safer, more prosperous areas like

Missouri City and Sugarland. 4 SHRR 229–30. Only the poorest residents remained

in the Third Ward. The area depopulated and grew severely economically depressed.

Businesses abandoned the neighborhood. Supermarkets closed. Without any class

diversity, the tax base collapsed, which resulted in defunding for public resources

such as schools. Id. at 228–32. HIV and AIDS also began to afflict the area. 13 SHRR

53.




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      The consequences of the Third Ward’s devastation on young people was tragic

but unsurprising. Children were exposed to crime, drug abuse, and alcohol abuse at

very young ages, resulting in the normalization of these behaviors. Id. at 53. The

Third Ward also saw low performing schools and deteriorating home environments,

with many children being raised below the poverty line by single parents who were

often very young themselves. Id. at 53–54.

      Even today, children in the Third Ward are “more likely to have poor grades

and disciplinary problems in school, leading to overall disinterest in scholastic

achievement.” Id. at 54. Third Ward youth are also “more likely to engage in early

experimentation with substance abuse.” Id. Indeed, “many youth in the Third Ward

will choose to leave school, leading to high dropout rates in the area,” which in turn

“leads to further delinquency and involvement in the juvenile justice system and

(later) the adult criminal system.” Id.

      “[B]y the time a child is in fifth grade, many of the functional habits that will

determine their success in life have already been established.” Id. at 56. Thus,

without intervention, children in Third Ward “have a high probability of following

the path that leads to academic failure, disinterest in school, a distorted self-concept

of normal life, poor life-choices, and eventually juvenile delinquency.” Id.

          C. Terence’s childhood amidst the backdrop of the crumbling,
             crack infested Third Ward.

      By the time Terence was born in 1988, the crack epidemic was in full swing

and the deterioration of the Third Ward had been ongoing for several decades. As one

drug dealer who was involved in Terence’s childhood remembers, life consisted



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largely of “selling crack, smoking crack, popping pills, selling pills, selling drank,

doing drank, robbing, a few killings, in a nutshell.” 6 SHRR 65.

      Terence’s mother, Cynthia Andrus, was a 17-year old high school student when

Terence was born. Terence was her second child. When Cynthia was 16, she had given

birth to Terence’s older brother, Torad. Despite being a year younger, Terence was

generally viewed as being cognitively more advanced than Torad, who was described

as “slow” compared to his younger brother. Id. at 41, 89–90. By the time he was 17,

Torad would be on disability insurance due to mental illness. 6 SHRR 41; 18 SHRR

158; 25 SHRR 58.

      Terence’s father, Michael Davis, was a year younger than Cynthia and lived a

few houses down from hers in the Third Ward. His older brother was the father of

Torad, Cynthia’s first child. Terence and Torad were therefore both half-siblings and

cousins. Michael was not listed as the father on Terence’s birth certificate and did not

know that he was Terence’s father until three years later. Within a year of Terence

being born, Michael was in prison, where he would remain for the vast majority of

Terence’s life. Around the same time, Torad’s father, like his younger brother Michael,

found himself in prison on drug charges.

      For a time, Cynthia’s father paid for daycare while Cynthia completed high

school at the Contemporary Learning Center. When she was 19, however, Cynthia

moved away from her parents, who were “strict” and disapproved of her having

children out of wedlock.




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         D. Terence’s life began under the influence of a traumatized
            caretaker who struggled with crack addiction.

      Cynthia, Torad, and Terence moved in with Michael’s mother, LaRuth York

Davis (who was both Terence and Torad’s paternal grandmother, as their fathers

were brothers). LaRuth was a crack addict who at times had been completely unable

to care for her children such that they had to go live with their grandparents. 6 SHRR

198-99. The children could not go to LaRuth’s parents because her father had

murdered her mother. Id. Michael recalled that LaRuth would get drunk, cry, and

tell Michael about how her father had killed her mother. Id. The same year that

Cynthia, Torad, and Terence moved in with LaRuth, she was arrested and convicted

of cocaine possession. She was again convicted of cocaine possession six years later.

         E. The vast majority of adults in Terence’s life had regular contact
            with drug users, drug dealers, or both and were individuals
            continually involved with the criminal justice system.

             1. Senecca Booker, a well-known Third Ward drug dealer, was
                the most influential male figure during Terence’s childhood.

      When Terence was around five, Cynthia moved the family to a house in the

Third Ward, eventually settling on McIlhenny Street. Around that time, she began

dating a man named Senecca Booker, who moved in with Cynthia and the kids. 13

SHRR 20. Senecca was a drug dealer, who mainly sold crack and drank. Id. That

Senecca was by far the most positive influence in Terence’s home life speaks volumes

about Terence’s childhood.




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19 SHRR 68. A contemporary photo of McIlhenny house where Cynthia, Terence, and his half-siblings

lived. During the time they lived there, the windows were boarded up to prevent crack addicts from

breaking in. There was also no railing around the stairs, no landscaping, and no fence. The house has

also been repainted, as depicted in the photo. 6 SHRR 22.




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19 SHRR 60, 72. Contemporary photos of the area near the McIlhenny house. 6 SHRR 157.




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      Senecca was “very much part of drug life” in the Third Ward and was “really

good at hustling.” 13 SHRR 20. Proud of his hustling lifestyle, he once sent a photo of

himself holding all of his drug money to his mother. Id. Senecca would go to a clinic

run by a corrupt doctor who would sell drug prescriptions to acquire the ingredients

to make drank. Id. at 153. Senecca and Cynthia both sold drugs out of Cynthia’s house,

mainly crack, drank, and marijuana. Id. at 164.

      Yet, Senecca was something of a positive influence in the area. He was known

as “Cookie Monster” because he used to buy cookies and give them to the kids in the

neighborhood. 6 SHRR 44. Indeed, although Senecca was a drug dealer by trade, he

had positive attributes that distinguished him from the others Cynthia brought into

her home. First, unlike Cynthia’s other boyfriends, Senecca refused to help Cynthia

beat Terence. 7 SHRR 127. Cynthia kept a board wrapped in duct tape that she would

use to hit the children. Id. She would have her other boyfriends hold the children

down while she beat them with the board. Id. When she grew tired from

administering a beating, the boyfriends would take over and continue striking the

children. Id. Senecca refused to participate in this abuse.

      Second, Senecca seemed to genuinely care about Terence. Terence’s brother

Torad recalls that Senecca was “the only one I remember ever showing us love and

providing for us like a father.” 13 SHRR 144. Senecca would take the kids to get free

Christmas presents from churches and charitable groups. Id. He also found ways to

celebrate the children’s birthdays. Id. He would babysit them, cook with them, and

taught them how to make simple things. 13 SHRR 163. Despite the fact that he was




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a career criminal, Senecca was a role model for Terence and Torad looked up to him

as a provider. Id. at 144.

             2. Tafarrah Andrus’ father, Danyel Sims, was a crack dealer who
                sexually assaulted Tafarrah.

      Senecca, however, was an inconsistent presence in Terence’s life due to his

frequent stints of incarceration. When Senecca was in jail, Cynthia would take up

with other drug dealers who lacked Senecca’s redeeming qualities. One such

individual was Danyel Sims, who was the father of Cynthia’s third child, a daughter

named Tafarrah who was born in 1992. Like Cynthia, Danyel was a crack dealer. 6

SHRR 39. He used PCP recreationally. Id. At one point Danyel was arrested for

murder, but was never formally charged. Id. at 178. He did rack up numerous

convictions for drug related offenses, however, and was eventually sentenced to 18

years in prison for aggravated robbery with a firearm. 36 SHRR 228.

      Danyel sexually assaulted Tafarrah, his daughter and Terence’s half-sister,

when she was between 4 and 6 years old. 6 SHRR 187–88. Her medical records also

indicate the she was physically abused by Danyel. 33 SHRR 197. Due to the sexual

assault, CPS removed Tafarrah from Cynthia’s home and separated her from her

half-siblings. 6 SHRR 187–88. Although she later attempted to move back in with the

family, she clashed with Cynthia, who kicked her out of the house. Tafarrah

eventually ended up homeless. As a child, she would cut herself on her thighs with

razors, forks, and spoons. She described the cutting as making her feel joyful and

happy because she had been raped and beaten. By the end of her teenage years, she

had attempted suicide five times by, among other things, trying to drown herself in



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the shower, trying to hang herself, and throwing herself into oncoming traffic. 7

SHRR 17–21.

              3. Norman Williams and Orentherus Norman, who fathered
                 Cynthia’s fourth and fifth children, both had criminal
                 histories.

        Another man who lived in Cynthia’s home for a time was Norman Williams,

who fathered Cynthia’s fourth child, NormaRaye, in 1995. He would subsequently be

convicted of assault (bodily injury) and possession of cocaine. Norman was followed

by Orentherus “Sean” Norman, who fathered Cynthia’s fifth child, Trevion, in 1998.

Orentherus had convictions and parole violations for drug crimes going back to his

teenage years. 38 SHRR 189, 227, 232. Less than a year after Trevion was born,

Orentherus was murdered in a revenge killing at the age of 21. Id. Trevion, his son

and Terence’s half-brother, would later be killed at the age of 20.

           F. Cynthia Andrus supported herself and the family by selling
              drugs and sex.

        None of the fathers of Cynthia’s five children were constructively involved in

their children’s lives. While at times Cynthia had occasional periods of legitimate

employment, she mostly supported the family by dealing drugs and selling sex. 6

SHRR 85–86. Cynthia ran the drug operation out of her house. 13 SHRR 143–44. To

obtain the ingredients to make drank, Cynthia would go to a doctor who would sell

codeine prescriptions for $100. She later taught others how to leverage the

prescription scam so that they could also get into the illegal drug trade. 6 SHRR 56–

57.




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      Cynthia sold crack and drank directly out of her home and in front of her

children. 13 SHRR 143–45. Torad, Terence’s brother, remembers that addicts would

come to their house when he was a child and go into a backroom with Cynthia, where

she would chop up crack rock or mix up drank. Id. The addicts sometimes stole from

the children while they were in the house. Id. At least one addict attempted to break

into the home to obtain drugs, which is why the windows were later boarded up. 6

SHRR 22.

      On November 20, 1997, officers from the Houston Police Department’s

Narcotics Division executed a search warrant on an apartment located between

McIlhenny, where the Andrus family lived, and Bremond Street, in the Third Ward.

As they forced entry into the apartment, officers found three adult women and three

small children, along with a diaper containing crack cocaine, a razor blade with

cocaine crumbs, and a gun. Suspect number one, a friend of Cynthia Andrus, was

arrested on charges of possession with intent to deliver. Suspect number two, Cynthia

Andrus, was released, taking custody of the three small children. Cynthia was six

months pregnant with her last child, Trevion, at the time. 31 SHRR 187–91.

      Cynthia also made money from prostitution. She typically sold sex either by

soliciting men to pick her up so that she could spend the night with them or by finding

willing customers at night clubs. 6 SHRR 38, 85–86, 104–08. She would also bring

men home to the McIlhenny house. 13 SHRR 180.




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          G. Cynthia was a heavy drug user who could not care for her five
             children.

      In addition to dealing drugs, Cynthia was herself a heavy drug user. She was

often high on weed, drank, or pills and not in the home taking care of the kids. 6 SHR

84–86, 104. Frequently, she was out using drugs, going to a club, or otherwise away

from the children. Id. As one childhood visitor to Cynthia’s home recalled, the house

stank of smoke and was “disgusting and dirty,” with piles of dirty clothes laying all

over. 13 SHRR 179. The house had two large rooms. Cynthia slept in one room. Her

five children slept in one bed in the other room. Id. Although Cynthia received food

stamps, she often sold them. 13 SHRR 86–87. As a result, food was scarce, with

nutritious food being virtually non-existent. The children would make do with what

they had available to them, which involved making noodles, weenies, and butter

sandwiches. 13 SHRR 145, 179. One childhood visitor recalled walking with the

children, at the age of five or six, to a local convenience store because there was no

food in the house. Id. at 179.

          H. In the absence of a responsible adult, Terence was forced to
             parent his four siblings.

      In the absence of a responsible adult, Terence became the de facto parent of

the house, although he himself was still a child. Although Torad was older, he did not

possess the mental capacity to help his younger siblings. Rather, it was Terence who

would make sure Torad woke up in the morning, got ready, and went to school. Both

Terence’s siblings and adult visitors to the house recall Terence functioning as the




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parent of the household when Terence was as young as ten. 6 SHRR 102–03; 13 SHRR

179, 183–85.

      He would cook breakfast for the children in the morning and dinner at night.

The kids would sit together and eat the meals Terence had prepared. Terence was

also responsible for keeping the house clean. He would help the children with their

homework, make sure they got to school, help them stay out of trouble, and generally

watch over them. 6 SHRR 42, 102–03; 13 SHRR 179, 183–85.

      He would also help the kids find ways to entertain themselves. One Christmas,

Terence taught the children how to make cakes with an easy bake oven. Torad recalls

one instance when Terence “found an old crate, and he punched out the bottom of the

crate to make a basketball goal.” 13 SHRR 143–45.

      Although Terence, as child, filled the parental role for his half-siblings, he

himself longed for a father figure in his life—something Terence talked openly about

at a young age. 6 SHRR 42–43; 13 SHRR 163, 184. When Senecca was in jail, Terence

asked Senecca’s brother if he could call him “Dad.” 6 SHRR 42–43.

      Through his pre-teen years, Terence was generally viewed as a happy, good

natured child by adults. 13 SHRR 154, 163. On the occasions when an adult, such as

Senecca, would take on a parental role with respect to Terence, he was joyful and a

“normal kid.” Indeed, Terence appeared to relish these opportunities to have a break

from serving as a surrogate parent to his half-siblings and get to be a kid himself. Id.

at 184.




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          I. Terence was diagnosed with affective psychosis at age ten.

      Still, the trauma of being the parentified child of a drug-addicted single mother

living in a poverty-stricken neighborhood overrun by the crack epidemic clearly

affected Terence. At the age of 10, Terence was diagnosed with affective psychosis. 31

SHRR 118. For at least nine months, he received counseling, with each session lasting

between 45 and 50 minutes. 6 SHRR 216–20. The counseling most likely resulted

from the CPS intervention that followed Danyel Sims sexual abuse of his daughter

and Terence’s half-sister, Tafarrah. Id.

          J. The murder of Senecca Booker deeply affected the Andrus family.

      On August 23, 2000, just before Terence started middle school, his

circumstances changed dramatically and for the worse. Cynthia entered the home

that day covered in blood. 6 SHRR 194. Senecca Booker had just been shot and killed

on a nearby street corner. 13 SHRR 153; 6 SHRR 194.

      With Senecca’s death, the children lost the only person who ever “show[ed] us

love and provid[ed] for us like a father.” 13 SHRR 144–45. As Torad testified, the

family completely fell apart after Senecca was killed. Id. Cynthia fell into a deep

depression and completely abandoned the children for a week and half while she

binged on drugs and alcohol in a motel room. Id. at 184. Cynthia’s drug binges in

motel rooms became a repeated occurrence. Id. at 164. When she was at the house,

she would lie around and not do anything. Id. at 144–45. Indeed, “she started

drinking and using drugs constantly.” Id. Cynthia had a particular affinity for drank

during this period. Id.




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      By all accounts, the loss of Senecca deeply affected Terence. 13 SHRR 146, 154.

He had lost a caring father figure and role model. And, with Cynthia completely non-

functional, he now bore virtually the entire burden of taking care of his siblings.

      About a year after Senecca’s murder, the family briefly moved to the Fifth

Ward, another economically depressed area of Houston that, like the Third Ward,

had been ravaged by the crack epidemic. A few months later, however, Cynthia moved

the family to the Park Village apartments in Southwest Houston. With Cynthia, her

boyfriends, and the children, the apartment was cramped. 6 SHRR 85.

          K. The Park Village Apartments were infested with gangs, drugs,
             and violence.

      Park Village was not an improvement over the Third Ward. As one witness

described it, “The apartments were better, but those type of things that was going on

in Third Ward was going on there. . . . Hustling, selling drugs, popping pills, selling

pills.” 7 SHRR 46. It was infested with gangs, drugs, and other crime. 6 SHRR 46–47,

83–84. The smell of marijuana permeated the complex, with gang members hanging

around in their respective colors. Id. at 83–84. One witness described how nervous

she felt when she had to visit the Andrus household, as she had to pass grown men

and teenagers smoking marijuana and hanging about the complex. Id. When asked

to describe Park Village, she responded: “Drug related, gangs. It was a pretty bad

area.” Id. at 83. Another described how, when he drove up to the apartments, he

would see gangs of men “out in their same colors.” Id. at 47.




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          L. Cynthia’s relationship with Damon Sias, a violent, aggressive,
             drug dealing, sex offender.

      Around this time, Cynthia took up with a man named Damon Sias, who

subsequently moved into the apartment. Damon was a violent crack dealer who

smoked a lot of “water,” which is a street name for PCP. 6 SHRR 40–41, 88. He would

frequently use weed, pills, and “water” in front of the kids. Id. Damon was “very, very

arrogant, very loud, very aggressive, [and] abusive verbally, mentally, [and]

physically.” As one witness put it, “[h]e was not a good guy at all.” Id. at 93.

      Damon had recently been charged with indecency with a child, before pleading

out to a reduced charge to receive a one-year jail sentence. Two years later, he pled

guilty to attempted injury to a child and was sentenced to another year. According to

the complainant in that case, Damon beat her, forced her to perform oral sex on him,

and beat her 3-year old child. He then contacted the woman by phone and threatened

to kill her and her child if she didn’t get back together with him. 35 SHRR 163, 178.

      Damon and Cynthia both took drugs in front of the children. One frequent

visitor said that, more often than not, Cynthia was high when she was at the

apartment with the kids. 6 SHRR 88–89. Smoking “wet” would make Damon “[v]ery

aggressive” and “paranoid.” Id. Damon was a “mean ugly person” under normal

conditions. Id. at 94. When he took drugs, “[h]e was mean and that just intensified

it.” 6 SHRR 94. When Cynthia was on drugs, she would become “loud” and “a little

aggressive.” Id. at 88. She also “was more standoffish when she was on drugs” and

would act like she didn’t want her children around her. Id.




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       Frequently, Damon and Cynthia physically fought each other. Id. at 93.

Cynthia would often show up to a friend’s house with a black eye, a swollen lip, or

scratches on her body. Id. To escape Damon’s abuse, she would stay for days on end,

leaving the children behind. Id. Problems between Damon and Cynthia persisted

throughout their time together. At one point, Damon was arrested for trespassing at

the Park Village apartments. A few years later, Damon pled guilty to assault (family

violence confirmed). He and Cynthia had been in a motel for several days and a fight

ensued between them when Cynthia refused to have sex with him. 31 SHRR 211, 223;

35 SHRR 10. Later that same year, Damon was sent to a neuropsychiatric center

because he had become a threat to himself and others. The police report noted that

he had a history of mental illness.

       In the midst of losing Senecca, moving to the Park Villages, and having to raise

his half-siblings, Terence’s grades declined significantly. He also began to experience

behavior problems in school. 6 SHRR 215; 22 SHRR 232-33. Terence had to repeat

the seventh grade. Id. While still a middle-schooler, he began to use drugs. 13 SHRR

146.

          M. Terence’s newly found relationship with his father and hope for
             a better, more structured life.

       In 2003, however, Terence finally caught a break. His father, Michael Davis,

was released from prison and married a woman named Rosalind Cummings. Rosalind

testified that, starting in about 2002 or 2003, she and Michael would pick up Terence

from the Village Apartments for weekend visits. “The environment that Terence was

living in at his mother’s, Cynthia’s, house was horrible.” 13 SHRR 157. “Cynthia’s



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house was nasty and filthy, and there were piles of dirty clothes everywhere.” Id.

Oftentimes when Rosalind would go to pick up Terence, Cynthia “would not be home,

and the children would be there by themselves.” Id. Instead of taking care of her kids,

Cynthia would be “out in the streets drinking syrup.” Id. When she was home,

Cynthia “had different men around” and would be “high on weed, syrup, or pills.” Id.

      When Rosalind picked up Terence, he would tell her that he was hungry and

there was no food in the house. Even on days when Terence was not at Rosalind’s

house, he would call to tell her that he was hungry. Rosalind would then go over to

the house and find the children alone. Id. at 157–60.

      Often, the first thing Terence would want to do when he got to Rosalind’s house

was to wash his clothes. He never wanted to go back to Cynthia’s. Instead, he would

tell Rosalind and Michael that he wanted to stay with them. Terence would say about

his mother’s house, “That’s not right, the stuff they are doing,” and “I love my mama,

but she’s always doing messed up things and leaving us there alone.” Terence told

Rosalind he did not want to be around the kinds of things his mother was doing. Id.

      In light of Terence’s deplorable home situation, Rosalind and Michael invited

Terence to come live with them, which Terence readily accepted. At Rosalind and

Michael’s, Terence thrived. Rosalind had a solid job at MD Anderson and a son of her

own, who was eight years younger than Terence. He would soon have a half-sister, as

Rosalind gave birth to Michael’s child. Still, Terence was able to have his own room

at Rosalind’s house. Id.




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      Rosalind ran a tight ship. Terence had chores he was required to do, like

cutting the grass, cleaning up around the house, cleaning his room, and washing the

family car. If he skipped class, he would lose privileges. Id.

      Terence liked the stability of Rosalind and Michael’s home. He like to play with

his step-brother. Id. The family would do things together, like movie nights or trips

to places like Galveston. The family would also go out to eat, to the park, to other kids’

parties in the neighborhood, or barbecues at friends’ houses. During these trips,

Terence was happy and got along well with people. Terence told her that when he

was living with Cynthia, she had never taken the children anywhere. Id. at 157–60.

      Rosalind describes Terence during this time as “a good, sweet kid.” “He was

very loving, and he liked to play jokes.” She noted that after moving in with them, he

would smile more, was more talkative, and generally seemed happier. His grades and

behavior in school began to improve. Id.

      While Terence was living with Rosalind and Michael, Rosalind gave birth to

Terence’s half-sister. As Rosalind noted, Terence “loved her” and was “so excited.”

“He made her a big poster with himself, his dad, and [his stepbrother] Jamontrell on

it. He helped with diapers and feeding. He talked about her to everyone.” Terence

also grew close with his father, Michael, who had not been a significant part of

Terence’s life up until that point. Id.

          N. Terence’s father goes back to prison, leaving Terence back under
             Cynthia’s roof.

      Since Michael was sixteen, he had been a drug dealer, which was what got him

sent to prison when Terence was an infant. Unfortunately, after Terence moved in



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with him, Michael reoffended and was sent back to jail on another drug offense.

Terence was devastated. He became emotionally withdrawn and began to act out. He

also began using marijuana. Id.

      Things took a further turn for the worse when Rosalind divorced the now-

reincarcerated Michael. Due to the divorce and the arrival of Terence’s half-sister,

Rosalind decided Terence could not live in her house anymore. She sent Terence back

to live with Cynthia. Id.

      Terence did not fare well back at Cynthia’s. The move required him to switch

high schools. His behavior at school continued to deteriorate. Terence also began to

succumb to the culture of drugs and gangs that surrounded the Park Village

apartments. He began to use marijuana daily. 51 RR 9. He used other drugs, as well,

including Xanax. 22 SHRR 233. Terence and Torad joined the Bounty Hunter Bloods

gang. 13 SHRR 145.

      In February of 2004, when Terence was 15 and in ninth grade, he was caught

with Xanax at school. 22 SHR 233. Terence had obtained the pills from Cynthia’s

bathroom. 7 SHRR 27. He was sent to the Juvenile Justice Center and sentenced to

1-year of probation. He was reassigned to yet another high school. After that, Terence

was frequently absent from school. Cynthia had no idea where Terence was. On April

15, 2004, Terence was reported as a runaway. 22 SHRR 228.

          O. Shortly after returning to Cynthia’s house, Terence is arrested
             in connection with an aggravated robbery.

      On May 16, 2004, Terence was arrested in connection with an aggravated

robbery. The victim told police that as she exited her car, another car stopped near



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her, from which two young black men exited and approached her. A third man

remained in the car in the backseat. One of the two men who approached her had a

do-rag on his head. The other had a gun. The man with the do-rag demanded her

purse and bag. After she gave him the bag, the men got back in the car and left. 46

RR 13–19.

      After Terence was arrested, he was held in Fort Bend County Juvenile

Detention Center. He was held there for nearly 9 months while his case remained

pending. Neither Cynthia, nor any of the rest of the family, came to visit him. 25

SHRR 60. His mental health deteriorated rapidly. In October of 2004, he was placed

in a padded cell after he was found hitting his head against a wall. 23 SHRR 279, 300.

On November 1, 2004, he told a counselor “I feel like I want to kill myself. My life is

hell. Out in the free world my life is hell and it’s hell here in lock-up.” Id. at 223. He

reported having manufactured a shank to stab himself with. Id. at 182. He also

reported that he planned to stand on the sink and bust his head in. Id. Although he

remained on suicide watch during December of 2004 and January of 2005, he did not

receive any treatment other than counseling. Id. at 191; 24 SHRR 189.

      Terence was initially indicted for theft and charged as the gunman. However,

it was later determined that the gunman was someone named Dereck McGowan.

Ultimately, Terence did not plead guilty to being the gunman or to robbing the victim.

Rather, he pled guilty to solicitation to commit robbery on the ground that he

“request[ed], demand[ed], or attempt[ed] to induce Dereck McGowan to rob the




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victim.” 19 SHRR 101. Terence was sentenced a three-year determinant sentence in

the Texas Youth Commission (“TYC”) in February of 2005. He was 16 years old.

            P. Around the time Terence Left TYC, an investigation revealed
               that children like Terence had been subjected to cruel and
               inhumane treatment while under confinement within TYC.

         Ultimately, Terence was confined at TYC for 17 months, before being

transferred to the Texas Department of Criminal Justice (“TDCJ”) to serve the

remainder of his sentence on June 28, 2006. Terence was first sent to the Marlin Unit,

which was the general intake location, and then transferred to the Crockett facility

where he would remain for the duration of his time at TYC.

         Around the time Terence left TYC, it was revealed that child inmates like

Terence were subject to inhumane conditions and received virtually no rehabilitative

treatment. The conditions were so horrendous, that TYC was subsequently abolished

by the Texas Legislature. Will Harrell, the ombudsman appointed by Governor Rick

Perry to reform the juvenile justice system, testified at Terence’s writ hearing and

told a harrowing tale about the conditions at TYC and Terence’s specific experience

there.

         For years prior to 2007, incarcerated children and their families routinely

complained about the conditions in TYC. 5 SHRR 128–29; 13 SHRR 60. The

complaints related to, among other things, youth-on-youth and staff-on-youth

violence, inadequate medical and mental health care, gang violence, extortion by

gangs, an overreliance on seclusion and isolation for discipline, sexual abuse, poor




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food quality, inadequate education, and “a complete lack of rehabilitative

programming.” 13 SHRR 60.

             1. After an extensive investigation into the deplorable
                conditions in TYC, TYC was placed in a conservatorship, with
                monitoring by an ombudsmen.

      While the families had obtained some support for reform from the United

States Department of Justice and State Senator Juan Hinojosa, the reform movement

accelerated dramatically in 2007—a year after Terence left TYC—when a Texas

Ranger investigation began to reveal just how dysfunctional and deplorable the TYC

system had become. Id. at 60–61. The investigation revealed that the assistant

superintendent of a TYC facility in West Texas would bribe child inmates with offers

of candy, pornography, and early release to entice the youth to engage in sexual

conduct with him or with each other in front of him. 5 SHRR 130–31.

      The Ranger investigation, and other shocking revelations that followed it,

created a political firestorm. TYC leadership was before the Legislature on a weekly

basis. Id. at 132. Governor Perry exercised his constitutional authority, which had

almost never been invoked, to place TYC in conservatorship. Id. He removed the

board of directors, fired hundreds of TYC personnel, and appointed his chief of staff

as conservator. Id. at 132–33. The conservator, in turn, appointed Mr. Harrell as

ombudsman. Id. at 135–56. As ombudsman, Mr. Harrell was tasked with evaluating

individual complaints about TYC and also making broader recommendations to

reform the system. Id. at 136.




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      As ombudsman, Mr. Harrell was given 24/7 access to every part of every TYC

facility. Id. He would sometimes show up at 2 a.m. and spend days walking each

facility door to door. Id. He spent significant amounts of time in the security units.

Id. He also spoke confidentially with the youths confined at TYC, as well as with staff

whistleblowers. Id. at 136–37.

              2. The ombudsman, Will Harrell, uncovered many issues within
                 TYC, the most egregious being the overreliance on solitary
                 confinement.

      Through his review, Mr. Harrell uncovered numerous problems in TYC. There

was “a serious failure to provide education.” 5 SHRR 138. One of the biggest problems

was an overreliance on using isolation (i.e., solitary confinement) as a disciplinary

tool. Id. There were also serious violence issues. The gang intervention and

prevention program was inadequate. Id. The use of pepper spray by staff on youth

was “out of control.” Id.

      The staff and facilities were grossly inadequate for the number of youths TYC

housed. “It was not uncommon to see one staff in an open big dorm managing 20 or

more youths. The national standard is one to six.” Id. TYC was simply “oversaturated.”

Id. at 133.

              3. TYC utilized a now discredited program that relied heavily
                on rote memorization and disciplinary infractions called 225s.

      The “resocialization” program, which was subsequently discredited and

completely scrapped by the state, was an ineffective cookie-cutter regime imposed on

every youth. 5 SHRR 121, 143–44. It relied primarily on rote memorization and then

counting the number of “225s” each youth was issued. Id. at 144. A 225 was



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essentially a disciplinary action taken by the TYC staff against the youth. The

resocialization focused almost exclusively on the quantity of 225s a youth was issued,

not the degree of infraction or the underlying behavior. Id. at 173. Talking out of turn

would earn you a 225. Id. at 174. So would throwing a paperclip, shooting a rubber

band, talking while standing in line, talking in the lunch room, or even eating a cookie

in class. Id. In one instance, a youth was given a 225 for “gang activity” because the

staff overheard him speaking Mandarin to his grandmother. Id. at 236.

      Even more troublingly, youths would be issued 225s when they asked for help.

Self-referring to get out of the crowded and dangerous dorms earned you a 225. Id. at

174. If you expressed concern that you might harm yourself, you got a 225. Id.

Actually harming yourself or otherwise exhibiting suicidal behavior also meant you

got a 225. Id.

      The staff had “complete discretion on the spot” to issue a 225. 5 SHRR 175.

They received very little training in general and even less on the conduct issues 225s

had originally been meant to address. Id. at 175. Moreover, the staff “felt pressure to

issue 225s for minor disciplinary things so that their supervisor would see they were

busy at work paying attention.” Id. at 176.

      Ultimately, Terence ended up with a little more than 300 225s during his 17

months in TYC. Id. at 177. This actually put him in the “pretty low” to average range.

Id. Terence also had a surprisingly low number of 225s relating to altercations “given

the chaos that was constant in Texas Youth Commission facilities, particularly at

Crockett, and particularly in the dorms where he was.” Id. at 189. Crockett had “a




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violent atmosphere.” Id. “[V]iolence begets violence, and sometimes kids don’t really

have a choice.” Id.

       Leonard Cuculo’s office was in the same building as Harrell’s, who knew

Cuculo personally. Id. at 236. Cuculo’s job consisted of going to county courts and

testifying on behalf of TYC as to why a youth should be transferred to TDCJ. Id. The

file that he would have reviewed prior to Terence’s trial would have been limited to

Terence’s 225s, plus his psychological evaluations. Id. at 237.

       Many of the youth were frequently transferred among the dorms at a facility

and among the facilities themselves. Id. at 146. This made it impossible for them to

develop a real therapeutic relationship with their case workers, who were assigned

based on which dorm the youth occupied. Id. Moreover, the caseworkers were

undertrained, particularly when it came to mental health. Id. at 146–47. Their

training lasted less than one week, with only a half of a day dedicated to mental

health. Id. at 147. Texas law now requires over one hundred hours of training. Id. at

148. Moreover, there was no follow-up or ongoing training once a caseworker started

working at TYC. Id. at 148–49.

       The rest of the resocialization program “was merely memorization and

repetition of certain terms,” called “thinking errors.” Id. at 149. If you could memorize

50 or 60 “thinking errors” then you would advance. Id. Youth with lower IQs or other

mental health issues often couldn’t accomplish this. Id. “Smarter kids” would

nonetheless advance if their behavior did not reflect having internalized the “thinking

errors.” Id.




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       As later acknowledged by the Texas Legislature and TYC itself, the

resocialization program was completely debunked. Id. at 200. In fact, it’s “exactly

what you’re not supposed to do to youth.” Id. “It’s destructive.” Id.

       Indeed, one of the most perverse aspects of TYC resocialization program was

that the youth who actually exhibited improved behavior were often not released,

while those that behaved poorly were more likely to “advance” through the program.

5 SHRR 150. The reason had nothing to do with the interest of the child, but rather

the interest of TYC personnel. “[T]he positive youth would stay longer because they

were - - they were a positive influence on a dorm or a particular environment. The

campus simply didn’t want the kid to leave because they were active - - they were a

benefit.” Id. On the other hand, “the more problematic youth would be would be

advanced to get rid of them.” Id.

       The recidivism rate at TYC under the resocialization program was an

astonishing 60 percent, which was “way over the national average.” Id. at 151.

       The Marlin Unit, where Terence started off, had originally been an adult jail

and had never been intended to hold juveniles. Id. at 153. It was used as an

orientation and assessment unit. Id. at 153. Based on TYC’s assessment of a youth’s

mental health and education, the youth would then be placed in one of the other TYC

facilities. Id. at 153.

       Mr. Harrell visited the Marlin unit a few years after Terence had been there.

“It was a really horrible place.” Id. at 153. TYC had no safe housing policy. So, youth

were housed together with all types of offenders of various ages. Id. The dorm rooms




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were small and each contained about 20 bunk beds with a small common area. Id.

The rooms had no windows or natural light. Id. The rooms were dark and “really

noisy because there was echo.” Id.

             4. Many children in TYC self-referred to the security unit to
                escape the conditions of the general population dorms.

      The situation in the dorms was so bad, that many youth would “self-refer.” 5

H.C. 155–56. A self-referral is “when a youth has to request that staff remove them

from general population and place them in the security unit.” Id. at 156. “They seek

isolation to get away from the dorm.” Id.

      When Mr. Harrell visited the security unit, he was “deeply disturbed” by what

he saw. Id. at 154. The unit was “constantly full.” Id. “And it was so loud because of

the acoustics of the room and kids banging. But the guards would actually play

classical music so loud . . . both to overcome the noise of the kids banging on the - -

on the steel doors of the cells, but also to punish the kids for banging on their cells.”

Id. The Marlin isolation unit was “dark” and windowless” with “no natural light.” Id.

The youths were in cells with steel doors with a window that would open and close

from outside, a “bean slot” where food trays would be passed, concrete walls, a cement

block floor, a toilet, and a sleeping pad. Id. at 154–55. Staff generally did not observe

the youth in their cells, except sometimes if they were on suicide watch. Id. at 155.

      When in the isolation unit, the youths would get virtually no education. Id. at

244. Rather, “education” in the isolation unit consisted of “a teacher showing up

maybe once a day with a word problem or a math problem, that they slide through




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the bean slot.” Id. “And that’s it. And if a kid wants to do it they could, without any

help. But that’s school.” Id. at 244.

      Terence was given an initial screening at the Marlin unit. He was diagnosed

with “conduct disorder.” Id. at 157–58. Conduct disorder was “a meaningless

diagnosis” because it was given to everyone who had a criminal record and everyone

who was in TYC was there because they had been convicted of a crime. Id. at 158.

Terence was also placed in the standard “resocialization” program. Id.

             5. Terence was confined to the Crockett School, a facility
                designated for children with mental health issues and low
                IQs.

      Terence was placed in the Crockett State School. Like the Marlin unit, the

Crockett State School would be one of the first to be closed after the TYC scandal

broke. Crockett “was oriented towards youth with mental health needs . . . and youth

with low IQ.” 5 SHRR 160. Terence’s IQ was tested at 86. He was assigned to the

psychiatric dorm at Crockett. 41 SHRR 102.

             6. The Crockett School was one of the worst facilities
                ombudsman Harrell ever saw.

      Crockett was “an old facility” that had “a poor design.” 5 SHRR 160.

Specifically, “[i]t allowed for just a remarkable array of what’s called black spots or

areas that can’t be seen, that staff can’t view youth, which is where a lot of the

violence and dangerous situations occur.” Id. Indeed, Crockett was one of the most

dangerous and violent facilities that Harrell ever saw. Id. “[I]t was just a violent ‘Lord

of the Flies’ scenario.” Id. at 189. There was a “brutal pecking order” in the dorms. Id.




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at 204–05. Food extortion was common. Id. “[S]ometimes you had to fight to get by”

in places like Crockett. Id. at 189. Crockett was simply “a savage environment.” Id.

      Crockett was chronically understaffed. Id. at 160. The staff were often very

young themselves. Id. Indeed, many of the correctional officers were as young as 18

and had not graduated from high school. Id. at 176. All that was required to become

a correctional officer at Crockett was a G.E.D. Id. Moreover, many of the correctional

officers were from “the very community that people like Mr. Andrus would come from.”

Id. at 161. The correctional officers frequently had gang affiliations themselves, often

the same gangs the incarcerated youth belonged to. Id. Indeed, Crockett was

“notorious” for having gang members as correctional officers. Id. Perhaps

unsurprisingly, more youths would leave TYC with a gang affiliation than enter it.

Id. at 244.

      Additionally, while the staff were told that they should try to deescalate violent

situations, they received no training on how to do so. Id. at 189–90. Rather, they were

“trained in physical altercations.” Id. The prevailing attitude was “we versus they.”

Id. at 190. “[T]hey acted like prison guards.” Id.

              7. Sexual abuse was rampant at the Crockett School.

      Sexual abuse was also a major problem at Crockett; both “[s]taff on youth” and

“youth on youth.” 5 SHRR 199. Indeed, a number of staff were terminated and

criminally prosecuted for inappropriate sexual contact with youth at Crockett. Id.




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             8. Though the Crockett School was designated a facility for
                children with mental health issues, its mental health care was
                grossly inadequate.

      The mental health care available at Crockett was grossly insufficient. 5 SHRR

161. The facility lacked mental health professionals and instead contracted out to

local providers. Id. The “local” providers, however, often lived far away. Id.. Moreover,

they prioritized their private, paying clientele. Id. The TYC youths were treated as

“secondary” by the local providers, who would often simply ignore calls from Crockett.

Id. As a result, there was not an “ongoing relationship” between a mental health

professional and the youth. Id. at 162. Without real observation of the youth by a

mental health professional, there also were not adequate assessments of mental

health issues necessary for treatment and prescriptions. Id.

      This is not to say that youth were not prescribed medications in Crockett. They

were, but the prescriptions were not based on clinically appropriate observation and

criteria. Rather, Crockett used powerful anti-psychotic and psychotropic drugs on the

youth as a form of “medical restraints.” Id. at 162. That is, the drugs would be

prescribed “to slow down and to pacify the youth population as a matter of social

control,” rather than to treat actual mental health conditions. Id.

      To make matters worse, after administering these powerful drugs to the youth,

the staff at Crockett would abruptly discontinue the medication. Id. at 163. “[A]t

Crockett in particular there was a real problem with cold - - cold turkey

discontinuation of medication.” Id. Such “cold turkey discontinuation” could be




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extremely hazardous to the youth, even resulting in death. Id. “You’re supposed to

taper it down.” Id.

      Part of the reason for this was that if a youth even once refused to take

prescribed medication, the medication would immediately be cut off. Id. at 163. Youth,

of course, had legitimate reasons to be hesitant to take the medication. 5 SHRR 163.

In many cases, “there’s side effects that kids didn’t like.” Id. For example, Seroquel,

an antipsychotic used to treat schizophrenia, causes weight gain. Id. Additionally,

Seroquel became a commodity at Crockett. Id. at 163–64. The youths who were

prescribed Seroquel would often be exploited by other youths who want to get their

hands on it. Id. To avoid the exploitation, some youths would simply refuse the

medication. Id.

             9. Terence was prescribed multiple anti-psychotics while at the
                Crockett School.

      During his time at Crockett, Terence was prescribed Seroquel, Concerta (a

nervous system stimulant used to treat ADHD), Clonidine (an anti-hypertensive also

used for ADHD), Strattera (another ADHD medication), Adderall (an amphetamine

used to treat ADHD), and Prozac (an anti-depressant), among others. 41 SHRR 7–8

(demonstrative). In many cases, the medications he was prescribed were abruptly

discontinued or changed. Id. The prescriptions were often unsupported by a valid

diagnosis and included drugs that were not meant to be taken together. 1 SHCR 152–

60.




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             10. The Crockett School, like the Marlin Unit, utilized solitary
                 confinement in the form of a security unit, where children
                 either self-referred or were relegated to as punishment.

      Just as in the Marlin unit, Crockett had a security unit where the youths were

kept in solitary confinement. 5 SHRR 167. The Crockett security unit, like the Marlin

one, was “dark and loud.” Id. It smelled horrible. Id. “It was not a place you’d want -

- anybody would want to be.” Id.

      The youths could end up in the security unit in two ways. The first was if they

were placed in the “behavioral management program.” Id. at 166–67. Despite its

name, the behavioral management program consisted of punishing youth by placing

them in long-term isolation. Id. at 167. The youth also could “self-refer” into the

security unit to get out of the dangerous, overcrowded dorms. Id.

      Almost immediately after being placed in the psychiatric dorm in Crockett,

Terence began to self-refer to the security unit. In the first several months, he asked

to be sent to isolation every few days. Id. at 168; 41 SHRR 7–8. Among other reasons,

Terence self-referred because he “had family problems and needed time to himself,”

“was feeling depressed and needed time alone to himself,” “[wa]s depressed and

cannot maintain on the dorm right now” and “due to not hearing from his family since

the hurricane (Rita).” 41 SHRR 12–15. Although one “would think that there would

have been a more appropriate, more holistic intervention” when a youth consistently

asks to be placed in isolation, that was not the response. 5 SHRR 168. Instead, the

response was “[t]o place him in security, isolation, lock him up in a dark room all by

himself.” Id. at 179.




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             11. Terence self-referred to the security unit frequently.

      It total, Terence self-referred 38 times. 5 SHRR 181. Such frequent self-

referrals indicate that Terence was not high in the “brutal pecking order” that

predominated in the dorms. Id. at 232. It also indicated that Terence was not some

kind of gang leader at Crockett. Id. at 242. “[Y]ou’re not going to find a Crips leader

or Bloods leader, excuse me, on self-referral in the way he was.” Id.

             12. Terence was placed in a behavioral management program
                 that was essentially solitary confinement for disruptive, non-
                 violent behavior.

      Terence was also placed in the behavior management program. Id. at 168–69.

The first time was in August of 2005. Id. at 168. He was placed in the program due

to chronic disruption of a non-violent nature; things like “talking out of turn, not

standing in line, talking after lights are out, things like that.” Id. at 169. Pursuant to

the behavior management program, Terence was punished for these infractions by

being placed in isolation for three months. Id. He was placed in the behavior

management program again in April of 2006. Id. at 170. Placing youths in isolation

for 90 days due to “chronic disruption” “would horrify most current professionals in

our justice field today, but it was not unusual at the Texas Youth Commission at the

time.” Id. at 169.

             13. While in the behavior management program, Terence
                 mentally unraveled and began exhibiting suicidal behavior.

      While in isolation on the behavior management program, Terence exhibited

suicidal behavior and began “decompensating, becoming unhinged.” 5 SHRR 170.

“Ninety days in a dark, damp room with no communication, school, will do things.”



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Id. Indeed, Terence repeatedly pleaded for help due to suicidal thoughts. On April 15,

2005, he wrote a letter to the Assistant Principal stating that he was hearing voices

telling him to do bad things and that he needed help. 41 SHRR 17. In response, he

was issued a 225 and sent to isolation. Id. On April 18, 2006, while in isolation under

the behavior management program, Terence told TYC staff that “he felt like killing

himself” and asked that his caseworker be told that “he doesn’t want to kill himself

but is having thoughts about it.” Id. at 18. Terence was issued a 225. On February 13,

2006, while en route to isolation, Terence began violently hitting his head against the

wall. Id. at 20. He was placed in manual restraints and issued a 225. Id.

      Sadly, injury-to-self citations were “more common than you can imagine” at

TYC. 5 SHRR 187. Part of the problem was that there are “not many ways to express

your pain and remorse” for having ended up at TYC. Id. It was also “a reflection of

trauma that kids have experience in carrying with them, [as well as] the trauma they

experience on a daily basis in these facilities.” Id.

      Terence spent his last few months at TYC in isolation, both through self-

referrals and the behavior management program. Id. at 239. Terence began to exhibit

increasingly erratic and bizarre behavior. Id. “He’s self-referring to get off the dorm.

He’s – he’s lost all hope. He’s coming unhinged.” Id. at 240. This was unsurprising to

Mr. Harrell. Id. at 239. That was because:

      There’s no surprise at all, especially in the diagnosis that’s in the record.
      He’s ADHD. Any any – the indication – the associations that they made
      by issuing these medications are ones that would suggest the last place
      for someone like Mr. Andrus is in an isolation environment. They will
      decompensate and become compulsive and incidents like this are bound
      to surface.



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Id. at 241.

      Terence was transferred from TYC to TDCJ after just eighteen months due to

his purported failure to “advance” in TYC’s program. Id. at 190–91. Crockett had

attempted to transfer him earlier, but the request was denied on the ground that he

had been given medical prescriptions without any appropriate diagnosis Id. at 190.

Ultimately, TYC “failed Mr. Andrus.” Mr. Harrell concluded that “it’s unfair that he

was held accountable and transferred to TDCJ for not advancing in a program that’s

debunked, discredited, and thrown out the window.” Id. at 191.

      During Terence’s entire time in TYC, Cynthia did not come to visit him once.

          Q. After being released from TDCJ, Terence attempted to put his
             life together by moving in with Senecca Booker’s brother, Sean
             and getting a job with him.

      Terence was in TDCJ for less than two months before being released. Terence

did not go back to living with Cynthia. Instead, he was offered a place to live by Sean

Gilbow and his wife, Phyllis Garner. Sean was Senecca Booker’s brother. Through

Senecca, Sean had known Terence from the time he was a child. Indeed, they

developed a strong bond after Senecca’s death. When Terence was a child, he talked

a lot with Sean about how Terence “really wanted a father figure.” 13 SHRR 163.

Terence even told Sean he wished Sean were his father. 6 SHRR 42–43. He began to

call Sean “Dad,” which Sean was happy for him to do. Id. Sean and Phyllis had always

thought Terence was a good kid, and felt bad that he had been raised in such a

deplorable environment. 13 SHRR 165.




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         R. Terence excelled during his time living and working with Sean.

      Terence did extremely well during his time with Sean and Phyllis. “Terence

was a good houseguest. He was respectful, kind, quiet, and followed the rules of the

house. Terence minded his curfew and was always home by ten or eleven at night.”

13 SHRR 169. Sean and Phyllis had a daughter, who was a teenager at the time. Id.

at 165. She remembers Terence fondly. “When he lived with us, he was totally

incorporated into the family. . . . [W]e never had any problems with him. . . . He was

almost always home. . . . A day in the life living with Terence was really normal. We

would watch television, mostly music videos. Terence would take part in meal times

where we usually just sat around the television eating.” Id. at 172.

      As Sean Gilbow testified, “We all got along. Terence was very respectful. He

liked to cook, and he would clean up after himself.” Id. at 165. Terence and Sean grew

to be very close. As his daughter testified: “[Terence] was extremely close to Sean,

and he really looked up to him. Terence would spend a lot of time with him, and they

would go to the mall, or they would go out to eat, or they would go play basketball.

They would have their own guy time where they would have guy talks.” Id. at 172.

         S. Terence also started a relationship with a woman whose child
            he took on as his own.

      Terence also developed a relationship with a woman named Charaya Williams.

41 SHRR 100. Charaya had a six-month old daughter named Kemora. Id. Kemora’s

father had abandoned Kemora and Charaya. Id. Terence stepped into the role of a

father figure. Id. As Charaya testified, “Terence loved my daughter and was very good

to her. Even though he was not her father, she called him ‘Daddy.’ Kemora took a



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long time to start crawling, and Terence used to get down on the floor with her and

try to help her learn to crawl. They had a special bond.” Id.

          T. Just as had happened with his father years earlier, Sean was
             arrested and sent back to prison.

      Terence got a job working at the Houston Ship Channel with Sean. 6 SHRR 97.

Sean would drive Terence to work every day. Id. Sean, however, like his brother

Senecca, had previously been a crack dealer and had a substantial criminal record.

Id. About six months after Terence moved in with Sean and Phyllis, Sean re-offended

and went back to prison on a drug charge. Id.

      Losing Sean to prison, just as he had earlier lost his biological father, Michael,

was devastating for Terence. 13 SHRR 169. At the same time, Terence also lost his

job. There was no public transportation to the ship channel and, without Sean,

Terence could not get to work. 6 SHRR 97. Phyllis tried to get Terence a job at her

work, but his criminal record made that impossible. 13 SHRR 169. Although Terence

applied to many jobs, including working at Jack-In-The-Box and McDonald’s, his

criminal record got in the way. 6 SHRR 98.

          U. Terence found a job on an offshore oil rig, but lost that job after
             fighting with racist co-worker.

      Eventually, however, Terence found work on an offshore oil rig in the Gulf of

Mexico. 13 SHRR 169. Terence was very excited to start a new job. Id. Torad came

with Terence and worked there, too. Id. at 146. Terence was very happy with the job.

Id. However, he was harassed by a racist co-worker, who called Terence a “nigger.”

Id. A fight broke out and Terence was fired. Id. Torad left, too. Id.




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      After losing his job on the oil rig, Terence ended up in the worst possible place

for him: Cynthia’s house. Id. According to Charaya, when Terence came home from

the rig, he “seemed different.” 41 SHRR 100. “He was skinny, and he was depressed.

I would also say he seemed beaten down. He could not find another job and I could

see that that took a toll on him and really bothered him.” Id.

      Terence desperately tried to find work to help Charaya and Kemora. Id. at 101.

“He used to wake up at four in the morning every day to go to the labor center to try

to get work. The labor center gave out work to the people who arrived earliest.” Id.

When he couldn’t find work, “Terence used to donate blood plasma to get money

because he was so desperate to provide for us.” Id.

          V. Finding no meaningful employment to support his girlfriend
             and her child, Terence turned to drugs to deal with his
             depression.

      With no economic opportunities and once again surrounded by drugs and crime

at Cynthia’s house, Terence approached his problems that same way TYC had: with

drugs. Terence began using PCP, ecstasy, and cocaine. 41 SHRR 101. He lost over

fifty pounds. Id. As Charaya testified, “It was as if he gave up.” Id.

      Although Terence had escaped the violence of TYC, violence continued to follow

him in his old neighborhood. In 2007, he and Torad were attacked in gang-related

violence as they walked down the street. Although Terence was unharmed, the rival

gang members shot Torad at close range. Torad was rushed to the hospital where he

underwent multiple surgeries to save his life. 6 SHRR 47; 13 SHRR 146.




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      The following year, Terence was attacked in the apartment complex where he

was living. Exh. 22 at 9. The attackers believed Terence had some role in one of their

brother’s recent arrests. Id. When Terence resisted the attack, one of them pulled out

a gun and pointed it directly at Terence. Id. Terence was able to exit the situation

without being further harmed, but he became so concerned for his own safety that he

made the fateful choice to acquire a gun of his own. Id.

      Not long afterward, Terence and Torad were snorting coke and taking other

drugs when Terence decided to “go get a car.” Id. Less than an hour later, the

underlying offense occurred.

         W. Dr. Scott Hammel testified at the state writ hearing regarding
            the impact Terence’s adverse childhood experiences had on his
            neurological, emotional, and social development.

      The final applicant’s witness at the state writ hearing was Dr. Scott Hammel.

Dr. Hammel is a clinical psychologist and neuropsychologist. 6 SHRR 118–19. He had

extensive experience with TYC, having worked there fulltime for several years as a

psychologist. Id. at 123. During his time at TYC, he worked in the Giddings unit—

the one which Mr. Harrell said was the only well-run facility at TYC—which housed

youth who were capital offenders. Id. at 124–25. Indeed, during Dr. Hammel’s time

at Giddings, the facility earned a national reputation for its treatment program,

which had a recidivism rate well below the national average. Id. at 123–125.

      Dr. Hammel provided an assessment of Terence’s individual and family history

from the perspective of a trained psychologist. To do so, it was important for him to

gather information about Terence’s biological, social, emotional, and psychological




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history. Id. at 128–29. In conducting his investigation of Terence’s social history, Dr.

Hammel reviewed thousands of pages of records from Terence’s 20-year life history

before the murders. He interviewed multiple members of Terence’s family, reviewed

the testimony of others who knew Terence well during his childhood, and visited

Terence’s childhood home in Third Ward. 6 SHRR 132–51, 156–57; 22 SHRR 203–04.

Dr. Hammel also interviewed Terence on three occasions. Id.

      Dr. Hammel explained the psychological concept of adverse childhood

experiences or “ACEs.” Examples of ACEs include abuse, neglect, and household

dysfunction. ACEs are important because they are predictive of long-term problems

in a subject’s psychological, physical, and emotional development. Indeed, there is a

demonstrated correlation between the number and intensity of ACEs a person

experiences and the risks of mental illness, social problems and incarceration.

Because of this strong correlation, ACEs have been widely studied to assess the risks

and protective factors associated with social problems and the resulting financial,

legal, and emotional costs. 6 SHRR 152–53. Dr. Hammel identified several key

scholarly articles and public documents concerning ACEs that were readily available

well before Terence was arrested in 2009. Id. at 153–55; 39 SHRR 145–222; 40 SHRR

6–251.

      The mirror-image or ACEs are known as resiliencies, which are characteristics

that enable an individual to withstand adverse childhood experiences. Resiliencies

includes both factors that may be intrinsic to a particular person as well as factors




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that come from the presences of supportive individuals in that person’s life. 6 SHRR

191.

       ACEs are also connected to trauma, a clinically significant term defined in the

DSM-V (the Diagnostic and Statistical Manual used by mental health professionals

for assessing mental disorders). A person experiences trauma when he has “an

experience that is outside the normal limits of human functions and in which the

person generally feels that their life has been threatened or their wellbeing has been

seriously threatened.” Id. at 165–66. Trauma can consist of a single event or, more

often, can be the result of long-term exposure to abuse or neglect. Id.

       Trauma affects neurological, emotional, and social development. 7 SHRR 45.

Exposure to violence and early trauma especially impedes emotional development,

making it harder for the individual to learn “to self-soothe and modulate their own

emotions” in response to stressful circumstances.” Id. at 25. Dr. Hammel explained

that “the expectation in normal development is that the individual increasingly

learns to self-soothe and modulate and manage their emotions.” Id. Further, he

testified that:

       [W]hen there’s a history of trauma that process gets disrupted and often
       people experience emotions as confusing and overwhelming, [and] are
       unable to identify specific emotional states in response to even normal
       human interactions. And, in fact, then their emotions become a liability
       rather than a source of information that they could use to understand
       themselves and the world around them more effectively.

Id.

       Traumatic events induce hyper-vigilance and hyper-arousal in the form of a

physiological “fight-or-flight” reaction. The person’s body produces an excessive



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amount of adrenaline, “heightening reactions, and shifting cognition from the high

order parts of the brain to the survival part of the brain and the lower portions of the

brain.” That neurological response diminishes a person’s ability to reason. 6 SHRR

166–67; 7 SHRR 25.

      Traumatized children “often act inwardly on themselves when they feel

overwhelmed and/or they act outwardly.” 7 SHRR 26. As a result, they may have

external behavior problems or they may self-harm. Id. “Females tend to act more on

themselves. Males tend to act more externally.” Id.

      It is common for a person who has endured trauma to seek ways to self-soothe,

for instance, by abusing substances that dampen the nervous system—such as

marijuana, alcohol, Xanax, and promethazine. Id. at 27. This kind of self-medication

is, of course, only a short-term solution. When the drugs wear off, the person feels

worse, creating a cycle that further affects brain chemistry, perception, and judgment.

Id. at 28–29, 97.

      Terence experienced clinically significant trauma throughout his life, including

emotional neglect, physical abuse, parental substance abuse, food insecurity, the

incarceration of parental figures, the murders of adults close to his family, domestic

violence, a single parent household, exposure to violence, exposure to mental illness,

and the trauma of being thrust at a young age into the parental role, caring for

siblings absent a parent’s guidance.

      Being thrust into the parental role while a small child causes an individual to

adopt “a stance of excessive self-sufficiency,” and feel that his survival depends on




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accepting that he cannot trust anyone. 6 SHRR 168. “Young children are not

emotionally equipped to meet the emotional needs of their younger siblings. And so

while they’re trying their best to make everyone happy and do the right thing, they

are necessarily going to fail in their efforts.” Id. at 183.

       Cynthia’s drug abuse and drug dealing, as well as her choice of partners,

normalized drugs and crime for Terence. Id. at 211, 221–24. Her choice of drug

dealers and other negative role models as partners also underscores just how

unstable his home was throughout his childhood. Id.

       The sexual abuse that Tafarrah—Terence’s half-sister—endured at a very

young age at the hands of her biological father also likely damaged Terence, even if

he was not aware of the details of precisely what happened. Id. at 187–89, 217–18.

Indeed, Terence and his extended family were rampant with trauma-related risk

factors, which also adversely affected Terence. Id. at 168–69, 171–75, 177.

       Dr. Hammel testified that it was common for the youths in TYC to underreport

mental health problems. 7 SHRR 146. The youths did so because of the brutal

environment at TYC, where showing any kind of weakness could lead to exploitation

and victimization. Id.

       Dr. Hammel also reviewed a psychiatric assessment conducted by Dr. Julie

Alonso-Katzowitz regarding TYC’s use of psychotropic drugs on Terence. Dr. Hammel

confirmed that, as Dr. Alonso-Katzowtiz found, TYC records show that Terence was

given a variety of psychotropic drugs, including Seroquel, that did not correspond to

any of the diagnoses he received. For example, Seroquel is an antipsychotic used to




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treat bipolar disorder. But Terence never received a diagnosis of bipolar disorder.

Moreover, if he had been diagnosed as bipolar, then he should not have been

prescribed Prozac, which can have adverse side effects including mania, aggression,

and psychosis. 6 SHRR 158–63; 1 SHCR 152–60.

       Additionally, Terence’s medications were frequently changed and cutoff in a

way that could itself have numerous adverse consequences. The effects of the frequent

changes to and abrupt discontinuations of his mediations helped explain much of his

behavior while in TYC. Indeed, even TYC’s central administration recognized that

Terence was being prescribed medications without any appropriate diagnosis. 6

SHRR 158–63; 1 SHCR 152–60.

       In Dr. Hammel’s opinion, Terence likely suffers from a long-standing mood

disorder that has never been properly diagnosed or treated. The term “mood disorder”

is a bit of a misnomer in that mood disorder is both a well-defined and extremely

serious mental health affliction. The DSM defines mood disorder as “a biological

disruption in mood functions that results in clinical levels of depression or anxiety or

mania.” 7 SHRR 71–72. “[I]n order to get a diagnosis of mood disorder, you have to

have clinically significant levels of depression or clinically significant levels of anxiety

that are not just outside the norm but are causing substantial impairment in

functioning.” Id. at 72.

       Dr. Hammel emphasized that the kind of analysis he performed is not about

making excuses or arguing for biological or cultural destiny. Rather, his point was to

explain how exposure to certain kinds of traumatic events in childhood increases the




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probability that an individual will engage in more destructive behaviors including

substance abuse as a means to self-medicate. 6 SHRR 193. Moreover, when the

process of self-medicating through substance abuse suddenly ceases, it can take up

to a year for a person’s neurobiology to normalize. In the interim, the person can

experience psychotic breaks and serious depression. 7 SHRR 29.

      Terence’s behavior while incarcerated awaiting trial may have resulted from a

sudden withdrawal following long-term substance abuse, a common response to long-

term trauma, and a problem TYC recognized but did not treat. That abrupt

withdrawal left him completely overwhelmed by emotions that he had tried to

manage by abusing mood-altering substances. Id. at 28–30.

      Dr. Hammel also rebutted the State’s assertion at Terence’s trial that he was

a “sociopath.” 51 RR 20, 27; 52 RR 50. The lay term “sociopath” is, in the scientific

community, understood as a synonym for a person with psychopathy, which is

completely different from someone who is a victim of childhood trauma. 7 SHRR 36–

40. Trauma victims have a delay in their neurological, emotional, and social

development that “affects their ability to manage their emotions and make decisions

and cope in a world.” Id. at 39. By contrast, “individuals with psychopathy don’t

necessarily have a history of trauma and tend to exhibit sadism, pleasure harming

others, in addition to criminal behavior.” Id.

          Mr. Crowley celebrated the CCA’s refusal to adopt the trial court’s
          recommendation of relief with the State by emailing the prosecutor
          that “we were right.”

      Long before any ineffective assistance of counsel claims were raised in Mr.

Andrus’s state habeas application, he began conferring with the State about possible


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issues that may be raised. At the state post-conviction hearing, he admitted that he

conferred with the State regarding these matters absent any court order to do so. 1

SHRR 147–66. Yet, Mr. Crowley did not stop there. He allowed the State to draft an

affidavit for him, in which the State offered up various “strategic” reasons on behalf

of Mr. Crowley, including suggesting ways to justify his failure to present mitigating

evidence. 6 Id.; see also 34 SHRR 202–21. He admitted that he did not have personal

knowledge of some of the “facts” in his affidavit. 1 SHRR 161. He also told the court

he expected to be paid for his time testifying. 3 SHRR 254.

      After a lengthy evidentiary hearing was held, the trial court entered detailed

findings of fact and conclusions of law on this claim, recommending that relief be

granted in the form of a new punishment phase. 1 Sup. SHCR 6–18. However, on

February 13, 2019, the CCA held that Mr. Andrus “fail[ed] to meet his burden under

Strickland” and denied relief on the merits without further explanation. Ex parte

Andrus, 2018 WL 622783 at *2. Further, it rejected all findings of fact and conclusions

of law entered by the trial court judge. Id. at *3. It did not explain its wholesale

rejection of the trial court’s findings of fact and conclusions of law.

      Tellingly, when Mr. Crowley learned from the prosecutors that the CCA had

wiped out the trial court’s recommendation to grant relief, he responded: “I knew we

were right.” Exh. 7.




      6   Ms. Olvera also admitted that the State prepared the first draft of her affidavit. 3 SHRR 6.



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           STATEMENT REGARDING PROCEDURAL DEFENSES

      Federal habeas petitioners are usually, but not always, required to exhaust

available state court remedies to obtain relief. 28 U.S.C. § 2254(b)(1). All of the claims

in Mr. Andrus’s petition are either exhausted or fall within an exception to the

exhaustion requirement.

      In federal habeas proceedings, the respondent must plead procedural defenses

under Rule 5(b) of the Rules Governing Section 2254 Cases in the United States

District Courts. Under Rule 5(b), the respondent, by way of the Answer, “must

address the allegations in the petition. In addition, [the answer] must state whether

any claim in the petition is barred by a failure to exhaust state remedies, a procedural

bar, non-retroactivity, or a statute of limitations.” Mr. Andrus explicitly reserves the

right to reply to any potential procedural defenses raised by the Director regarding

every claim in this petition.

                                CLAIMS FOR RELIEF

Claim 1         Mr. Andrus’s Sixth Amendment right to counsel under United
                States v. Cronic was violated when trial counsel decided to
                concede Mr. Andrus’s guilt without consulting him.

      During closing argument, trial counsel made a complete concession that Mr.

Andrus was guilty of capital murder. 45 RR 16–18. Trial counsel admitted Mr.

Andrus’s guilt without ever consulting with him about whether he agreed with the

decision to concede guilt. 2 SHRR 63–64. In so doing, trial counsel entirely failed to

subject the State’s case to meaningful adversarial testing in violation of Mr. Andrus’s

Sixth Amendment rights. United States v. Cronic, 466 U.S. 648, 659 (1984). This




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claim was not presented to the state courts but any default can be excused by state

habeas counsel’s failure to raise this substantial claim. Trevino v. Thaler, 569 U.S.

413 (2013). This violation entitles Mr. Andrus to a new trial without needing to show

harm.

        A.   Trial counsel entirely failed to subject the State’s case to
             meaningful adversarial testing.

        When trial counsel completely concedes all charged elements without

consulting with the client, a Cronic violation has occurred. See 466 U.S. at 656–59.

Trial counsel conceded Mr. Andrus’s guilt in closing argument, and that the State

had proven all elements of the capital murder charge. 45 RR 16–18. Incredibly, he

did so without consulting with his client regarding this critical decision. 2 SHRR 63–

64. Under Cronic, no prejudice or harm assessment is required because this violation

is structural error. 466 U.S. at 658

        In Cronic, the Supreme Court held that some Sixth Amendment right-to-

counsel violations “are so likely to prejudice the accused” that a specific showing of

harm is unnecessary. Id. at 658. This can occur even when the defendant has counsel,

because when “counsel entirely fails to subject the prosecution’s case to meaningful

adversarial testing, then there has been a denial of Sixth Amendment rights that

makes the adversary process itself presumptively unreliable.” Id. at 659. The Sixth

Amendment requires “that the accused have ‘counsel acting in the role of an

advocate.’” Id. at 656 (quoting Anders v. California, 386 U.S. 738, 743 (1967)). This

requires “the prosecution’s case to survive the crucible of meaningful adversarial

testing,” or a Sixth Amendment violation has occurred. Id.



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      A Cronic violation occurs only when the attorney’s failure is “complete.” Bell v.

Cone, 535 U.S. 685, 696–97 (2002); see also United States v. Holman, 314 F.3d 837,

839 n.1 (7th Cir. 2002) (“Cronic only applies if counsel fails to contest any portion of

the prosecution’s case; if counsel mounts a partial defense, Strickland is the more

appropriate test.”) (emphasis in original). When trial counsel argues to the jury “that

it is his view of the evidence that there is no reasonable doubt regarding the only

factual issues that are in dispute,” counsel “has utterly failed to ‘subject the

prosecution’s case to meaningful adversarial testing.’” United States v. Swanson, 943

F.2d 1070, 1074 (9th Cir. 1991) (quoting Cronic, 466 U.S. at 659). The Tenth Circuit

has held that “an attorney who adopts and acts upon a belief that his client should be

convicted ‘fail[s] to function in any meaningful sense as the Government’s

adversary.’” Osborn v. Shillinger, 861 F.2d 612, 625 (10th Cir. 1988), abrogated on

other grounds by Colman v. Thompson, 501 U.S. 722 (1991) (quoting Cronic, 466 U.S.

at 666). This is because “[a] defense attorney who abandons his duty of loyalty to his

client and effectively joins the state in an effort to attain a conviction . . . . [and]

represents the defendant only through a tenuous and unacceptable legal fiction.” Id.

at 629 (internal quotation omitted).

      However, Cronic does not apply if trial counsel’s failure is not complete, where

counsel contests an element of the charged offense. If trial counsel concedes that their

client commits murder, but not capital murder, Cronic is not applicable. Haynes v.

Cain, 298 F.3d 375, 381–82 (5th Cir. 2002) (en banc). Similarly, if trial counsel argues

that the defendant lacked the culpable mental state to commit capital murder, Cronic




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does not apply. Barbee v. Davis, 728 F. App’x 259, 264 (5th Cir. 2018). In these

scenarios, the familiar two-prong test of Strickland v. Washington, 466 U.S. 668

(1984) applies and the petitioner must establish prejudice. None of these scenarios

apply in this instance.

      Trial counsel cannot make a complete concession of their client’s guilt without

consulting them. See Wiley v. Sanders, 647 F.2d 642, 650 (6th Cir. 1981) (reversing a

conviction when trial counsel conceded their client’s guilt without consulting the

client). In Florida v. Nixon, 543 U.S. 175 (2004), trial counsel told their client on

multiple occasions he intended to concede guilt; the client was unresponsive and did

not protest or approve of the strategy. Id. at 181. The Supreme Court held that even

a full concession of guilt does not automatically mean that “counsel has entirely failed

to function as the client’s advocate,” if counsel has informed the client of the decision

to concede. Id. at 189–91. Yet, the Supreme Court explained that “[a]n attorney

undoubtedly has a duty to consult with the client regarding ‘important decisions,’

including questions of overarching defense strategy.” Id. at 187 (citing Strickland,

466 U.S. at 688). And “certain decisions regarding the exercise or waiver of basic trial

rights are of such moment that they cannot be made for the defendant by a surrogate.”

Id. The court explained that trial counsel was “obliged” to inform the client of his

strategy to concede guilt, and did so. Id. at 189. Nixon stands for the proposition that,

while trial counsel does not necessarily need explicit consent to concede guilt, they

must at least inform the defendant of that plan.




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       In this instance, Mr. Andrus received no meaningful advocacy at the

guilt/innocence phase of trial. Trial counsel offered no opening statement, conducted

extremely limited cross examination of the State’s witnesses, called no witnesses for

the defense, made no objections to the jury charge, and offered a complete concession

of all charged elements in a closing argument that takes up less than three pages of

the transcript. 38 RR 38; 44 RR 4; 45 RR at 15–18.

       In light of trial counsel’s wholesale failure to mount any defense, the State

began its closing argument by asking “[l]adies and gentlemen, you have to be thinking

to yourself right now, what are we doing? For three days of testimony, what’s the

issue?” 45 RR 7. Mr. Crowley then told the jury that “[y]ou’ve heard pretty

overwhelming evidence” of guilt, and that he was not intending to argue that Mr.

Andrus was “not guilty because he was drunk, he was on drugs, anything like that.”

Id. at 16. Mr. Crowley thought then that the jurors “might ask, why did you not just

plead guilty?” 7 He implored the jury to “[l]ook at the whole case” and the statement

from Mr. Andrus, which, “even under those facts . . . it still established their

elements.” Id. In final summation, the State repeatedly commended Mr. Crowley for

conceding Mr. Andrus’s guilt. “Thank you, Mr. Crowley. I appreciate your comments.



        7 Mr. Crowley operated under a significant misunderstanding of the law. He told the jury that

“under the law, certain pretrial matters were raised that if we plead guilty, then we can’t preserve
that error to later take up on appeal.” Trial counsel did not understand the governing legal principles
correctly. “An attorney’s ignorance of a point of law that is fundamental to his case combined with his
failure to perform basic research on that point is a quintessential example of unreasonable
performance under Strickland.” Hinton v. Alabama, 571 U.S. 263, 274 (2014). Texas law permits a
defendant to “appeal rulings on written, pre-trial motions after a plea of guilty[.]” Young v. State, 8
S.W.3d 656, 666 (Tex. Crim. App. 2000). Thus, Mr. Andrus would have been able to appeal the ruling
on the suppression motion, even had he pled guilty, despite trial counsel’s subjective—and more
importantly, incorrect—belief to the contrary. See Claim Three, infra.



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Sid and I go back a long way. And he’s right. . . . guilt or innocence is really not going

to be an issue.” Id. at 18; see also id. at 25 (“Mr. Crowley, I appreciate your

comments.”). The State argued that Mr. Andrus “did exactly what he is charged with,

and even Mr. Crowley knows that.” Id. at 25.

      As reflected in the record, Mr. Crowley admitted during the state post-

conviction hearing that he conceded Mr. Andrus’s guilt. 2 SHRR 59–60.

Inconceivably, he admitted that he did so without consulting with Mr. Andrus in

regards to this decision, or without gaining his consent to concede his guilt. Mr.

Crowley unequivocally testified “no” when asked whether he had asked Mr. Andrus

for consent to do so, and instead said that “[b]asically I [just] made my argument.”

Id. at 63–64. It is perhaps unsurprising that Mr. Crowley did not bother to consult

with Mr. Andrus regarding this decision, given that lack of contact that Mr. Crowley

had with his client: only recording meetings with Mr. Andrus at the jail a mere six

times over the four years he was appointed in his billing records—the first of which

occurred nearly eight months after his appointment. 1 SHRR 188–90; 2 SHRR 59.

      Mr. Crowley’s actions constitute a Cronic violation because he entirely failed

to subject the State’s case to any meaningful adversarial testing. After mounting no

type of defense at the guilt/innocence phase, trial counsel completely conceded that

the State had proven all elements of capital murder—which the State repeatedly

thanked Mr. Crowley for doing. 45 RR 16–18, 25. This occurred without consulting

with Mr. Andrus. 2 SHRR 63–64. Mr. Crowley’s actions were a constructive denial of




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counsel, as he entirely abdicated his role as advocate for Mr. Andrus, and instead,

joined the State in ensuring Mr. Andrus would be convicted.

      Mr. Andrus incorporates by reference each and every fact, statement, and

assertion pertinent to this claim that is contained in the Statement of Facts.

      B.     Any default is excused by state habeas counsel’s failure to raise
             this substantial claim.

      This claim was not presented to the state courts. State habeas counsel did not

raise this substantial ineffective assistance of counsel claim in state habeas

proceedings. State habeas counsel’s ineffectiveness excuses any default of the claim

that the Director may allege. See Trevino, 569 U.S. at 429. Section (A), supra,

demonstrates the substantiality of the underlying claim.

Claim 2         Mr. Andrus’s Sixth Amendment right to insist that trial
                counsel maintain his innocence under McCoy v. Louisiana
                was violated.

      During closing argument at the guilt phase, Mr. Andrus’s trial counsel

conceded that he was guilty of capital murder. 45 RR 16–18. Trial counsel admitted

that this concession occurred without consultation with or consent from Mr. Andrus.

2 SHRR 59, 62–63. Because Mr. Andrus made express statements of his desire not to

concede guilt, his Sixth Amendment right as interpreted in McCoy v. Louisiana, 138

S. Ct. 1500 (2018), was violated. This claim is unexhausted and Mr. Andrus

anticipates filing a motion to return to state court to exhaust this claim. This violation

entitles Mr. Andrus to a new trial.




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      A.     Mr. Andrus’s Sixth Amendment right was violated.

      Under the Sixth Amendment, a client has the right to control the objectives of

his defense. In McCoy v. Louisiana, the Supreme Court held that “[w]hen a client

expressly asserts that the objective of ‘his defence’ is to maintain innocence of the

charged criminal acts, his lawyer must abide by that objective and may not override

it by conceding guilt.” 138 S. Ct. 1500, 1509 (2018) (emphasis in original). Therefore,

“a defendant has the right to insist that counsel refrain from admitting guilt, even

when counsel’s experienced-based view is that confessing guilt offers the defendant

the best chance to avoid the death penalty.” Id. at 1505. While it is counsel’s duty to

make “strategic choices about how to best achieve a client’s objectives,” the client

determines what the objectives of the defense are. Id. at 1508. The Supreme Court

explained that:

      Counsel may reasonably assess a concession of guilt as best suited to
      avoiding the death penalty, as [the trial lawyer] did in this case. But the
      client may not share that objective. . . . When a client expressly asserts
      that the objective of “his defence” is to maintain innocence of the charged
      criminal acts, his lawyer must abide by that objective and may not
      override it by conceding guilt. U.S. Const. Amdt. 6 (emphasis added); see
      ABA Model Rule of Professional Conduct 1.2(a) (2016) (a “lawyer shall
      abide by a client’s decisions concerning the objectives of the
      representation”).

Id. at 1508–09.

      Because this Sixth Amendment right is one of the client’s autonomy to control

the objectives of the defense, not the competency of trial counsel, jurisprudence

relating to ineffective assistance of counsel—including the need to show prejudice—

does not apply. 138 S. Ct. at 1504. Instead, this violation is a structural error that

does not require the defendant to show prejudice. Id. at 1511. Therefore, courts should


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not assess the likelihood that counsel overriding client’s wishes and conceding guilt

impacted the outcome of trial.

      In McCoy, trial counsel conceded that the defendant was guilty in opening and

closing statements, over the client’s objection. 138 S. Ct. at 1506–07. Trial counsel

conceded guilt to try and build credibility with the jury, which he felt increased the

chances of the client receiving a sentence less than death. Id. at 1510. However,

because counsel was on notice that the client did not want him to concede his guilt,

the concession violated the defendant’s Sixth Amendment right to control the

objectives of his defense. As it was structural error, the Supreme Court reversed the

conviction for a new trial with no assessment of prejudice. Id. at 1512.

      To establish that his Sixth Amendment right to control the objective of his

defense was violated, Mr. Andrus must show that he made an express statement to

his trial counsel that he wished to maintain his innocence, and that trial counsel

overrode this stated desire and conceded his guilt. See McCoy, 138 S. Ct. at 1508–09.

Despite Mr. Andrus making express statements that indicated he wished to maintain

his innocence, trial counsel conceded his guilt. Because Mr. Andrus’s Sixth

Amendment right to maintain his innocence was improperly overridden by his trial

counsel, he is entitled to a new trial. This violation is structural, and no harm analysis

is required. Mr. Andrus incorporates by reference each and every fact, statement, and

assertion pertinent to this claim that is contained in the Statement of Facts.




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         1. Mr. Andrus made express statements of his will to maintain his
            innocence.

        Mr. Andrus received no meaningful advocacy during the guilt/innocence phase

of trial. See Claim One, supra. Trial counsel unequivocally conceded Mr. Andrus guilt.

2 SHRR 59–60. During closing argument, Mr. Crowley told the jury that “[y]ou’ve

heard pretty overwhelming evidence” of guilt, and that he was not intending to argue

that Mr. Andrus was “not guilty because he was drunk, he was on drugs, anything

like that.” 45 RR 16. Mr. Crowley thought then that the jurors “might ask, why did

you not just plead guilty?” He implored the jury to “[l]ook at the whole case” and the

statement from Mr. Andrus, which, “even under those facts . . . it still established

their elements.” Id. This argument was a clear concession of guilt.

         2. Trial counsel overrode Mr. Andrus’s will by conceding his guilt.

        While Mr. Crowley conceded Mr. Andrus’s guilt without consulting him,

2 SHRR 63–64, Mr. Crowley was, or should have been, aware of Mr. Andrus’s express

desire not to concede guilt for the following non-exhaustive reasons. See McCoy, 138

S. Ct. at 1508–09. Mr. Andrus himself had to file a motion to suppress his confession—

a clear indication that he did not want to concede his guilt—and later a motion to

remove Mr. Crowley. CR 14–18; 34 SHRR 86–95. During Mr. Andrus’s testimony, the

State cross-examined him by pointing out that he pled not guilty in an attempt to

argue that he was not remorseful. 8 51 RR 70. This also indicates Mr. Andrus’s desire

to maintain his innocence.



         8 While trial counsel’s objection to this question was sustained and it has no evidentiary value,

it can still be considered in this context.



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        3. This Sixth Amendment violation is structural error.

      A Sixth Amendment violation that trial counsel overrode the client’s express

desire to maintain innocence is a structural error that does not require the defendant

to show prejudice. McCoy, 138 S. Ct. at 1511. No harm analysis is conducted, and Mr.

Andrus does not need to show that trial counsel’s concession impacted the outcome of

the case. Therefore, Mr. Andrus is entitled to a new trial in light of this Sixth

Amendment violation, because his trial counsel overrode his will to maintain his

innocence and conceded his guilt to the jury.

      B.     This claim is unexhausted.

      This claim is unexhausted as it was not presented to the state courts. Mr.

Andrus expects to seek a stay under Rhines v. Weber, 544 U.S. 269 (2005), so that he

may return to state court and exhaust it. Because plausible arguments exist that

could lead to the state court authorizing it to proceed as a successive state habeas

application, it would be premature to determine this claim is procedurally defaulted

and barred from federal review.

Claim 3         Mr. Andrus’s Sixth Amendment right to counsel was violated
                when trial counsel conceded that he was guilty.

      During closing argument, trial counsel made a complete concession that Mr.

Andrus was guilty of capital murder. 45 RR 16–18. Trial counsel made the declaration

of guilt without ever consulting with Mr. Andrus about whether he agreed with the

decision to completely concede guilt. 2 SHRR 63–64. In so doing, trial counsel entirely

failed to subject the State’s case to meaningful adversarial testing in violation of Mr.

Andrus’s Sixth Amendment rights. See Strickland v. Washington, 466 U.S. 668 (1984).



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This claim was not presented to the state courts but any default can be excused by

state habeas counsel’s failure to raise this substantial claim. Trevino v. Thaler, 569

U.S. 413 (2013). This violation entitles Mr. Andrus to a new trial.

      A.     Trial counsel’s performance was prejudicially deficient.

      To establish ineffective assistance of counsel, Mr. Andrus must show that trial

counsel’s performance was deficient and that the deficiency prejudiced the defense.

See Strickland, 466 U.S. at 687. Trial counsel’s concession that Mr. Andrus was guilty

meets both prongs of this test. Therefore, Mr. Andrus’s Sixth Amendment right to

counsel was violated and his conviction should be reversed. Mr. Andrus’s position is

that prejudice should be presumed regarding this allegation. See Claim One, supra.

He pleads this theory under Strickland only in the alternative. Mr. Andrus

incorporates by reference each and every fact, statement, and assertion pertinent to

this claim that is contained in the Statement of Facts.

        1. Trial counsel’s performance was deficient.

      Trial counsel conceded Mr. Andrus’s guilt in closing argument. 45 RR 16–18;

see Yarborough v. Gentry, 540 U.S. 1, 5 (2003) (“The right to effective assistance

extends to closing arguments.”). Incredibly, he did so without consulting with his

client regarding this critical decision. 2 SHRR 63–64. Trial counsel cannot concede

their client’s guilt without consulting them. As the Supreme Court explained in

Florida v. Nixon, 543 U.S. 175 (2004), “[a]n attorney undoubtedly has a duty to

consult with the client regarding ‘important decisions,’ including questions of

overarching defense strategy.” Id. at 187 (citing Strickland, 466 U.S. at 688). And

“certain decisions regarding the exercise or waiver of basic trial rights are of such


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moment that they cannot be made for the defendant by a surrogate.” Id. A decision

to concede guilt requires consultation with the client.

      Trial counsel’s conduct is egregious in light of his misunderstanding of the law

on a related point—his mistaken belief that Mr. Andrus could not appeal the denial

of his suppression motion if he pled guilty. Mr. Crowley testified during the state

habeas hearing that when he explained to the jury that Mr. Andrus could not plead

guilty and preserve error, 45 RR 16, he was referencing preserving error on the

motion to suppress. 2 SHRR 60. However, Mr. Crowley did not understand the

governing legal principles correctly. “An attorney’s ignorance of a point of law that is

fundamental to his case combined with his failure to perform basic research on that

point is a quintessential example of unreasonable performance under Strickland.”

Hinton v. Alabama, 571 U.S. 263, 274 (2014). Texas law permits a defendant to

“appeal rulings on written, pre-trial motions after a plea of guilty[.]” Young v. State,

8 S.W.3d 656, 666 (Tex. Crim. App. 2000). Thus, Mr. Andrus could have appealed the

ruling on the suppression motion, even had he pled guilty, despite trial counsel’s

subjective—and more important, incorrect—belief to the contrary.

        2. The deficiency was prejudicial.

      Trial counsel’s deficient performance is a Sixth Amendment violation when it

was sufficiently prejudicial—meaning it had a reasonably probable effect on the guilt

phase outcome. Strickland, 466 U.S. at 698. Trial counsel’s concession that Mr.

Andrus was guilty would have, to a near certainty, had an impact on the jury’s

deliberations. United States v. Swanson, 943 F.2d 1070, 1075 (9th Cir. 1991) (“We

cannot envision a situation more damaging to an accused than to have his own


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attorney tell the jury that there is no reasonable doubt that his client was the person

who committed the conduct that constituted the crime charged in the indictment.”);

Wiley v. Sowders, 647 F.2d 642, 650 (6th Cir. 1981) (“[F]or all practical purposes,

counsel’s admission of guilt on behalf of his client denied to petitioner his

constitutional right to have his guilt or innocence decided by the jury.”). Based on

trial counsel’s deficient concession of guilt, Mr. Andrus can establish a reasonable

probability of a different outcome. See Strickland, 466 U.S. at 698.

       B.    Any default is excused by state habeas counsel’s failure to raise
             this substantial claim.

       This claim was not presented to the state courts. State habeas counsel did not

raise this substantial ineffective assistance of counsel claim in state habeas proceedings.

State habeas counsel’s ineffectiveness excuses any default of the claim that the Director

may allege. See Trevino, 569 U.S. at 429. Section (A), supra, demonstrates the

substantiality of the underlying claim.

Claim 4         Mr. Andrus’s Sixth Amendment right to counsel was violated
                when trial counsel failed to investigate and present
                mitigating evidence.

       Trial counsel’s failure to investigate and present mitigating evidence violated

Mr. Andrus’s Sixth Amendment right to the effective assistance of counsel. See

Strickland v. Washington, 466 U.S. 668 (1984). This claim is exhausted and satisfies

the relitigation bar of 28 U.S.C. § 2254(d), because the state court’s decision was

legally and factually unreasonable. This violation entitles Mr. Andrus to a new

punishment phase.




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      A.     Trial counsel’s performance was prejudicially deficient.

      Under the Sixth Amendment, a criminal defendant is guaranteed the right to

effective assistance of counsel. To establish ineffective assistance of counsel, Mr.

Andrus must show that trial counsel’s performance was deficient and that counsel’s

deficiency prejudiced the defense. Strickland v. Washington, 466 U.S. 668, 687 (1984).

In assessing counsel’s performance, courts look to the “[p]revailing norms of practice

as reflected in [the] American Bar Association standards and the like.” See Strickland,

466 U.S. at 688–89. To establish prejudice, Mr. Andrus must show that “there is a

reasonable probability that, but for counsel’s unprofessional errors, the result of the

proceeding would have been different.” Id. at 694. A reasonable probability is “a

probability sufficient to undermine confidence in [the] outcome.” Id. at 693–94. Trial

counsel’s failure to investigate and present mitigating evidence meets both prongs of

this test. Therefore, Mr. Andrus’s Sixth Amendment right to counsel was violated and

his sentence should be reversed. Mr. Andrus incorporates by reference each and every

fact, statement, and assertion pertinent to this claim that is contained in the

Statement of Facts.

        1. Trial counsel’s performance was deficient.

      Investigation is the backbone of trial defense, for all phases of the litigation.

Under clearly established Supreme Court precedent, “[i]t is unquestioned that under

the prevailing professional norms . . . counsel ha[s] an ‘obligation to conduct a

thorough investigation of the defendant’s background.’” Porter v. McCollum, 558 U.S.

30, 39 (2009) (quoting Williams v. Taylor, 529 U.S. 362, 396 (2000)). Trial counsel’s

failure to make reasonable investigative decisions in light of available information


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constitutes deficient performance. See Wiggins v. Smith, 539 U.S. 510, 527 (2003) (“[A]

court must consider not only the quantum of evidence already known to counsel, but

also whether the known evidence would lead a reasonable attorney to investigate

further.”); id. at 523 (explaining that the focus of a deficiency inquiry is on “whether

the investigating supporting counsel’s decisions . . . itself was reasonable”).

      Trial counsel may not “ignore[] pertinent avenues for investigation of which he

should have been aware.” Porter v. McCollum, 558 U.S. 30, 40 (2009). Trial counsel’s

duty to investigate exists even if the defendant or his family tells counsel that no

mitigation evidence exists. Rompilla v. Beard, 545 U.S. 374, 377 (2005). Courts

cannot “condone unreasonable decisions parading under the umbrella of strategy,” or

“fabricate tactical decisions on behalf of counsel when it appears on the face of the

record that counsel made no strategic decision at all.” Richards v. Quarterman, 566

F.3d 553, 564 (5th Cir. 2009) (internal quotation omitted).

      Tracking the clearly established Supreme Court precedent, professional norms

prevailing during Mr. Andrus’s trial underscore defense counsel’s paramount duty to

investigate and prepare for the punishment phase. See ABA Guidelines, Guideline

10.7(A) (“[C]ounsel at every stage have an obligation to conduct thorough and

independent investigations relating to the issues of both guilt and penalty.”); id. at

10.11(A) (“[C]ounsel at every stage of the case have a continuing duty to investigate

issues bearing upon penalty and to seek information that supports mitigation or

rebuts the prosecution’s case in aggravation.”).




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      Among many other serious short comings, Mr. Crowley performed essentially

no work on the case for three-and-a-half years. Mr. Crowley only began to prepare for

trial roughly a month before the start of voir dire. 13 SHRR 50, 97; 14 SHRR 57. He

did not conduct any mitigation investigation. He did not retain a mitigation specialist.

3 SHRR 119–20. While his temporary co-counsel, Jerome Godinich, retained a

mitigation specialist, Amy Martin, Ms. Martin was only able to perform some initial

investigative tasks before she resigned in protest to Mr. Crowley’s actions. 14 SHRR

35. Although Ms. Martin forwarded her files to Mr. Crowley, he failed to follow up on

the leads she developed.

      There were numerous red flags that mitigation investigation would be

worthwhile, not least of which was the fact that Mr. Andrus’ mother was extremely

unhelpful when counsel attempted to contact her and the fact that she told Ms.

Martin she was hoping to cash in a life insurance policy on Mr. Andrus. 13 SHRR 237.

Yet, Mr. Crowley failed to interview Mr. Andrus’ family members. He also failed to

interview people who would clearly have known Mr. Andrus well, such as his

stepmother whose home he lived in for a time, or Sean Gilbow and Phyllis Garner,

with whom Mr. Andrus also lived for a time. 3 SHRR 119–20, 135–36.

      Mr. Andrus’s records also suggested that he had serious problems in his home

life as a child. Mr. Andrus’ records indicated that he had been diagnosed with serious

mental health conditions as young as 11, that he had been diagnosed with other

mental health conditions when he was at TYC and in pretrial detention, and that he

had been prescribed antipsychotic and psychotropic drugs. 41 SHRR 7–8. Moreover,




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Terence’s behavior in jail, including attempting suicide, indicated that Mr. Andrus’s

mental health would be an important issue. Yet, Mr. Crowley failed to contact a

psychologist until a month before voir dire started and then refused to read the report

the psychologist generated. 13 SHRR 32; 3 SHRR 131–32.

       Due to the massive scandal that erupted at TYC shortly after Mr. Andrus was

released, Mr. Crowley surely should have known that the conditions in which Mr.

Andrus was confined were problematic, to say the least. Experts on TYC actually

reached out to Ms. Olvera about providing testimony concerning TYC, but Mr.

Crowley did not pursue such an expert. 3 SHRR 124. Mr. Crowley conducted no

investigation concerning Mr. Andrus’s confinement at TYC.

       Mr. Crowley ultimately made Cynthia Andrus his star witness on mitigation,

without having met or even interviewed her at all. Ms. Andrus told Mr. Crowley that

her “life was not on trial” and that she would not “tell stories” about herself, but Mr.

Crowley had her testify anyway. Mr. Crowley also never interviewed Mr. Andrus

father, but likewise had him testify anyway.

       Mr. Crowley did not provide adequate information to Dr. Roache, the one

expert he did call to testify, and did not adequately prepare Dr. Roache for his

testimony. 3 SHRR 98; 13 SHRR 98. He also asked Dr. Roache to speak with Mr.

Felcman without Mr. Crowley being present. Mr. Crowley also failed to adequately

prepare for Mr. Martin testimony and did not adequately prepare Mr. Martin to

testify.




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      Ms. Olvera was appointed second-chair counsel in June of 2012, about three

months before voir dire began. Ms. Olvera dedicated most of her time to simply

getting up to speed on the case before trial. As she herself admitted, she “didn’t do”

mitigation. She did not perform any mitigation investigation besides speaking on the

telephone with Cynthia and possibly one of Mr. Andrus’s half-siblings. 4 SHRR 15–

25.

      Neither Mr. Crowley nor Ms. Olvera sought a continuance in order to complete

an adequate mitigation investigation.

        2. The deficiency was prejudicial.

      Deficient performance represents a Sixth Amendment violation when it was

sufficiently prejudicial—i.e., when it has a reasonably probable effect on a guilt or

punishment phase outcome. Strickland, 466 U.S. at 698. Regarding the punishment

phase, the prejudice inquiry looks to “the totality of available mitigation evidence—

both that adduced at trial, and the evidence adduced in the habeas proceeding[s],”

and evaluates how the difference would have affected the sentencing phase. Porter,

558 U.S. at 41 (quoting Williams v. Taylor, 529 U.S. 362, 397–98 (2000)). The inquiry

into whether a “facially deficient mitigation investigation might have prejudiced the

[petitioner]” should never be foreclosed based on “counsel’s effort to present some

mitigation evidence.” Sears v. Upton, 561 U.S. 945, 955 (2010); see also Walbey v.

Quarterman, 309 Fed. App’x 795, 802 (5th Cir. 2009) (“This standard clearly

contemplates that even when some mitigating evidence is presented at trial, prejudice

is still possible if that evidence is substantially incomplete.”) (emphasis in original).




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       As the trial court stated, Mr. Andrus presented a “tidal wave” of mitigation

evidence during post-conviction review. 6 SHRR 101. Had Mr. Crowley performed an

adequate investigation, he could have presented evidence that Mr. Andrus’s mother,

was a drug dealer and prostitute who had abused and abandoned her children, sold

drugs out of her home where her five children slept in a single bed, brought dangerous

men to live with them, and left Terence to feed and supervise his half-siblings when

Terence was ten years old.

       A competent mitigation would have also revealed the shocking conditions Mr.

Andrus endured at TYC. The defense could have shown that Mr. Andrus was held

either in a “Lord of the Flies” environment in the dormitories or in complete isolation.

5 SHRR 179, 189. The defense also could have shown that Mr. Andrus was suicidal,

but that the mental health regime at TYC consisted on imposing “medical restraints”

on youth using powerful psychotropic drugs. 5 SHRR 162. The defense also could have

shown that TYC wholly failed to rehabilitate youth or provide an education. 5 SHRR

191.

       Had the defense investigated Mr. Andrus’s mental health, it could have shown

that Mr. Andrus experienced serious mental health issues since he was a child. The

defense could have explained that Mr. Andrus experienced severe childhood trauma

and explained the effect of that trauma on Mr. Andrus’s development. The defense

also could have explained the effects of the numerous, powerful drugs that Mr.

Andrus was given at both TYC and in pre-trial detention. The defense could have




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shown how Mr. Andrus’s mental health issues helped explain the tragic choices he

made that left two people dead.

      Finally, had Mr. Crowley performed competently, Cynthia Andrus would not

have been presented as a defense witness and the jury would not have heard her

untruthful testimony about Terence’s childhood. Likewise, the jury would not have

heard Michael Davis’s inaccurate speculation about his son’s childhood. Had Mr.

Crowley prepared properly, he also either would not have had Dr. Roache testify or

would have adequately prepared him so that he could offer meaningful testimony

concerning Mr. Andrus. Competent defense counsel also would not have been

permitted the prosecution to idly speculate with Dr. Roache about whether Mr.

Andrus is a “sociopath.” Competent defense counsel also would not have called a lay

witness who volunteered the expert opinion that Mr. Andrus suffers from anti-social

personality disorder.

      Thus, had Mr. Crowley performed competently, not only would a “tidal wave”

of mitigating evidence have been presented, but the jury would not have heard a

substantial amount of aggravating and inaccurate evidence. With competent counsel,

Mr. Andrus never would have taken the stand to testify, and the damage done by Mr.

Felcman on cross-examination would not have happened.

      Even if Mr. Andrus had testified, however, his testimony would have been

corroborated by the other mitigation witnesses, not contradicted. An adequate

mitigation investigation would have supported Mr. Andrus credibility. Without a

competent mitigation investigation, Mr. Andrus’s credibility was destroyed.




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      B.     28 U.S.C. § 2254(d) does not preclude the relitigation of this claim.

      This claim is exhausted, as it was presented as Claim One of Mr. Andrus’s

state habeas application. 1 SHCR 53–113. After a lengthy evidentiary hearing was

held, the trial court entered detailed findings of fact and conclusions of law on this

claim, recommending that relief be granted. 1 Sup. SHCR 6–18. Those findings of fact

included various credibility determinations regarding the witnesses presented. Id.

Relying heavily on clearly established Supreme Court precedent, the trial court

concluded its detailed findings with the following:

      (nnnn) The Court finds and concludes that in the present case, there was
      ample mitigating evidence which could have, and should have, been
      presented at the punishment phase of Applicant’s trial. Wiggins v.
      Smith, 539 U.S. 510, 522 (2003).

      (oooo) The Court finds and concludes that relevant, available, and
      persuasive mitigating evidence was not presented at Applicant's trial
      because his lead trial counsel failed to conduct a thorough investigation
      into Applicant’s background. Wiggins v. Smith, 539 U.S. 510, 522 (2003).

      (pppp) The Court finds and concludes that lead trial counsel’s decision
      not to introduce mitigating evidence was unreasonable. Wiggins v.
      Smith, 539 U.S. 510, 523 (2003).

      (qqqq) The Court finds and concludes that just as in Wiggins, Applicant’s
      lead trial counsel was ineffective in failing to investigate and present
      mitigating evidence regarding the defendant’s abusive and neglectful
      childhood. Wiggins v. Smith, 539 U.S. 510, 517 (2003).

      (rrrr) The Court finds and concludes that Applicant’s lead trial counsel
      was ineffective in failing to investigate and present all other mitigating
      evidence, including, but not limited to: mental health history, his
      incarceration at the Texas Youth Commission, the scandal at the Texas
      Youth Commission, educational history, the circumstances of
      Applicant’s child development, Applicant’s family history, and the
      diagnosis of serious mental illness, which was available at trial, as
      detailed above. See Wiggins v. Smith, 539 U.S. 510, 523 (2003).




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      (ssss) The Court finds and concludes that Applicant’s lead trial counsel
      was ineffective in failing to retain the necessary experts to investigate
      and present all available mitigating evidence at the punishment phase
      of Applicant's trial. See Wiggins v. Smith, 539 U.S. 510, 523 (2003).

      (tttt) The Court finds and concludes that Applicant is entitled to Habeas
      Corpus Relief with respect to his first claim. See Wiggins v. Smith, 539
      U.S. 510, 523 (2003).

Id. at 17–18.

      However, the CCA held that Mr. Andrus “fail[ed] to meet his burden under

Strickland” and denied relief on the merits without further explanation. Ex parte

Andrus, 2018 WL 622783 at *2. Further, it rejected all findings of fact and conclusions

of law entered by the trial court judge. Id. at *3. It did not explain its wholesale

rejection of the trial court’s findings of fact and conclusions of law.

      Because this claim was adjudicated on the merits in state court, an exception to

the relitigation bar of 28 U.S.C. § 2254(d) must be present. This requires a finding

that the state court decision was “(1) ‘contrary to, or involved an unreasonable

application of, clearly established Federal law, as determined by the Supreme Court

of the United States’; or (2) ‘resulted in a decision that was based on an unreasonable

determination of the facts in light of the evidence presented in the State court

proceeding.’” Gray v. Epps, 616 F.3d 436, 439 (5th Cir. 2010) (quoting 28 U.S.C. §

2254(d)). Only one exception to the relitigation bar need be present. In light of the

evidence presented in the state proceedings, the state court decision rejecting this

claim necessarily either involved an unreasonable application of the Strickland

standard and its progeny regarding the investigation and presentation of mitigating

evidence, or was based on an unreasonable determination of facts, thus an exception


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to the relitigation bar is present. See, e.g., Miller-El v. Cockrell, 537 U.S. 322, 340

(2003); Williams v. Taylor, 529 U.S. 362, 407–09 (2000).

Claim 5           Mr. Andrus’s Sixth Amendment right to counsel was violated
                  when trial counsel failed to investigate the extraneous
                  offenses the State presented.

         Trial counsel admitted, on record, that they did not investigate the State’s case

in aggravation in preparation for the penalty phase. 3 SHRR 64; 4 SHRR 37. Trial

counsel’s failure to do so constituted ineffective assistance of counsel, in violation of

Mr. Andrus’s Sixth Amendment rights. See Strickland v. Washington, 466 U.S. 668

(1984). This claim was not presented to the state courts but any default can be

excused by state habeas counsel’s failure to raise this substantial claim. Trevino v.

Thaler, 569 U.S. 413 (2013). This violation entitles Mr. Andrus to a new punishment

phase.

         A.    Trial counsel’s performance was prejudicially deficient.

         To establish ineffective assistance of counsel, Mr. Andrus must show that trial

counsel’s performance was deficient and that the deficiency prejudiced the defense.

See Strickland, 466 U.S. at 687. Trial counsel’s failure to investigate the State’s case

in aggravation meets both prongs of this test. Therefore, Mr. Andrus’s Sixth

Amendment right to counsel was violated and his sentence should be reversed. Mr.

Andrus incorporates by reference each and every fact, statement, and assertion

pertinent to this claim that is contained in the Statement of Facts.

          1. Trial counsel’s performance was deficient.

         Trial counsel failed to conduct an objectively reasonable investigation into the

State’s case in aggravation at the punishment phase. Prevailing professional norms


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at the time of Mr. Andrus’s trial required counsel to conduct an independent

investigation of the state’s case in aggravation. The Supreme Court of the United

States has noted the importance of defense counsel investigating extraneous offenses

and that it is insufficient to merely accept the State’s version of events at face value.

Rompilla v. Beard, 545 U.S. 374, 389 (2005); see also ABA Guidelines, Guideline

10.7(A) (“[C]ounsel at every stage have an obligation to conduct thorough and

independent investigations relating to the issues of both guilt and penalty.”); Texas

Guidelines, Guideline 11.1(A)(3)(b)(iii) (“The investigation for the punishment phase

of the trial should generally encompass. . . [d]evelopment of rebuttal witnesses for

State’s extraneous offenses, if any[.]”). Prevailing professional norms also include

discussing with the client the “strategy for meeting the prosecution’s case in

aggravation,” to consider witnesses who “would rebut or explain evidence presented

by the prosecutors,” and to “determine at the earliest possible time what aggravating

factors the prosecution will rely upon in seeking the death penalty and what evidence

will be offered in support thereof.” Texas Guidelines, Guideline 11.7.

       Defense counsel “failed to make reasonable efforts” to review and rebut the

impact of Mr. Andrus’s prior convictions, arrests, and other extraneous offenses. See

Rompilla, 545 U.S. at 389. Trial counsel was put on notice of the State’s intent to

present the aggravating evidence, yet failed to conduct an independent investigation

into it.

           2. The deficiency was prejudicial.

       Trial counsel’s deficient performance is a Sixth Amendment violation when it

was sufficiently prejudicial—meaning that it had a reasonably probable effect on the


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guilt phase outcome. Strickland, 466 U.S. at 698. Had trial counsel conducted an

adequate investigation into the aggravating evidence the State provided notice it

would be presenting, significant evidence was available to counter the State’s

narrative. Instead of conducting the independent investigation mandated by

prevailing professional norms, trial counsel conceded that Mr. Andrus was a future

danger. See Claim Eight, infra. The volume of easily-available evidence to counter

the State’s presentation establishes that this error was prejudicial. See Lyons v.

McCotter, 770 F.2d 529, 534 (5th Cir. 1985) (“[T]o pass over the admission of

prejudicial and clearly inadmissible evidence, as here, has no strategic value.”).

             a. Farida Faheem.

      Trial counsel’s failure to conduct an independent investigation into the

extraneous offenses the State intended on offering allowed the State to present in

aggravation a robbery that Mr. Andrus did not commit. See Johnson v. Mississippi,

486 U.S. 578 (1988) (reversing death sentenced based on a felony conviction that was

later vacated). Ms. Faheem had been robbed several times. At trial, she testified to a

much more aggravated robbery than the one Mr. Andrus was involved with. 46 RR

30-32. Ms. Faheem testified that the robber followed her into a dark parking lot late

at night, fought her for her purse, ran as she pursued him, and ultimately absconded

with a substantial sum of money. Id. The event that concerned Mr. Andrus, by

contrast, was much less serious. Mr. Andrus and his brother were caught sorting

through the contents of a purse that another person had taken off a counter. The

purse and its contents were returned to Ms. Faheem. Exh. 21.




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               b. Tuan Tran.

       The State presented evidence that Mr. Tran identified Mr. Andrus from a six-

person photo array. 46 RR 75-77. This was the only evidence presented that tied Mr.

Andrus to the offense. Had Mr. Crowley investigated the offense, he would have

learned that Mr. Tran was actually given binders containing hundreds of photos and

that he identified someone in one of those binders. Exh. 13. This was a completely

different identification process than what Detective Williams testified to at trial.

Detective Williams also inaccurately testified that he had not done any work on the

case before showing Mr. Tran the purported photo array. Had Mr. Crowley showed

that Detective Williams testified to an identification process that never happened, it

is unlikely that the jury would have concluded that Mr. Andrus had in fact committed

the offense.

               c. Koenig Robbery.

       If Mr. Crowley had investigated the Koenig robbery, he would have known that,

although Mr. Andrus was at first identified as the gunman, it was later determined

that the gunman had been Derrick McGowan. 19 SHRR 101. Mr. Andrus pleaded

guilty to solicitation and stipulated that he had encouraged Mr. McGowan to commit

the robbery, which suggests that he also was not the person who took Ms. Koenig’s

bag.

       Yet, the State asserted that Mr. Andrus had been the gunman in the Koenig

Robbery. 52 RR 23–24. Mr. Crowley failed to use the available documents and

information to show that was not true.




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             d. Context for issues in jail.

      Mr. Crowley failed to investigate Mr. Andrus’s experience at TYC, his multiple

suicide attempts, his diagnoses of serious mental health conditions, his frequently

changing and contra-indicated prescriptions of anti-psychotic and psychotropic drugs,

and the effect on his emotional and cognitive development of repeated and severe

childhood trauma. Had he done so, he could have presented evidence that would have

provided critical context to Mr. Andrus’s bizarre and at times unhinged behavior

while in pretrial detention that would have substantially blunted the State’s evidence

of that behavior at the punishment phase.

      B.     Any default is excused by state habeas counsel’s failure to raise
             this substantial claim.

      This claim was not presented to the state courts, as state habeas counsel did

not raise this substantial ineffective assistance of counsel claim in state habeas

proceedings. State habeas counsel’s ineffectiveness excuses any default of the claim

that the Director may allege. See Trevino, 569 U.S. at 429. Section (A), supra,

demonstrates the substantiality of the underlying claim.

Claim 6        Mr. Andrus’s due process rights were violated when the State
               elicited false testimony.

      Under the Fourteenth Amendment, the State may not elicit or fail to correct

testimony that it knows or should know to be false. See Napue v. Illinois, 360 U.S.

264, 269 (1959) (citing Alcorta v. Texas, 355 U.S. 28, 78 (1957)). Here, the State

elicited false testimony concerning the theft from Farida Faheem, the robbery of Tuan

Tran, and the Koenig robbery. This claim is unexhausted and Mr. Andrus anticipates




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filing a motion to return to state court to exhaust this claim. This violation entitles

Mr. Andrus to a new punishment phase.

      A.     The State’s presentation of false testimony violated Mr. Andrus’s
             due process

      Presentation of false testimony violates due process and is “inconsistent with

the rudimentary demands of justice.” Mooney v. Holohan, 294 U.S. 103, 112 (1935).

To establish a due process violation, a petitioner must show that false testimony was

presented to the jury, that the prosecution knew or should have known of its falsity,

and that the false testimony “could . . . in any reasonable likelihood have affected the

judgment of the jury.” Giglio v. United States, 405 U.S. 150, 153–54 (1972) (quoting

Napue, 360 U.S. 264, 271 (1959); see also Alcorta v. Texas, 355 U.S. 28, 31 (1957)

(finding the defendant’s due process rights were violated where State’s witness “gave

the jury [a] false impression”). Moreover, “[t]he principle that a State may not

knowingly use false evidence, including false testimony, to obtain a tainted conviction,

implicit in any concept of ordered liberty, does not cease to apply merely because the

false testimony goes only to the credibility of the witness.” Napue, 360 U.S. at 269.

Mr. Andrus incorporates by reference each and every fact, statement, and assertion

pertinent to this claim that is contained in the Statement of Facts.

        1. The State presented false testimony.

      The State presented testimony that was false, or at least gave the jury a false

impression, concerning at least three different events. The State presented evidence

from Farida Faheem that Mr. Andrus committed a robbery that he had nothing to do

with. The State presented evidence from both Mr. Tran and Detective Williams as to



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the identification regime for the robbery of the dry cleaners that was completely

different from what Mr. Tran recalls. The State also presented grossly misleading

evidence concerning the Koenig robbery in that it implied that Mr. Andrus was the

gunman, when in fact the State had concluded years earlier that the gunman had

been Derrick McGowan.

        2. The State knew, or should have known, this testimony was false.

      Whether the State intended to elicit the false statement or merely failed to

correct it is immaterial; the State meets Napue’s knowledge criterion merely by

allowing testimony that was false, or that it should have known to be false, to go

uncorrected. See United States v. Agurs, 427 U.S. 97, 103 (1976); Napue, 360 U.S. at

269; United States v. O’Keefe, 169 F.3d 281, 292 (5th Cir. 1999).

      Here, the State surely should have known that Ms. Faheem was not testifying

to the events concerning Mr. Andrus. The offense report from that robbery describes

events that occurred at a different time and in a different place from what Ms.

Faheem testified to. Exh. 21. Rather than stating that Mr. Andrus pursued Ms.

Faheem into a parking lot late at night and fought her for her purse, it states that,

during the daytime, Mr. Andrus was found going through a purse with his brother

that someone else had taken and that was subsequently returned to Ms. Faheem. The

State certainly should have known what actual identification process was used with

Mr. Tran since the State conducted the identification process. Finally, it was the State

that determined that Mr. McGowan, not Mr. Andrus, had been the gunman in the

Koenig robbery, so it certainly should have recognized that it was creating a false

implication through the testimony of its witnesses concerning that robbery.


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        3. There is a reasonable likelihood that this false testimony affected
           the jury.

      The standard for Napue materiality is whether, taking all the false testimony

together, “the false testimony could . . . in any reasonable likelihood have affected the

judgment of the jury.” Giglio, 405 U.S. at 154 (quoting Napue, 360 U.S. at 271).

Napue’s “reasonable likelihood” standard is lower than the Brady materiality

standard, and is akin to a harmless-error rule: “It is a brother, if not a twin, of the

standard (‘harmless beyond a reasonable doubt’) for determining whether

constitutional error can be held harmless. A strict standard is appropriate because,

as the Supreme Court has explained, false testimony cases involve not only

‘prosecutorial misconduct,’ but also ‘a corruption of the truth-seeking function of the

trial process.’” United States. v. Barham, 595 F.2d 231, 242 (5th Cir. 1979) (quoting

Agurs, 427 U.S. at 104 and other internal citations omitted). Here, the State’s false

testimony related to each of the extraneous offenses that were presented at the

punishment phase and created the impression that Mr. Andrus repeatedly engaged

in violent crime, which would have affected the jury in making its sentencing decision.

      B.     This claim is unexhausted.

      This claim is unexhausted as it was not presented to the state courts. Mr.

Andrus expects to seek a stay under Rhines v. Weber, 544 U.S. 269 (2005), so that he

may return to state court and exhaust it. Because plausible arguments exist that

could lead to the state court authorizing it to proceed as a successive state habeas

application, it would be premature to determine this claim is procedurally defaulted

and barred from federal review.



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Claim 7         Mr. Andrus’s Sixth Amendment right to counsel was violated
                when his trial counsel failed to investigate the underlying
                offense.

      Trial counsel’s investigation into the State’s case against Mr. Andrus

constituted ineffective assistance of counsel in violation of his Sixth Amendment

rights. See Strickland v. Washington, 466 U.S. 668 (1984). This claim was not

presented to the state courts but any default can be excused by state habeas counsel’s

failure to raise this substantial claim. Trevino v. Thaler, 569 U.S. 413 (2013). This

violation entitles Mr. Andrus to a new trial, or at minimum a new punishment phase.

      A.     Trial counsel’s performance was prejudicially deficient.

      To establish ineffective assistance of counsel, Mr. Andrus must show that trial

counsel’s performance was deficient and that the deficiency prejudiced the defense.

See Strickland, 466 U.S. at 687. Trial counsel’s failure to investigate the State’s case

against Mr. Andrus meets both prongs of this test. Therefore, Mr. Andrus’s Sixth

Amendment right to counsel was violated and his conviction should be reversed. Mr.

Andrus incorporates by reference each and every fact, statement, and assertion

pertinent to this claim that is contained in the Statement of Facts.

        1. Trial counsel’s performance was deficient.

      Professional norms prevailing at the time of Mr. Andrus’s trial underscore

defense counsel’s paramount duty to investigate and prepare guilt/innocence related

defenses. See ABA Guidelines, Guideline 1.1 at cmt. (“With respect to the

guilt/innocence phase, defense counsel must independently investigate the

circumstances of the crime and all evidence—whether testimonial, forensic, or

otherwise—purporting to inculpate the client.”); id. at Guideline 10.7(A) (“[C]ounsel


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at every stage have an obligation to conduct thorough and independent investigations

relating to the issues of both guilt and penalty.”).

      Trial counsel’s failure to adequately investigate the state’s case against Mr.

Andrus was objectively unreasonable. Here, Mr. Crowley made no effort to

investigate the offense that Mr. Andrus was tried for. 2 SHRR 64; 4 SHRR 37.

        2. The deficiency was prejudicial.

      Trial counsel’s deficient performance is a Sixth Amendment violation when it

was sufficiently prejudicial—meaning that it had a reasonably probable effect on the

guilt phase outcome. Strickland, 466 U.S. at 698. Trial counsel failed to investigate

evidence that supported that the shooting occurred consistent with Mr. Andrus’s

version of events. Had they done so, available evidence existed that could have both

supported Mr. Andrus’s testimony and undercut the State’s arguments that he was

fabricating what occurred.

      The prosecution went to great lengths to show that the murders were not the

result of a carjacking gone bad. Instead, the State argued that Mr. Andrus had come

to the Kroger parking lot specifically for the purpose of murdering people. The State

asserted that the physical evidence contradicted Mr. Andrus’s version of events and

that Mr. Andrus fabricated the carjacking story to try to reduce his moral

blameworthiness. A competent shooting reconstruction expert could have shown that

the physical evidence was consistent with Mr. Andrus version of events. That, in turn,

would have established the imperfect self-defense argument the state was so eager to

rebut. Evans v. State, 601 S.W.2d 943 (Tex. Crim. App. 1980) (fact that defendant did

not intend to kill anyone when he initiated armed robbery was inherently mitigating


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and exclusion of such imperfect self-defense evidence required a new trial). Moreover,

by showing that Mr. Andrus was truthful in his confession, the State would have been

unable to paint him as a remorseless liar.

       B.    Any default is excused by state habeas counsel’s failure to raise
             this substantial claim.

       This claim was not presented to the state courts. State habeas counsel did not

raise this substantial ineffective assistance of counsel claim in state habeas proceedings.

State habeas counsel’s ineffectiveness excuses any default of the claim that the Director

may allege. See Trevino, 569 U.S. at 429. Section (A), supra, demonstrates the

substantiality of the underlying claim.

Claim 8         Mr. Andrus’s Sixth Amendment right to counsel was violated
                when his trial counsel conceded the first special issue at
                sentencing.

       During closing argument at the punishment phase, trial counsel conceded that

the jury would find against Mr. Andrus on the first special issue—whether he would

pose a continuing threat to society. 52 RR 35–37. Trial counsel’s concession violated

Mr. Andrus’s Sixth Amendment right to the effective assistance of counsel. See

Strickland v. Washington, 466 U.S. 668 (1984). This claim is exhausted and satisfies

the relitigation bar of 28 U.S.C. § 2254(d), because the state court’s decision was

legally and factually unreasonable. This violation entitles Mr. Andrus to a new

punishment phase.

       A.    Trial counsel’s performance was prejudicially deficient.

       To establish ineffective assistance of counsel, Mr. Andrus must show that trial

counsel’s performance was deficient and that the deficiency prejudiced the defense.



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See Strickland, 466 U.S. at 687. Trial counsel’s concession on special issue one meets

both prongs of this test. Therefore, Mr. Andrus’s Sixth Amendment right to counsel

was violated and his sentence should be reversed. Mr. Andrus incorporates by

reference each and every fact, statement, and assertion pertinent to this claim that

is contained in the Statement of Facts.

        1. Trial counsel’s performance was deficient.

      The first special issue is part of Texas’s unique sentencing scheme, which

requires the jury to predict “whether there is a probability that the defendant would

commit criminal acts of violence that would constitute a continuing threat to society.”

TEX. CODE CRIM. PROC. art. 37.071 § 2(b)(1). A Texas jury must unanimously find a

probability that a defendant will commit future acts of violence before reaching the

question of mitigation. Id. at § 2(b)-(e). This sentencing structure places the first

special issue of future dangerousness “at the center of the jury’s punishment decision.”

Jurek v. Texas, 428 U.S. 262, 274–75 (1976) (reviewing Texas’s first special issue).

      Trial counsel’s concession on the first special issue was objectively

unreasonable. Here, trial counsel failed to both present evidence that the State had

not carried its burden on the first special issue and then conceded that the jury would

find against Mr. Andrus on this question. 52 RR 35 (“You’ve heard evidence, even

from some of our own witnesses, that Mr. Andrus was probably a violent kind of

guy.”); id. at 36 (“There is probably a good probability that you’re going to answer this

question yes.”); id. at 37 (“[Y]ou will probably answer this question, okay, in

affirmative, based on all you’ve heard.”). While at the state habeas hearing Mr.

Crowley claimed he did not concede the first special issue, 2 SHRR 84, the record


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reflects that he did. 52 RR 35–37. Mr. Crowley’s insistence at the state habeas

hearing that he was not trying to concede the first special issue is not credible, as he

expressly told the jurors he was focusing on the mitigation question. See 2 SHRR 83–

85, 175.

           2. The deficiency was prejudicial.

      Trial counsel’s deficient performance is a Sixth Amendment violation when it

was sufficiently prejudicial—meaning that it had a reasonably probable effect on the

outcome of the trial. Strickland, 466 U.S. at 698. Similarly to when Mr. Crowley

conceded that Mr. Andrus was guilty, Claim Three, supra, Mr. Crowley’s concession

on special issue one would have, to a near certainty, had an impact on the jury’s

deliberations. United States v. Swanson, 943 F.2d 1070, 1075 (9th Cir. 1991) (“We

cannot envision a situation more damaging to an accused than to have his own

attorney tell the jury that there is no reasonable doubt that his client was the person

who committed the conduct that constituted the crime charged in the indictment.”);

Wiley v. Sowders, 647 F.2d 642, 650 (6th Cir. 1981) (“[F]or all practical purposes,

counsel’s admission of guilt on behalf of his client denied to petitioner his

constitutional right to have his guilt or innocence decided by the jury.”). Based on

trial counsel’s deficient concession, Mr. Andrus can establish a reasonable probability

of a different outcome. See Strickland, 466 U.S. at 698.

      B.       28 U.S.C. § 2254(d) does not preclude the relitigation of this claim.

      This claim is exhausted, as it was presented as Claim Four of Mr. Andrus’s

state habeas application. 1 SHCR 123–28. The CCA held that Mr. Andrus “fail[ed] to

meet his burden under Strickland” and denied relief on the merits without further


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explanation. Ex parte Andrus, 2018 WL 622783 at *2. Because this claim was

adjudicated on the merits in state court, an exception to the relitigation bar of 28

U.S.C. § 2254(d) must be present. This requires a finding that the state court decision

was “(1) ‘contrary to, or involved an unreasonable application of, clearly established

Federal law, as determined by the Supreme Court of the United States’; or (2)

‘resulted in a decision that was based on an unreasonable determination of the facts

in light of the evidence presented in the State court proceeding.’” Gray v. Epps, 616

F.3d 436, 439 (5th Cir. 2010) (quoting 28 U.S.C. § 2254(d)). Only one exception to the

relitigation bar need be present. Because of the evidence presented in the state

proceedings, the state court decision rejecting this claim necessarily either involved

an unreasonable application of the Strickland standard or was based on an

unreasonable determination of facts, thus an exception to the relitigation bar is

present. See, e.g., Miller-El v. Cockrell, 537 U.S. 322, 340 (2003); Williams v. Taylor,

529 U.S. 362, 407–09 (2000).

Claim 9         Mr. Andrus’s due process rights were violated when the bailiff
                informed the jury that Mr. Andrus was wearing a shock belt
                and that the bailiff could activate it to keep the jurors safe.

      Just before Mr. Andrus testified during the punishment phase of trial, the

bailiff told the jury that Mr. Andrus was wearing a shock belt and that he could press

a button to activate it to keep the jury safe from Mr. Andrus. This comment from the

bailiff violated Mr. Andrus’s due process rights, as interpreted in Deck v. Missouri,

544 U.S. 622 (2007). This claim is exhausted and this Court conducts de novo review

of the merits of the claim as the procedural bar enforced by the state court is




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inadequate to bar federal review, or alternatively cause and prejudice exists for the

default. This violation entitles Mr. Andrus to a new punishment phase.

      A.     Mr. Andrus’ due process rights were violated by the bailiff’s
             comments.

      Under Supreme Court precedent, a defendant’s due process rights are violated

when they are visibly shackled during the punishment phase of a capital murder trial,

absent a case-specific determination that they are necessary. Deck, 544 U.S. at 629.

A capital defendant appearing in shackles impacts his ability to receive a meaningful

defense, offends the dignity of the proceedings, and “almost inevitably implies to a

jury, as a matter of common sense, that court authorities consider the offender a

danger to the community.” Id. at 632–33. Shackling is inherently prejudicial, and

when a court allows the shackling to occur without adequate justification, the State

must prove “beyond a reasonable doubt that the shackling error complained of did

not contribute to the verdict obtained.” Id. at 635 (internal quotations omitted); see

also United States v. Banegas, 600 F.3d 342, 347 (5th Cir. 2010) (placing the burden

on the government to establish that the shackles could not have been seen by the jury

“as part of its general burden to show, beyond a reasonable doubt, that the shackles

did not contribute to the jury verdict.”). Mr. Andrus incorporates by reference each

and every fact, statement, and assertion pertinent to this claim that is contained in

the Statement of Facts.

      Mr. Andrus was wearing a shock belt during trial. At a pretrial hearing, the

trial court granted a defense motion requesting that Mr. Andrus not appear before

the jury in visible restraints, in part because he “behaved like a gentleman” at the



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hearing, but determined that he would wear an electronic shock belt during trial. Exh.

18 at 25. According to one bailiff, Mr. Andrus wore a device “called a ‘Bandit’ . . . .

[which] provide[s] an electric shock to the person wearing it when activated remotely.”

2 SHCR 788. The shock belt was placed on Mr. Andrus’s leg under his clothes. Id. No

specific finding of the necessity of this restraint was ever made on the record.

      During trial, a bailiff informed the jury that Mr. Andrus was wearing the shock

belt. Multiple jurors recall that the bailiff told them he could shock Mr. Andrus in

order to keep the jury safe from him. Juror Modi stated in an affidavit that “the bailiff

told us that we were safe because he had a taser button that he could push to tase”

Mr. Andrus and juror Modi “felt safer knowing that during the trial Andrus was

wearing a taser.” 1 SHCR 305. Similarly, juror Moon averred that “the bailiff told us

not to worry” because Mr. Andrus “was wearing a taser,” and that there was a button

he “could push if Andrus did anything and Andrus would be tased.” Id. at 308. Juror

Patrick remembers this too, specifically recalling that “the bailiff told us about a taser

button on his holster. He told us that if Andrus did anything, all he would have to do

was push the button and Terence would drop to the ground.” Id. at 312. In addition,

jurors Flakes and Guilbeau also remember the bailiff telling them about the shock

belt. Id. at 296 (“[T]he bailiff told the jurors that he had a button he could push to

tase Andrus if he needed to.”); id. at 302 (“I remember the bailiff at some point making

a comment about Andrus wearing a taser.”). Most jurors remembered hearing about

this just before Mr. Andrus took the stand at the punishment phase of trial, although

not all of the jurors remembered exactly when the bailiff made this comment. Id. at




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305 (“The bailiff told us about the taser before Andrus took the stand.”); id. at 312

(“[B]efore Andrus testified, the bailiff told us about a taser button on his holster.”);

id. at 296 (“I think the bailiff made this comment around the time Andrus was going

to get on the stand.”).

      Mr. Andrus did not discover that the bailiff had made these comments until

post-conviction investigation. Trial counsel were not aware at the time of trial that

the bailiff made these comments to the jury, and it does not appear in the record.

Similarly, no evidence was presented during the state court proceedings to suggest

that the jurors were able to physically see the shock belt during trial. As trial counsel

were unaware that the bailiff had told the jury about the shock belt and its purpose,

they had no way of objecting to the bailiff’s comments, meaning it was impossible for

the claim to be litigated on direct appeal. Thus, the first instance this claim could

have been raised was during the state post-conviction proceedings. 1 SHCR 117.

      The factual basis for this claim was not disputed in state court. At the post-

conviction evidentiary hearing, the State did not contest that the bailiff informed the

jury he could activate the shock belt to keep the jurors safe from Mr. Andrus. “Just

to make clear,” the State told the court, they were “conceding the jurors did become

aware of the restraints at some point,” which occurred “either from the bailiff telling

them or some other way.” 2 SHRR 12; see also id. (explaining to the court that

“[t]here’s no factual question” about the shock belt claim). This concession was based

on the State’s own independent investigation, which also adduced various juror

affidavits supporting the fact that the bailiff told the jury about the shock belt and




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his ability and willingness to activate it. 2 SHCR 699 (“[B]oth Applicant’s and the

State’s investigation revealed that the jury became aware of some form of restraint

on Applicant at some point during the trial.”).

      Here, the rule announced in Deck was violated when the bailiff informed the

jury that Mr. Andrus was wearing a shock belt that he could activate to keep the

jurors safe. There was no case-specific determination that the shock belt was

necessary. See Deck, 544 U.S. at 629. Indeed, the opposite occurred at the pretrial

hearing, where the trial court noted that Mr. Andrus “behaved like a gentleman.”

Exh. 18 at 25.

      The comments by the bailiff that Mr. Andrus was wearing a shock belt elicited

the same fears and prejudice in the minds of the jurors that would have come about

had they seen the shackles for themselves. In both scenarios, it is implied to the jury

“that court authorities consider the offender a danger to the community.” Deck, 544

U.S. at 633. The fact that a state actor found it necessary to draw the jury’s attention

specifically to this was likely far more prejudicial than had they simply viewed it for

themselves. See Parker v. Gladden, 385 U.S. 363, 470 (1966) (reversing for a new trial

after the bailiff told the jury the defendant was guilty and emphasis that his comment

“carrie[d] great weight with the jury” because of his official character as an officer of

the court); Turner v. Louisiana, 379 U.S. 466, 473 (1965) (explaining that “it would

be blinking reality not to recognize the extreme prejudice inherent” in the misconduct

of a bailiff). The bailiff’s comments went far beyond a mere implication that Mr.

Andrus was dangerous—he directly told them so when he explained to them that they




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“were safe” because Mr. Andrus was wearing a shock belt, and when he suggested

that Mr. Andrus might act in a way that necessitated him being tased. 1 SHCR 305,

308, 312.

      This error is particularly harmful in a Texas capital case, where the jury is

tasked with assessing “whether there is a probability that the defendant would

commit criminal acts of violence that would constitute a continuing threat to society.”

TEX. CODE CRIM. PROC. art. 37.071 § 2(b)(1). The bailiff’s comments inevitably implied

to the jury “as a matter of common sense, that court authorities consider the offender

a danger to the community.” Deck, 544 U.S. at 632–33. That the State considered it

necessary to have a remote-activated shock belt on Mr. Andrus certainly implied that

he was a danger—particularly when the bailiff informed the jury that this device kept

them safe from Mr. Andrus. 1 SHCR 305.

      When a court allows the shackling to occur without adequate justification, the

State must prove “beyond a reasonable doubt that the shackling error complained of

did not contribute to the verdict obtained.” Deck, 544 U.S. at 635 (internal quotations

omitted). In Deck, the defendant was a repeat offender; had killed two people to avoid

arrest, to which he had confessed; and had aided prisoners in an escape attempt. Id.

at 637; id. at 648 (Thomas, J., dissenting). Yet even in the face of this aggravating

evidence, the Supreme Court found the State had not proven that using visible

shackles was harmless beyond a reasonable doubt at the punishment phase of trial.




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Id. at 635. The same result is appropriate here and Mr. Andrus should therefore

receive a new punishment phase. 9

        B.      This Court reviews this claim de novo.

        This claim is exhausted, as it was presented as Claim Two of Mr. Andrus’s

state habeas application. 1 SHCR 113–18. The CCA found this claim to be

procedurally barred and denied relief “without reaching the merits” of the claim,

asserting that it could have been raised on direct appeal. 10 Ex parte Andrus, 2018 WL

622783 at *2. However, the CCA’s application of a procedural bar is not adequate to

bar this claim from federal review.

        In habeas corpus actions, federal courts will not address the merits of a

petitioner’s claims if the state court decision rests on an adequate and independent

state law ground. Coleman v. Thompson, 501 U.S. 722, 729–30 (1991). Adequacy itself

is a federal question for this Court to resolve. Johnson v. Mississippi, 486 U.S. 578,

587 (1988). To be adequate, a state procedural ground must be strictly or regularly

followed, the rule must serve a legitimate state interest, the rule must not have been

substantially complied with, and the rule’s application in the case must not have been




       9 This error is particularly egregious in light of the fact that the jury also saw Mr. Andrus

wearing physical restraints, in addition to the bailiff’s comment. See Claim Eleven, infra.
        10 In this instance, the CCA’s declining to adopt the trial court’s findings of facts and conclusion
of law on this claim was appropriate. Ex parte Andrus, 2018 WL 622783 at *2. The trial court findings
violated Rule 606(b) of the Texas Rules of Evidence, as they explicitly relied on evidence of the jurors’
deliberative process. FFCL. Under state law, jurors’ retroactive statements suggesting that awareness
of the physical restraints did not affect their verdict cannot be considered. TEX. R. EVID. 606(b) (“[A]
juror may not testify about any statement made or incident that occurred during the jury’s
deliberations; the effect of anything on that juror’s or another juror’s vote; or any juror’s mental
processes concerning the verdict or indictment.”)




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exorbitant. Lee v. Kemna, 534 U.S. 362, 375–76 (2002); Osborne v. Ohio, 495 U.S. 103,

125 (1990); Johnson, 486 U.S. at 587; Douglas v. Alabama, 380 U.S. 415 (1965).

Procedural rules that are arbitrary, unforeseen, or deprive a petitioner of a

reasonable opportunity to raise or discriminate against a federal right are inadequate

to bar federal review. Walker v. Martin, 562 U.S. 307, 320–21 (2011); Lee, 534 U.S. at

376; Ford v. Georgia, 498 U.S. 411, 423 (1991); see generally Dobbs v. Zant, 506 U.S.

357, 359 (1993) (petitioner permitted to rely on the State’s erroneous assertions that

the transcript was unavailable as justification for not presenting it previously).

      At issue here is Texas’s rule that a claim is procedurally barred in state post-

conviction if it could have been raised on direct appeal. See Ex parte Andrus, 2018

WL 622783 at *2. Mr. Andrus does not challenge this rule generally, but instead

challenges its application in his case specifically. Here, the procedural rule should

not bar federal review because, the factual basis was not ascertainable during direct

appeal and the claim could therefore not be raised. See generally Wellons v. Hall, 558

U.S. 220 (2010) (refusing to enforce a procedural bar when the defendant only learned

of interactions between jurors and a bailiff after trial). The procedural rule, as applied

to this situation, is arbitrary, exorbitant, discriminates against the federal right, and

does not serve a legitimate state interest. See Walker, 562 U.S. at 320–21; Lee, 534

U.S. at 376; Johnson, 486 U.S. at 587.

      It was impossible for Mr. Andrus to comply with the state procedural rule,

making the rule inadequate to enforce a default in this Court. Cf. Ford v. Georgia,

498 U.S. 1, 16 (1984) (not applying a state procedural rule “because the defendant . . .




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could not be deemed to have been apprised of its existence.”) (internal quotation

omitted). While a Deck claim in the generic sense can be raised on direct appeal, this

claim relies on extra-record evidence only adduced during the state post-conviction

investigation. The bailiff’s comment to the jury was not on record and trial counsel

was unaware that it occurred. Thus, there was no basis for trial counsel to object to

the comment, which would have been necessary to raise the issue on direct appeal.

There was no way for Mr. Andrus to litigate this claim on direct appeal, and the

enforcement of a default in federal court would therefore be arbitrary and frustrate

Mr. Andrus’s ability to secure merits review of the claim at any stage. Similarly,

enforcing the default in federal court would be exorbitant and would impose a

sanction of forfeiture on Mr. Andrus for a circumstance he did not create. See Lee, 534

U.S. at 366, 380, 394.

      Even if this Court determines this claim to be procedurally defaulted, Mr.

Andrus can overcome that finding if cause and prejudice exists for his failure to raise

the claim on direct appeal in state court. Wainwright v. Sykes, 433 U.S. 72, 87 (1977).

Here, trial counsel was not aware of the bailiff’s comment to the jury and that

comment was an external factor that impeded the ability of Mr. Andrus to raise this

claim on direct appeal. See Murray v. Carrier, 477 U.S. 478, 488 (1986) (“[T]he

existence of cause for a procedural default must ordinarily turn on whether the

prisoner can show that some objective factor external to the defense impeded

counsel’s efforts to comply with the State’s procedural rule.”). Because the bailiff’s

comment was an external factor and the underlying claim is meritorious, Mr. Andrus




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can establish that cause and prejudice exits for his failure to raise this claim on direct

appeal.

      Regardless of which route this Court takes regarding the procedural default

question, this Court can conduct de novo review of this claim.

Claim 10        Mr. Andrus’s Sixth and Fourteenth Amendment rights to a
                trial by an impartial jury were violated.

      Under the Sixth and Fourteenth Amendments a defendant has the right to a

trial by an impartial jury. Morgan v. Illinois, 504 U.S. 719 (1992). The right was

violated when the bailiff told the jury that Mr. Andrus was wearing a shock belt and

that he could press a button to activate it to keep the jury safe from Mr. Andrus. See

Parker v. Gladden, 385 U.S. 363, 470 (1966) (reversing for a new trial after the bailiff

told the jury the defendant was guilty and emphasis that his comment “carrie[d] great

weight with the jury” because of his official character as an officer of the court);

Turner v. Louisiana, 379 U.S. 466, 473 (1965) (explaining that “it would be blinking

reality not to recognize the extreme prejudice inherent” in the misconduct of a bailiff).

Mr. Andrus incorporates by reference each and every fact, statement, and assertion

pertinent to this claim that is contained in the Statement of Facts and Claim Nine,

supra. This violation entitles Mr. Andrus to a new punishment phase.

      This claim is unexhausted as it was not presented to the state courts. Mr.

Andrus expects to seek a stay under Rhines v. Weber, 544 U.S. 269 (2005), so that he

may return to state court and exhaust it. Because plausible arguments exist that

could lead to the state court authorizing it to proceed as a successive state habeas




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application, it would be premature to determine this claim is procedurally defaulted

and barred from federal review.

Claim 11        Mr. Andrus’s Sixth Amendment right to counsel was violated
                when trial counsel failed to object to his visible shackles.

      While investigating Mr. Andrus’s allegation that the bailiff told the jury that

Mr. Andrus was wearing a shock belt, Claim Eight, supra, the State uncovered an

independent shackling violation—that the jury saw Mr. Andrus wearing visible

restraints. Trial counsel failed to object to these visible shackles in violation of the

Sixth Amendment. See Strickland v. Washington, 466 U.S. 668 (1984). This claim was

not presented to the state courts but any default can be excused by state habeas

counsel’s failure to raise this substantial claim. Trevino v. Thaler, 569 U.S. 413 (2013).

This violation entitles Mr. Andrus to a new trial.

      A.     Trial counsel’s performance was prejudicially deficient.

      To establish ineffective assistance of counsel, Mr. Andrus must show that trial

counsel’s performance was deficient and that the deficiency prejudiced the defense.

See Strickland, 466 U.S. at 687. Trial counsel’s failure to object to Mr. Andrus’s visible

shackles meets both prongs of this test. Therefore, Mr. Andrus’s Sixth Amendment

right to counsel was violated and his conviction should be reversed. Mr. Andrus

incorporates by reference each and every fact, statement, and assertion pertinent to

this claim that is contained in the Statement of Facts.

        1. Trial counsel’s performance was deficient.

      Under Supreme Court precedent, a defendant’s due process rights are violated

if they are visibly shackled during the punishment phase of a capital murder trial,



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absent a case-specific determination they are necessary. Deck v. Missouri, 544 U.S.

622, 629 (2007). A capital defendant appearing in shackles impacts his ability to

receive a meaningful defense, offends the dignity of the proceedings, and “almost

inevitably implies to a jury, as a matter of common sense, that court authorities

consider the offender a danger to the community.” Id. at 632–33. Shackling is

inherently prejudicial, and when a court allows the shackling to occur without

adequate justification, the State must prove “beyond a reasonable doubt that the

shackling error complained of did not contribute to the verdict obtained.” Id. at 635

(internal quotations omitted); see also United States v. Banegas, 600 F.3d 342, 347

(5th Cir. 2010) (placing the burden on the government to establish that the shackles

could not be seen by the jury “as part of its general burden to show, beyond a

reasonable doubt, that the shackles did not contribute to the jury verdict.”).

      Here, trial counsel failed to object when the jury saw Mr. Andrus in visible

restraints. The State’s independent investigation into Claim Eight, supra, showed

that the bailiff not only informed the jury about a shock belt that Mr. Andrus was

wearing, the jurors saw visible restraints on him, including during the

guilt/innocence phase. Juror Velasquez “was aware [Mr. Andrus] was in restraints”

and saw them “early on in the guilt/innocence phase of trial.” 2 SHCR 763. Similarly,

juror Guilbeau saw visible restraints on Mr. Andrus during the guilt/innocence phase

because he “walk[ed] in with restraints, handcuffs.” Id. at 771. Juror Grenier saw

visible restraints on Mr. Andrus’s ankles, but could not recall when. Juror Patrick

“could see” visible restraints on Mr. Andrus while he testified. Id. at 767. Jurors




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Martino and Smith saw visible restraints, but not until after the judge read Mr.

Andrus’s sentence. Id. at 769, 775. Trial counsel’s failure to object to the jury seeing

Mr. Andrus’s visible restraints was objectively unreasonable.

        2. The deficiency was prejudicial.

      Trial counsel’s deficient performance is a Sixth Amendment violation when it

was sufficiently prejudicial—meaning that it had a reasonably probable effect on the

outcome of the trial. Strickland, 466 U.S. at 698. This error was prejudicial. When a

jury sees the defendant in physical restraints, it is an injury to a bedrock principle of

the justice system—the presumption of innocence. Deck, 544 U.S. at 630. “Visible

shackling undermines the presumption of innocence and the related fairness of the

fact-finding process.” Id. Specifically, visible shackles or restraints “suggest[] to the

jury that the justice system itself sees a ‘need to separate a defendant from the

community at large.’” Id. (quoting Holbrook v. Flynn, 475 U.S. 560, 569 (1986)).

      Use of restraints is only permitted when “justified by an essential state interest

specific to each trial.” Holbrook, 475 U.S. at 568–69. Under Texas law, to use visible

restraints, a trial court must identify specific reasons on the record supporting its

decision to restrain a defendant. Cooks v. State, 844 S.W.2d 697, 722 (Tex. Crim. App.

1992). The decision to use restraints may not be based on a general concern for safety

or the severity of the charged offense. Long v. State, 823 S.W.2d 259, 282 (Tex. Crim.

App. 1991) (“[T]he record must clearly and affirmatively reflect the trial judge’s

reasons therefore.”). No such finding occurred in Mr. Andrus’s case; in fact the

opposite occurred, as the judge ordered that the jury not see any visible restraints.




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Exh. 18 at 25. However, trial counsel did not object when those restraints became

visible. Mr. Andrus should receive a new trial based on this error.

      B.     Any default is excused by state habeas counsel’s failure to raise
             this substantial claim.

      This claim was not presented to the state courts. State habeas counsel did not

raise this substantial ineffective assistance of counsel claim in state habeas

proceedings. State habeas counsel’s ineffectiveness excuses any default of the claim

that the Director may allege. See Trevino, 569 U.S. at 429. Section (A), supra,

demonstrates the substantiality of the underlying claim.

Claim 12        Mr. Andrus’s Sixth Amendment right to counsel was violated
                when trial counsel failed to challenge that his confession was
                not voluntary.

      Investigating officers engineered an elaborate extradition process designed to

isolate Mr. Andrus and coerce him into confessing, yet trial counsel did not challenge

the voluntariness of Mr. Andrus’s confession. Trial counsel’s failure to move to

suppress his confession as not voluntary violated Mr. Andrus’s rights under the Sixth

Amendment. See Strickland v. Washington, 466 U.S. 668 (1984). This claim was not

presented to the state courts but any default can be excused by state habeas counsel’s

failure to raise this substantial claim. Trevino v. Thaler, 569 U.S. 413 (2013). This

violation entitles Mr. Andrus to a new trial.

      A.     Trial counsel’s performance was prejudicially deficient.

      To establish ineffective assistance of counsel, Mr. Andrus must show that trial

counsel’s performance was deficient and that the deficiency prejudiced the defense.

See Strickland, 466 U.S. at 687. Trial counsel’s failure to challenge Mr. Andrus’s



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confession as not voluntary meets both prongs of this test. Therefore, Mr. Andrus’s

Sixth Amendment right to counsel was violated and his conviction should be reversed.

Mr. Andrus incorporates by reference each and every fact, statement, and assertion

pertinent to this claim that is contained in the Statement of Facts.

        1. Trial counsel’s performance was deficient.

      Trial counsel’s failure to move to suppress Mr. Andrus’s confession because it

was involuntary was objectively unreasonable. Under the Due Process Clause of the

Fourteenth Amendment, a statement can be involuntary—and inadmissible—if it is

based on coercive police activity. Colorado v. Connelly, 479 U.S. 157, 167 (1986) (“We

hold that coercive police activity is a necessary predicate to the finding that a

confession is not ‘voluntary’ within the meaning of the Due Process Clause of the

Fourteenth Amendment.”) The federal due process standard focuses on whether the

“defendant’s will was overborne” by the coercive police activity. Dickerson v. United

States, 530 U.S. 428, 434 (2000).

      Texas law provides significantly broader protections than the federal due

process standard for defendants asserting that their statement was involuntary. TEX.

CODE CRIM. PROC. art. 38.22; Oursbourn v. State, 259 S.W.3d 159, 169 (Tex. Crim.

App. 2008) (“A statement that is ‘involuntary’ as a matter of constitutional law is also

‘involuntary’ under Article 38.22, but the converse need not be true.”). First, a

statement can be inadmissible under Texas law regardless of whether the defendant

was in custody. Oursbourn, 259 S.W.3d at 171. Second, statements can be

inadmissible under Texas law even if they do not involve police coercion, unlike the

federal standard announced in Connelly. Id. at 172 (“Claims of involuntariness under


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Article 38.22 can be, but need not be, predicated on police overreaching, and they

could involve the ‘sweeping inquiries into the state of mind of a criminal defendant

who has confessed’ found in Connelly that are not of themselves relevant to due

process claims.”).

      Article 38.22, § 6 is designed to “protect[] people from themselves.” Oursbourn,

259 S.W.3d at 172. A defendant can use factors unrelated to police action to argue

that they did not voluntarily confess. This could include age, intoxication, mental

illness, mental capacity, and the actions of private individuals. Id. at 172–73. While

these factors would not be relevant in a federal due process claim, they are viable

means under Texas law for challenging the voluntariness of a confession.

      Prevailing professional norms require trial counsel to preserve potentially

meritorious appellate issues. See ABA Guidelines, Guideline 10.8 at cmt. (“One of the

most fundamental duties of an attorney defending a capital case at trial is the

preservation of any and all conceivable errors for each stage of appellate and post-

conviction review.”) (internal quotations omitted). Here, trial counsel failed to argue

that Mr. Andrus’s confession should have been suppressed because it was not

voluntarily given. During the pretrial suppression hearing, the State asserted that

“[t]here is no issue regarding voluntariness on this one,” which trial counsel never

disputed. Exh. 18 at 25. On direct appeal, the CCA refused to review a claim that Mr.

Andrus’s confession should have been suppressed based on impermissible pressure

tactics used by the State. Exh. 1 at 24. Presumably, this was direct appeal counsel’s




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attempt to argue that the confession was not voluntary, but trial counsel’s failure to

press this argument during the suppression hearing rendered it forfeit.

      Mr. Andrus incorporates by reference each and every fact, statement, and

assertion pertinent to this claim that is contained in the Statement of Facts by

reference. These facts show that the State engineered an elaborate and coercive

environment to force a confession from Mr. Andrus, who was vulnerable to confessing

based on his age and the coercive environment created by the officers.

        2. The deficiency was prejudicial.

      Trial counsel’s deficient performance is a Sixth Amendment violation when it

was sufficiently prejudicial—meaning that it had a reasonably probable effect on the

outcome of the suppression hearing. Strickland, 466 U.S. at 698. This error was

prejudicial, as Mr. Andrus’s confession would have been suppressed if the

voluntariness of it was challenged. The admission of Mr. Andrus’s confession was not

harmless, as it was a crucial and necessary part of the State’s case against him that

they referenced repeatedly in closing argument. 45 RR 18 (“He did exactly what he

said he did.”); id. at 19 (“I don’t know how much more strong of a case I could have

with the defendant himself admitting to what he did.”).

      In United States v. Hernandez, 574 F.2d 1362 (5th Cir. 1978), a comparable

case to Mr. Andrus’s, the Fifth Circuit ruled a confession invalid because of the

coercive nature surrounding it. Id. at 1368. There the defendant was held in close

quarters with officers inside a police vehicle for five hours after being read his

Miranda rights and invoking his right to remain silent at least four times. Id. at 1365.

After five hours inside the police vehicle, the defendant was brought into the police


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station where he confessed. Id. The court held that this time spent in the car

effectively made the defendant “incommunicado without any possible access to an

attorney.” Id. The defendant’s situation was “ripened for influence” by the pressures

of an interrogation because he was held incommunicado and subject to five hours of

close presence with the same police officers. Id. at 1368. Mr. Andrus’s confession could

have been suppressed, similar to what occurred in Hernandez.

       B.     Any default is excused by state habeas counsel’s failure to raise
              this substantial claim.

       This claim was not presented to the state courts. State habeas counsel did not

raise this substantial ineffective assistance of counsel claim in state habeas

proceedings. State habeas counsel’s ineffectiveness excuses any default of the claim

that the Director may allege. See Trevino, 569 U.S. at 429. Section (A), supra,

demonstrates the substantiality of the underlying claim.

Claim 13         Mr. Andrus’s Fifth Amendment right to remain silent was
                 violated when the State did not scrupulously honor Mr.
                 Andrus’s invocation of that right.

       The state courts held that Mr. Andrus unambiguously invoked his right to

remain silent. Exh. 1 at 23. 11 Yet, despite the investigating officers engineering an

elaborate extradition process designed to isolate Mr. Andrus and coerce him into

confessing, the state courts found his confession admissible. Id at 23–24. The

investigator’s actions violated Mr. Andrus’s Fifth Amendment right to remain silent




       11 The CCA withdrew its original opinion and substituted a new opinion, while also denying

rehearing, on March 23, 2016. That opinion is unreported and included as Exhibit 1.



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when they failed to scrupulously honor his invocation of that right. This claim is

exhausted and satisfies the relitigation bar of 28 U.S.C. § 2254(d), because the state

court’s decision was legally and factually unreasonable. This violation entitles Mr.

Andrus to a new trial.

      A.     Mr. Andrus’s Fifth Amendment right to remain silent was
             violated.

      During custodial interrogation, an individual being questioned has a Fifth

Amendment right to remain silent. Miranda v. Arizona, 384 U.S. 436 (1966). “If the

individual indicates in any manner, at any time prior to or during questioning, that

he wishes to remain silent, the interrogation must cease.” Id. at 473–74. Any

statements obtained after the individual has invoked their right to remain silent are

admissible only if the State has “scrupulously honored” the invocation. Michigan v.

Mosley, 423 U.S. 96, 104 (1975). Here, the state courts found that Mr. Andrus

unambiguously invoked his right to remain silent. The State failed to scrupulously

honor this request, instead engineering an atypical and extraordinary extradition

process designed to isolate Mr. Andrus, and prevent him remaining silent or speaking

to an attorney. As this error was not harmless, Mr. Andrus is entitled to a new trial.

        1. The State engineered an atypical and extraordinary extradition
           process designed to coerce Mr. Andrus into confessing.

      Mr. Andrus incorporates by reference each and every fact, statement, and

assertion pertinent to this claim that is contained in the Statement of Facts.

        2. Mr. Andrus invoked his right to remain silent.

      If an individual indicates that he wishes to remain silent during a custodial

interrogation, questioning must cease. Miranda, 384 U.S. at 473–74. Here, the State


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court correctly found that Mr. Andrus unambiguously invoked his right to remain

silent when he terminated the officers’s questioning when the investigating officers

questioned him in the jail before driving him back to Texas. Exh. 1 at 23.

        3. The State failed to scrupulously honor Mr. Andrus’s invoking his
           right to remain silent.

      After an individual has invoked his right to remain silent, that invocation must

be scrupulously honored. Mosley, 423 U.S. at 104. Rather than scrupulously honor

Mr. Andrus’s invocation of this right, the investigating officers engineered an

elaborate scheme to coerce Mr. Andrus into confessing. Not surprisingly, that was the

end result.

      In United States v. Hernandez, 574 F.2d 1362 (5th Cir. 1978), a comparable

case to Mr. Andrus’s, the Fifth Circuit ruled a confession invalid because of the

coercive nature surrounding it. Id. at 1368. There the defendant was held in close

quarters with officers inside a police vehicle for five hours after being read his

Miranda rights and invoking his right to remain silent at least four times. Id. at 1365.

After five hours inside the police vehicle, the defendant was brought into the police

station where he confessed. Id. The court held that this time spent in the car

effectively made the defendant “incommunicado without any possible access to an

attorney.” Id. The defendant’s situation was “ripened for influence” by the pressures

of an interrogation because he was held incommunicado and subject to five hours of

close presence with the same police officers. Id. at 1368. The same result is

appropriate here—that Mr. Andrus’s confession was not admissible.




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        4. The admission of Mr. Andrus’s confession was not harmless.

      When a confession is admitted in violation of a defendant’s constitutional

rights, harmless error analysis applies. Jones v. Davis, 927 F.3d 365, 370–71 (5th Cir.

2019). This requires the beneficiary of the error to establish that the error was

“harmless beyond a reasonable doubt.” Chapman v. California, 386 U.S. 18, 24 (1967).

The admission of Mr. Andrus’s confession was not harmless. The admission of Mr.

Andrus’s confession was not harmless, as it was a crucial and necessary part of the

State’s case against him that they referenced repeatedly in closing argument. 45 RR

18 (“He did exactly what he said he did.”); id. at 19 (“I don’t know how much more

strong of a case I could have with the defendant himself admitting to what he did.”).

      B.     28 U.S.C. § 2254(d) does not preclude the relitigation of this claim.

      This claim is exhausted, as it was presented as part of Point of Error One on

direct appeal. Exh. 1. The CCA held that Mr. Andrus unambiguously invoked his

right to remain silent, but found the confession admissible because Mr. Andrus

reinitiated conversation with the interrogating officers. Id. at 23–24. Because this

claim was adjudicated on the merits in state court, an exception to the relitigation

bar of 28 U.S.C. § 2254(d) must be present. This requires a finding that the state

court decision was “(1) ‘contrary to, or involved an unreasonable application of, clearly

established Federal law, as determined by the Supreme Court of the United States’;

or (2) ‘resulted in a decision that was based on an unreasonable determination of the

facts in light of the evidence presented in the State court proceeding.’” Gray v. Epps,

616 F.3d 436, 439 (5th Cir. 2010) (quoting 28 U.S.C. § 2254(d)). Only one exception to

the relitigation bar need be present. In light of the evidence presented in the state


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proceedings, the state court decision rejecting this claim necessarily either involved

an unreasonable application of the Miranda and Mosley, standard or was based on

an unreasonable determination of facts, thus an exception to the relitigation bar is

present. See, e.g., Miller-El v. Cockrell, 537 U.S. 322, 340 (2003); Williams v. Taylor,

529 U.S. 362, 407–09 (2000).

      Furthermore, the state court entered numerous unreasonable factual

determinations based on the available record, including that (1) “[t]he officers did not

pose any questions to Andrus on the drive back to Texas,” Exh. 1 at 23; (2) “officers

scrupulously honored his Miranda rights,” id.; (3) “Andrus is the one who re-initiated

discussion of his case with the officers on the drive back to Texas,” id.; and (4) after

reading Mr. Andrus his Miranda rights “the officers did not question Andrus about

the details of the offense” until Mr. Andrus repeatedly brought it up, id. at 23–24.

However, all four of these factual findings are directly controverted by the available

record.

      The state court decision on this claim was objectively unreasonable based on

the evidence presented to the state court and thus § 2254(d)(2) is met.

Claim 14        Mr. Andrus’s Fifth Amendment right to counsel was violated
                when the State interrogated Mr. Andrus after he asked for an
                attorney.

      Mr. Andrus invoked his right to counsel during custodial interrogation, yet the

investigating officers continued to interrogate him without an attorney present in

violation of his Fifth Amendment rights. See Edwards v. Arizona, 451 U.S. 477, 484–

85 (1981). This claim is exhausted and satisfies the relitigation bar of 28 U.S.C. §




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2254(d), because the state court’s decision was legally and factually unreasonable.

This violation entitles Mr. Andrus to a new trial.

        A.      Mr. Andrus’s Fifth Amendment right to counsel was violated.

        During custodial interrogation, an individual being questioned has a Fifth

Amendment right to counsel. Miranda v. Arizona, 384 U.S. 436 (1966). Once an

individual invokes his right to counsel, they are “not subject to further interrogation

by the authorities until counsel has been made available,” unless the individual

reinitiates further communication with the investigating officers. Edwards, 451 U.S.

at 484–85. After invoking the right to counsel, the individual cannot be questioned

regarding any offense until their attorney is present. Minnick v. Mississippi, 498 U.S.

146 (1990). To invoke, the individual must make an unambiguous request for counsel

that is “sufficiently clearly that a reasonable police officer in the circumstances would

understand the statement to be a request for an attorney.” Davis v. United States,

512 U.S. 452, 459 (1994)

        Mr. Andrus incorporates by reference each and every fact, statement, and

assertion pertinent to this claim that is contained in the Statement of Facts.

        Mr. Andrus invoked his right to counsel twice. First, during the hearing on the

motion to suppress, Mr. Andrus testified that he told the officers “I’m going to need

that attorney” as they were leaving the Orleans Parish Jail. 12 Exh. 18 at 19. Second,

during the drive to Texas the following exchange took place:




         12 The officers testified that this did not occur, Exh. 18 at 22, and the state courts credited the

officers’ version.



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         [Mr. Andrus]: I don’t got a court date yet?

         RANGER: No. They got to get you in the system first.

         [Mr. Andrus]: An attorney?

         RANGER: Yeah, they’ll do that, too.

Exh. 1 at 18. 13 However, the investigating officers did not respect the invocation of

his rights, and instead continued to interrogate him. Additionally, Mr. Andrus not

only invoked his right to counsel at the extradition stage, but he was actually

appointed an attorney.

         When a confession is admitted in violation of a defendant’s constitutional

rights, harmless error analysis applies. Jones v. Davis, 927 F.3d 365, 370–71 (5th Cir.

2019). This requires the beneficiary of the error to establish that the error was

“harmless beyond a reasonable doubt.” Chapman v. California, 386 U.S. 18, 24 (1967).

The admission of Mr. Andrus’s confession was not harmless, as it was a crucial and

necessary part of the State’s case against him that they referenced repeatedly in

closing argument. 45 RR 18 (“He did exactly what he said he did.”); id. at 19 (“I don’t

know how much more strong of a case I could have with the defendant himself

admitting to what he did.”).

         B.        28 U.S.C. § 2254(d) does not preclude the relitigation of this claim.

         This claim is exhausted, as it was presented as part of Point of Error One on

direct appeal. Exh. 1. The CCA held that Mr. Andrus’s request for counsel on the




         13   The state courts found that this was not a clear invocation of his right to counsel. Exh. 1 at
22.



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drive to Texas was ambiguous and rejected Mr. Andrus’s testimony that he had

requested counsel as he was leaving the Orleans Parish Jail. Id. at 22. Because this

claim was adjudicated on the merits in state court, an exception to the relitigation

bar of 28 U.S.C. § 2254(d) must be present. This requires a finding that the state

court decision was “(1) ‘contrary to, or involved an unreasonable application of, clearly

established Federal law, as determined by the Supreme Court of the United States’;

or (2) ‘resulted in a decision that was based on an unreasonable determination of the

facts in light of the evidence presented in the State court proceeding.’” Gray v. Epps,

616 F.3d 436, 439 (5th Cir. 2010) (quoting 28 U.S.C. § 2254(d)). Only one exception to

the relitigation bar need be present. In light of the evidence presented in the state

proceedings, the state court decision rejecting this claim necessarily either involved

an unreasonable application of clearly established Supreme Court precedent

regarding the invocation of the right to remain silent, including Miranda, Edwards,

and Davis standard, or was based on an unreasonable determination of facts, thus an

exception to the relitigation bar is present. See, e.g., Miller-El v. Cockrell, 537 U.S.

322, 340 (2003); Williams v. Taylor, 529 U.S. 362, 407–09 (2000).

Claim 15        Mr. Andrus’s Sixth Amendment right to counsel was violated
                when trial counsel failed to preserve Batson error.

      Trial counsel failed to object to the State’s removal of prospective jurors based

on their race in violation of Batson v. Kentucky, 476 U.S. 79 (1986). Trial counsel’s

concession violated Mr. Andrus’s Sixth Amendment right to the effective assistance

of counsel. See Strickland v. Washington, 466 U.S. 668 (1984). This claim is exhausted

and satisfies the relitigation bar of 28 U.S.C. § 2254(d), because the state court’s



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decision was legally and factually unreasonable. This violation entitles Mr. Andrus

to a new trial.

      A.     Trial counsel’s performance was prejudicially deficient.

      To establish ineffective assistance of counsel, Mr. Andrus must show that trial

counsel’s performance was deficient and that the deficiency prejudiced the defense.

See Strickland, 466 U.S. at 687. Trial counsel’s concession failure to preserve Batson

error meets both prongs of this test. Therefore, Mr. Andrus’s Sixth Amendment right

to counsel was violated and his sentence should be reversed. Mr. Andrus incorporates

by reference each and every fact, statement, and assertion pertinent to this claim that

is contained in the Statement of Facts.

        1. Trial counsel’s performance was deficient.

      Trial counsel’s failure to preserve Batson error was objectively unreasonable.

See ABA Guidelines, Guideline 10.8 at cmt. (“One of the most fundamental duties of

an attorney defending a capital case at trial is the preservation of any and all

conceivable errors for each stage of appellate and post-conviction review.” (internal

quotations omitted)). “The ‘Constitution forbids striking even a single prospective

juror for a discriminatory purpose.’” Foster v. Chatman, 136 S. Ct. 1737, 1747 (2016)

(quoting Snyder v. Louisiana, 552 U.S. 472, 478 (2008)). Excluding jurors because of

their race is particularly egregious because it “undermine[s] public confidence in the

fairness of our system of justice.” Batson, 476 U.S. at 87. Yet here, trial counsel failed

to object to multiple jurors struck by the State based on their race.

      A Batson challenge follows a three-step analytical process. Hernandez v. New

York, 500 U.S. 352, 358–59 (1991). First, the defendant must make a prima facie case


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that the State engaged in intentional discrimination. Batson, 476 U.S. at 93–94. A

prima facie case is established by demonstrating that “the totality of the relevant

facts gives rise to an inference of discriminatory purpose.” Id. at 94. Second, the State

must provide race-neutral reasons for using a peremptory challenge on the juror(s)

in question. Id. at 94, 97. Third, the court must determine whether the defendant has

established purposeful discrimination. Id. at 98; see also Snyder, 552 U.S. at 477;

Miller-El v. Dretke, 545 U.S. 231, 239–40 (2005).

      There was more than sufficient evidence available to trial counsel that a

Batson objection was warranted. The State used three peremptory strikes to remove

black potential jurors from the pool, and intended to strike a fourth black juror if the

full complement of jurors had not been selected. See CR 287–99; 2 CR Supp. 16–27.

The State struck 75% of the qualified black potential jurors, and intended to strike

80%, had the jury selection process progressed to the final black potential juror.

Similarly, the State used two peremptory strikes to remove Hispanic jurors from the

pool of the five qualified Hispanic jurors on the panel. See CR 287–99; 2 CR Supp.

16–27.

      Mr. Crowley’s failure to make a Batson challenge once the State used its

peremptory strikes to eliminate three qualified black jurors and two qualified

Hispanic jurors was objectively unreasonable. It was based on his erroneous belief

that, because one African-American juror had been seated, he could not make a prima

facie case that the State had used its strikes to remove minorities from the jury to

constitute racial discrimination. 2 EHR at 191–93; 285–86. This was based on a




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misunderstanding of the law; a Batson can occur if one potential jury is struck based

on their race. See Hinton v. Alabama, 571 U.S. 263, 274 (2014) (“An attorney’s

ignorance of a point of law that is fundamental to his case combined with his failure

to perform basic research on that point is a quintessential example of unreasonable

performance under Strickland.”). The State’s strike established a prima facie case of

racial discrimination. See Batson, 476 U.S. at 93–94.

       2. The deficiency was prejudicial.

      Trial counsel’s deficient performance is a Sixth Amendment violation when it

was sufficiently prejudicial—meaning that it had a reasonably probable effect on the

outcome of the trial. Strickland, 466 U.S. at 698. Here, there is a reasonable

probability that the result of Mr. Andrus’s direct appeal would have been different

had Batson error been preserved, in that the CCA would have found that a Batson

violation occurred. See Smith v. Robbins, 528 U.S. 259 (2000).

      The purportedly race-neutral reasons offered by the State during the state

habeas hearing were unavailing. The testimony of ADA Felcman at the state post-

conviction hearing, who made the peremptory strikes on the State’s behalf, shows

that several strikes were based on race rather than being race-neutral. ADA Felcman

testified about notes he made during the individual voir dire of an African-American

woman that include several references to her race. HC36. ADA Felcman’s explanation

is that he was recording what the potential juror said, and he found her pride in her

own race a basis for striking her. That she admitted to admiring Barack Obama as

“the first African-American president” was a problem from the State’s perspective. 4

EHR 53. Likewise, this potential juror had written that she saw Oprah Winfrey, as a


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“well respected African-American woman that is a success” was a problem from the

State’s perspective. Id. As ADA Felcman stated, his reputedly constitutional basis for

striking this juror was that being “African-American was important to her.” Id. A

race-specific reason, obviously, is not a race-neutral reason.

      Additionally, the State’s purportedly race-neutral reason for striking another

African-American potential juror was facially unreasonable. ADA Felcman testified

during this writ proceeding that the State used a strike against another African-

American potential juror because she stated that she would give Mr. Andrus “a fair

trial.” 4 EHR 55. The State’s suggestion that a promise to give the defendant a fair

trial is a “race-neutral” basis to suspect them is facially unreasonable and thus does

not overcome the presumption that the strike was fueled by an unconstitutional

motive.

      With yet another African-American potential juror, ADA Felcman testified

that the purported “race-neutral” basis for striking her was a statement on her juror

questionnaire that it “[s]eems like more African-American men receive the death

penalty.” 4 EHR 56. The position that a potential juror’s view about racial disparities

in applying the death penalty is a “race-neutral” basis to suspect that potential juror

is facially unreasonable and thus does not overcome the presumption that the strike

was fueled by an unconstitutional motive.

      The testimony from ADA Felcman, elicited by the State, shows that, the State

did not have credible, race-neutral reasons for striking at least three African-




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American potential jurors. Therefore, had Mr. Andrus’s trial counsel made a prima

facie Batson challenge, that challenge would have succeeded.

      B.     28 U.S.C. § 2254(d) does not preclude the relitigation of this claim.

      This claim is exhausted, as it was presented as Claim Three of Mr. Andrus’s

state habeas application. 1 SHCR 118–22. The CCA held that Mr. Andrus “fail[ed] to

meet his burden under Strickland” and denied relief on the merits without further

explanation. Ex parte Andrus, 2018 WL 622783 at *2. Because this claim was

adjudicated on the merits in state court, an exception to the relitigation bar of 28

U.S.C. § 2254(d) must be present. This requires a finding that the state court decision

was “(1) ‘contrary to, or involved an unreasonable application of, clearly established

Federal law, as determined by the Supreme Court of the United States’; or (2)

‘resulted in a decision that was based on an unreasonable determination of the facts

in light of the evidence presented in the State court proceeding.’” Gray v. Epps, 616

F.3d 436, 439 (5th Cir. 2010) (quoting 28 U.S.C. § 2254(d)). Only one exception to the

relitigation bar need be present. Because of the evidence presented in the state

proceedings, the state court decision rejecting this claim necessarily either involved

an unreasonable application of the Strickland standard or was based on an

unreasonable determination of facts, thus an exception to the relitigation bar is

present. See, e.g., Miller-El v. Cockrell, 537 U.S. 322, 340 (2003); Williams v. Taylor,

529 U.S. 362, 407–09 (2000).




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Claim 16        Mr. Andrus’s Sixth Amendment right to counsel was violated
                when trial counsel failed to object to inadmissible victim
                impact evidence during the guilt/innocence phase.

      Trial counsel failed to object to inadmissible victim impact testimony during

the guilt/innocence phase in violation of Mr. Andrus’s Sixth Amendment rights. See

Strickland v. Washington, 466 U.S. 668 (1984). This claim is exhausted and satisfies

the relitigation bar of 28 U.S.C. § 2254(d), because the state court’s decision was

legally and factually unreasonable. This violation entitles Mr. Andrus to a new trial.

      A.     Trial counsel’s performance was prejudicially deficient.

      To establish ineffective assistance of counsel, Mr. Andrus must show that trial

counsel’s performance was deficient and that the deficiency prejudiced the defense.

See Strickland, 466 U.S. at 687. Trial counsel’s failure to object to inadmissible victim

impact testimony meets both prongs of this test. Therefore, Mr. Andrus’s Sixth

Amendment right to counsel was violated and his conviction should be reversed. Mr.

Andrus incorporates by reference each and every fact, statement, and assertion

pertinent to this claim that is contained in the Statement of Facts.

        1. Trial counsel’s performance was deficient.

      Trial counsel’s failure to object to inadmissible victim impact testimony elicited

by the state during the guilt/innocence phase of trial was objectively unreasonable.

Victim impact evidence is testimony that is “about the victim and the impact of the

murder on the victim’s family.” Payne v. Tennessee, 501 U.S. 808, 827 (1991). The

Supreme Court has delegated the decision to the states as to whether to admit such

evidence at sentencing. Id. In Texas, victim impact testimony may be admissible

during the sentencing phase of a capital murder trial. Ford v. State, 919 S.W.2d 107,


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114 (Tex. Crim. App. 1996) (en banc) (citing Payne, 501 U.S. at 825). However, victim

impact evidence is not admissible during the guilt/innocence phase because it is not

relevant under the evidentiary rules. This type of testimony does not have “any

tendency to make more or less probable the existence of any fact of consequence at

the guilt stage of trial.” Miller-El v. State, 782 S.W.2d 892, 895 (Tex. Crim. App. 1990)

(citing TEX. R. EVID. 401 for the finding that victim-impact evidence is irrelevant at

the guilt phase); see also Mosely v. State, 983 S.W.2d 249, 263 (Tex. Crim. App. 1998)

(describing that victim impact evidence is “patently irrelevant” to even the question

of future dangerousness).

       Trial counsel ultimately objected to the relevance of the victim-impact evidence during

Ms. Diaz’s and Mr. Bui’s extensive testimony, but only after substantial victim-impact

testimony had been presented—and then failed to object after that as it continued. Patty Diaz

described how she met her husband, the children they had together, the different jobs he

held, 38 RR 39–40, and the decision she had to make to donate her husband’s organs, id. at

61–62, but trial counsel objected only once during her entire testimony. Id. at 40. Ms. Diaz’s

testimony provided the jury with information about her relationship with her husband, his

character, and the impact of his death on her family. Similarly, Steve Bui’s description of his

wife’s immigration from Vietnam, her education and work background, and the experience of

bringing his sons to the hospital to say good-bye to their mother served only to tell the jury

of the impact his wife’s death had on him and his family. 43 RR at 30–33, 53–54.

       During the state habeas hearing, trial counsel admitted that he did not think

that the testimony of the victims’ spouses during the guilt phase of the trial was

objectionable because he did not recognize it as victim-impact testimony. 2 SHHR 55–




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57. Because their testimony did include multiple instances of victim-impact

testimony, failing to object was objectively unreasonable.

        2. The deficiency was prejudicial.

      Trial counsel’s deficient performance is a Sixth Amendment violation when it

was sufficiently prejudicial—meaning that it had a reasonably probable effect on the

guilt phase outcome. Strickland, 466 U.S. at 698. The victim impact testimony was

irrelevant, inadmissible, and prejudicial. There is a reasonable probability that, had

trial counsel properly objected to the admission of victim impact evidence at the guilt

phase to properly preserve the issue for appeal, that the result of the state court

proceedings would have been different.

      B.     28 U.S.C. § 2254(d) does not preclude the relitigation of this claim.

      This claim is exhausted, as it was presented as Claim Six of Mr. Andrus’s state

habeas application. 1 SHCR 133–39. The CCA held that Mr. Andrus “fail[ed] to meet

his burden under Strickland” and denied relief on the merits without further

explanation. Ex parte Andrus, 2018 WL 622783 at *2. Because this claim was

adjudicated on the merits in state court, an exception to the relitigation bar of 28

U.S.C. § 2254(d) must be present. This requires a finding that the state court decision

was “(1) ‘contrary to, or involved an unreasonable application of, clearly established

Federal law, as determined by the Supreme Court of the United States’; or (2)

‘resulted in a decision that was based on an unreasonable determination of the facts

in light of the evidence presented in the State court proceeding.’” Gray v. Epps, 616

F.3d 436, 439 (5th Cir. 2010) (quoting 28 U.S.C. § 2254(d)). Only one exception to the

relitigation bar need be present. In light of the evidence presented in the state


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proceedings, the state court decision rejecting this claim necessarily either involved

an unreasonable application of the Strickland standard or was based on an

unreasonable determination of facts, thus an exception to the relitigation bar is

present. See, e.g., Miller-El v. Cockrell, 537 U.S. 322, 340 (2003); Williams v. Taylor,

529 U.S. 362, 407–09 (2000).

                               PRAYER FOR RELIEF

        WHEREFORE, Terence Tramaine Andrus, requests that this Court consider

his Petition for Writ of Habeas Corpus and grant the following remedies and such

other relief as the Court deems appropriate:

1.      Issue a writ of habeas corpus to have him brought before it, to the end that he

        may be discharged from his unconstitutional confinement and restraint and be

        relieved of his unconstitutional sentence of death;

2.      Allow Petitioner leave to conduct discovery pursuant to Rule 6 of the Rules

        Governing 28 U.S.C. § 2254 Cases to more fully develop the factual bases

        demonstrating the constitutional infirmities in his conviction and sentence;

3.      Conduct an evidentiary hearing pursuant to Rule 8 of the Rules Governing 28

        U.S.C. § 2254 Cases; and

4.      That this Court grant such other relief as law and justice require.




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Respectfully submitted,

DATE: February 13, 2020


                                  JASON D. HAWKINS
                                  Federal Public Defender

                                  JEREMY SCHEPERS
                                  Supervisor, Capital Habeas Unit

                                  /s/ David C. Currie
                                  David C. Currie (TX 24084240)
                                  Assistant Federal Defenders

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                         VERIFICATION BY ATTORNEY

      I, the undersigned, am an attorney at the office appointed by this Court

pursuant to 18 U.S.C. § 3599 to represent Petitioner Terence Tramaine Andrus in

these proceedings. I have met with Mr. Andrus, consulted with other staff in the

Federal Defender’s Office regarding the case and our co-counsel, and directed experts

and investigators regarding the circumstances of Mr. Andrus’s conviction and

sentence of death. It is in that capacity that I verify this Petition. I declare under

penalty of perjury that the foregoing allegations in this Petition are true and correct

to the best of my knowledge and that this Petition for Writ of Habeas Corpus is being

filed using this Court’s CM/ECF system on February 13, 2020.


                                 Subscribed by me February 13, 2020,
                                                    in Dallas, Texas.

                                                   /s/ David C. Currie
                                                       David C. Currie




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                          CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing Petition for a Writ

of Habeas Corpus has been served by CM/ECF upon counsel for Respondent on

February 13, 2020:

      Stephen Hoffman
      Assistant Attorney General
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                              /s/ David C. Currie
                              David C. Currie




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